        Case: 22-2333         Document: 47            Filed: 11/18/2022       Pages: 151

                               Nos. 22-2333 and 22-2334

                                            In the
         United States Court of Appeals
                            for the Seventh Circuit

                    LEINANI DESLANDES and STEPHANIE TURNER,
                    on behalf of herself and all others similarly situated,
                                                                               Plaintiffs-Appellants,
                                                v.

                                McDONALD’S USA, LLC, et al.,
                                                                              Defendants-Appellees.
                           _______________________________________
                         Appeals from the United States District Court
    for the Northern District of Illinois, Eastern Division, Nos. 1:17-cv-04857 & 1:19-cv-05524.
                       The Honorable Jorge L. Alonso, Judge Presiding.

           BRIEF AND APPENDIX OF PLAINTIFFS-APPELLANTS
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ANNE B. SHAVER                                           LEIGH M. PERICA
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          ÅìÃ       ÐÔÛßÍÛ ÝØÛÝÕ ØÛÎÛ ×Ú ßÒÇ ×ÒÚÑÎÓßÌ×ÑÒ ÑÒ ÌØ×Í ÚÑÎÓ ×Í ÒÛÉ ÑÎ ÎÛÊ×ÍÛÜ ßÒÜ
                    ×ÒÜ×ÝßÌÛ ÉØ×ÝØ ×ÒÚÑÎÓßÌ×ÑÒ ×Í ÒÛÉ ÑÎ ÎÛÊ×ÍÛÜò

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          ·²º±®³¿¬·±² ®»¯«·®»¼ ¾§ Ú»¼ò Îò ß°°ò Ðò îêòï ¾§ ½±³°´»¬·²¹ ·¬»³ ýí÷æ
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           Ô·»ºº Ý¿¾®¿-»® Ø»·³¿²² ú Þ»®²-¬»·²ô ÔÔÐå Ó½Ý«²» É®·¹¸¬ ß®»ª¿´±ô ÔÔÐå Í½±¬¬ ú Í½±¬¬ô ÔÔÐ
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øë÷       Ð®±ª·¼» Ü»¾¬±® ·²º±®³¿¬·±² ®»¯«·®»¼ ¾§ ÚÎßÐ îêòï ø½÷ ï ú îæ

          Òñß
          ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ



                      ñ-ñ Ü»¿² Óò Ø¿®ª»§
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                         Ü»¿² Óò Ø¿®ª»§
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   Ì± »²¿¾´» ¬¸» ¶«¼¹»- ¬± ¼»¬»®³·²» ©¸»¬¸»® ®»½«-¿´ ·- ²»½»--¿®§ ±® ¿°°®±°®·¿¬»ô ¿² ¿¬¬±®²»§ º±® ¿ ²±²ó¹±ª»®²³»²¬¿´ °¿®¬§ô ¿³·½«- ½«®·¿»ô
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·² ½±³°´·¿²½» ©·¬¸ Ý·®½«·¬ Î«´» îêòï ¿²¼ Ú»¼ò Îò ß°°ò Ðò îêòïò

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Òñß º±® ¿²§ ·²º±®³¿¬·±² ¬¸¿¬ ·- ²±¬ ¿°°´·½¿¾´» ·º ¬¸·- º±®³ ·- «-»¼ò

          ÅìÃ       ÐÔÛßÍÛ ÝØÛÝÕ ØÛÎÛ ×Ú ßÒÇ ×ÒÚÑÎÓßÌ×ÑÒ ÑÒ ÌØ×Í ÚÑÎÓ ×Í ÒÛÉ ÑÎ ÎÛÊ×ÍÛÜ ßÒÜ
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øï÷       Ì¸» º«´´ ²¿³» ±º »ª»®§ °¿®¬§ ¬¸¿¬ ¬¸» ¿¬¬±®²»§ ®»°®»-»²¬- ·² ¬¸» ½¿-» ø·º ¬¸» °¿®¬§ ·- ¿ ½±®°±®¿¬·±²ô §±« ³«-¬ °®±ª·¼» ¬¸» ½±®°±®¿¬» ¼·-½´±-«®»
          ·²º±®³¿¬·±² ®»¯«·®»¼ ¾§ Ú»¼ò Îò ß°°ò Ðò îêòï ¾§ ½±³°´»¬·²¹ ·¬»³ ýí÷æ
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øî÷       Ì¸» ²¿³»- ±º ¿´´ ´¿© º·®³- ©¸±-» °¿®¬²»®- ±® ¿--±½·¿¬»- ¸¿ª» ¿°°»¿®»¼ º±® ¬¸» °¿®¬§ ·² ¬¸» ½¿-» ø·²½´«¼·²¹ °®±½»»¼·²¹- ·² ¬¸» ¼·-¬®·½¬ ½±«®¬ ±®
          ¾»º±®» ¿² ¿¼³·²·-¬®¿¬·ª» ¿¹»²½§÷ ±® ¿®» »¨°»½¬»¼ ¬± ¿°°»¿® º±® ¬¸» °¿®¬§ ·² ¬¸·- ½±«®¬æ
           Ô·»ºº Ý¿¾®¿-»® Ø»·³¿²² ú Þ»®²-¬»·²ô ÔÔÐå Ó½Ý«²» É®·¹¸¬ ß®»ª¿´±ô ÔÔÐå Í½±¬¬ ú Í½±¬¬ô ÔÔÐ
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          Òñß
          ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ



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ÛóÓ¿·´ ß¼¼®»--æ ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ
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                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

Appellate Court No: _______________
                    22-2333 and 22-2334

Short Caption: _________________________________________________________________________________________
               Deslandes, et al. v. McDonald's USA, LLC, et al.

   To enable the judges to determine whether recusal is necessary or appropriate, an attorney for a non-governmental party, amicus curiae,
intervenor or a private attorney representing a government party, must furnish a disclosure statement providing the following information
in compliance with Circuit Rule 26.1 and Fed. R. App. P. 26.1.

   The Court prefers that the disclosure statements be filed immediately following docketing; but, the disclosure statement must be filed
within 21 days of docketing or upon the filing of a motion, response, petition, or answer in this court, whichever occurs first. Attorneys are
required to file an amended statement to reflect any material changes in the required information. The text of the statement must also be
included in the front of the table of contents of the party’s main brief. Counsel is required to complete the entire statement and to use
N/A for any information that is not applicable if this form is used.

          [✔]       PLEASE CHECK HERE IF ANY INFORMATION ON THIS FORM IS NEW OR REVISED AND
                    INDICATE WHICH INFORMATION IS NEW OR REVISED.

(1)       The full name of every party that the attorney represents in the case (if the party is a corporation, you must provide the corporate disclosure
          information required by Fed. R. App. P. 26.1 by completing item #3):
          ________________________________________________________________________________________________________
           Leinani Deslandes and Stephanie Turner

          ________________________________________________________________________________________________________

(2)       The names of all law firms whose partners or associates have appeared for the party in the case (including proceedings in the district court or
          before an administrative agency) or are expected to appear for the party in this court:
          ________________________________________________________________________________________________________
           Lieff Cabraser Heimann & Bernstein, LLP; McCune Wright Arevalo, LLP; Scott & Scott, LLP

          ________________________________________________________________________________________________________

(3)       If the party, amicus or intervenor is a corporation:

          i)        Identify all its parent corporations, if any; and

                     N/A
                    ________________________________________________________________________________________________

          ii)       list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:

                     N/A
                    ________________________________________________________________________________________________

(4)       Provide information required by FRAP 26.1(b) – Organizational Victims in Criminal Cases:

          ________________________________________________________________________________________________________
           N/A

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          ________________________________________________________________________________________________________
          N/A



Attorney’s Signature: ________________________________________
                      /s/ Lin Y. Chan                                August 12, 2022
                                                               Date: ________________________________________

Attorney’s Printed Name: __________________________________________________________________________________
                         Lin Y. Chan

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).         ✔ No _____
                                                                                                           Yes _____

         Lieff Cabraser Heimann & Bernstein, LLP
Address: ______________________________________________________________________________________________

          ________________________________________________________________________________________________________
           275 Battery St., 29th Floor, San Francisco, CA 94111

              415-956-1000
Phone Number: ________________________________________ Fax Number: ______________________________________
                                                                   415-956-1008

                lchan@lchb.com
E-Mail Address: __________________________________________________________________________________________________
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                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

                    22-2333 and 22-2334
Appellate Court No: _______________

               Deslandes, et al. v. McDonalds USA, LLC, et al
Short Caption: _________________________________________________________________________________________

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          information required by Fed. R. App. P. 26.1 by completing item #3):
           Leinani Deslandes and Stephanie Turner
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(2)       The names of all law firms whose partners or associates have appeared for the party in the case (including proceedings in the district court or
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           McCune Wright Arevalo, LLP; Lieff Cabraser Heimann & Bernstein, LLP; Scott & Scott LLP
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(3)       If the party, amicus or intervenor is a corporation:

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                     N/A
                    ________________________________________________________________________________________________

          ii)       list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:

                     N/A
                    ________________________________________________________________________________________________

(4)       Provide information required by FRAP 26.1(b) – Organizational Victims in Criminal Cases:

           N/A
          ________________________________________________________________________________________________________

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          N/A
          ________________________________________________________________________________________________________



                      /s/ Derek Y. Brandt
Attorney’s Signature: ________________________________________       August 5, 2022
                                                               Date: ________________________________________

                         Derek Y. Brandt
Attorney’s Printed Name: __________________________________________________________________________________

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).         ✔ No _____
                                                                                                           Yes _____

         McCune Wright Arevalo, LLP
Address: ______________________________________________________________________________________________

           231 N. Main Street, Suite 20, Edwardsville, IL 62025
          ________________________________________________________________________________________________________

              618-307-6116
Phone Number: ________________________________________             618-307-6161
                                                       Fax Number: ______________________________________

                dyb@mccunewright.com
E-Mail Address: __________________________________________________________________________________________________
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                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

Appellate Court No: _______________
                    22-2333 and 22-233

Short Caption: _________________________________________________________________________________________
               Deslandes, et al. v. McDonald's USA, LLC, et al.

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          ________________________________________________________________________________________________________
           N/A

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          ________________________________________________________________________________________________________
          N/A



Attorney’s Signature: ________________________________________
                      /s/Leigh M. Perica                             August 15, 2022
                                                               Date: ________________________________________

Attorney’s Printed Name: __________________________________________________________________________________
                         Leigh M. Perica

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).         ✔ No _____
                                                                                                           Yes _____

         McCune Wright Arevalo, LLP
Address: ______________________________________________________________________________________________

          ________________________________________________________________________________________________________
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              (618) 307-6116
Phone Number: ________________________________________ Fax Number: ______________________________________
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                    22-2333 and 22-233

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               Deslandes, et al. v. McDonald's USA, LLC, et al.

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          ________________________________________________________________________________________________________
          N/A



Attorney’s Signature: ________________________________________
                      /s/Leigh M. Perica                             August 15, 2022
                                                               Date: ________________________________________

Attorney’s Printed Name: __________________________________________________________________________________
                         Leigh M. Perica

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                                                                                                           Yes _____

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          ________________________________________________________________________________________________________
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                    22-2333 and 22-2334
Appellate Court No: _______________

               Leinani Deslandes v. McDonald’s USA, LLC, et al.
Short Caption: _________________________________________________________________________________________

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                    ________________________________________________________________________________________________

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           N/A
          ________________________________________________________________________________________________________

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          N/A
          ________________________________________________________________________________________________________



                      /s/ Dana R. Vogel
Attorney’s Signature: ________________________________________       August 16, 2022
                                                               Date: ________________________________________

                         Dana R. Vogel
Attorney’s Printed Name: __________________________________________________________________________________

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).         ✔ No _____
                                                                                                           Yes _____

         McCune Wright Arevalo, LLP
Address: ______________________________________________________________________________________________

          ________________________________________________________________________________________________________

Phone Number: ________________________________________ Fax Number: ______________________________________

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                             JURISDICTIONAL STATEMENT

          The district court had subject matter jurisdiction under 28 U.S.C. §§ 1331 and

1337 for Plaintiffs‐Appellants’ claims arising under the federal antitrust laws: Sections 1

and 4 of the Sherman Act, 15 U.S.C. §§ 1, 4; and Sections 4 and 16 of the Clayton Act, 15

U.S.C. §§ 15, 26. The district court had supplemental jurisdiction over Plaintiffs’ related

state‐law claims, 740 ILCS 10/1 et seq. and 815 ILCS 505/1 et seq., pursuant to 28 U.S.C.

§ 1367.

       This Court has subject matter jurisdiction under 28 U.S.C. § 1291 because these

are appeals from final decisions of the district court.

          Court of Appeals Docket Number 22‐2333: The district court entered final

judgment on June 28, 2022, and Plaintiff‐Appellant Deslandes filed her notice of appeal

on July 27, 2022. Pursuant to an order of remand under Federal Rule of Appellate

Procedure 12.1(b) for the limited purpose of correcting the clerical error in its judgments

(Ct. of App. ECF 18), the district court entered a corrected final judgment on August 30,

2022. Ct. of App. ECF 19.

          Court of Appeals Docket Number 22‐2334: The district court entered final

judgment on June 28, 2022, and Plaintiff‐Appellant Turner filed her notice of appeal on

July 27, 2022. Pursuant to an order of remand under Federal Rule of Appellate

Procedure 12.1(b) for the limited purpose of correcting the clerical error in its judgments




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(Ct. of App. ECF 17), the district court entered a corrected final judgment on August 30,

2022. Ct. of App. ECF 18.

                               STATEMENT OF THE ISSUE

       Whether the district court erred when it found that an agreement among

McDonald’s and its franchisees not to hire each other’s employees was ancillary to

McDonald’s franchise system, accepted McDonald’s competitive justifications, and

declined to consider evidence that the labor restraint was anticompetitive.

                                STATEMENT OF THE CASE

       Plaintiffs‐Appellants Leinani Deslandes and Stephanie Turner assert individual

and representative claims under Section 1 of the Sherman Act, 15 U.S.C. § 1, against

Defendants‐Appellees McDonald’s USA, LLC and McDonald’s Corporation (together,

“McDonald’s”). ECF 32; Turner, No. 19‐cv‐05524, ECF 1.1

       Plaintiffs challenge a market allocation scheme whereby McDonald’s and

thousands of its independently‐owned franchisees agreed not to hire each other’s

workers, located at any of over 14,000 locations nationwide, for a period up to six

months after a worker left employment with any owner of another McDonald’s

restaurant (the “No‐Hire Agreement”). ECF 270‐2 at ‐844; 270‐3 at ‐884; 270‐4 at ‐233‐34.




1Citations to the record use the following abbreviations: “SA” for the short appendix and
“ECF” for the docket entry number in the Deslandes district court action, No. 17‐04857. Citations
to the docket entry in the Turner district court action are specifically noted.


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       Plaintiffs seek to represent a class of McDonald’s restaurant workers (the

“Class”) whose pay was suppressed by the No‐Hire Agreement, from June 28, 2013 to

July 12, 2018 (the “Class Period”). ECF 268 at 1.

       After more than two years of fact and expert discovery, the district court denied

class certification, SA‐27, granted judgment on the pleadings for McDonald’s, SA‐55,

and denied as moot Plaintiffs’ motion for partial summary judgment on McDonald’s

asserted procompetitive justifications. Id. Plaintiffs appeal these orders.

I.     LEGAL BACKGROUND

       Section 1 of the Sherman Act prohibits “[e]very contract, combination in the form

of trust or otherwise, or conspiracy, in restraint of trade or commerce[.]” 15 U.S.C. § 1.

Courts have interpreted Section 1 to prohibit only unreasonable restraints of trade. Nat’l

Collegiate Athletic Ass’n v. Bd. of Regents of Univ. of Okla., 468 U.S. 85, 98 (1984). The focus

of the reasonableness inquiry is “the competitive effects of challenged behavior relative

to such alternatives as its abandonment or a less restrictive substitute.” Phillip E.

Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles and

Their Application ¶ 1500 (5th ed. 2022) (“Areeda”).

       There are three standards for evaluating whether an alleged restraint of trade is

unreasonable: the per se rule, the quick‐look test, and the rule of reason, although the

methods of these three modes of analysis often blend together. Cal. Dental Ass’n v.

F.T.C., 526 U.S. 756, 779 (1999). “The nature of the restraint determines which rule will



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be applied.” Dennyʹs Marina, Inc. v. Renfro Prods., Inc., 8 F.3d 1217, 1220 (7th Cir. 1993).

All of these approaches answer the same question: “whether or not the challenged

restraint enhances competition.” Cal. Dental, 526 U.S. at 780 (citations omitted).

       “Per se rules are invoked when the surrounding circumstances make the

likelihood of anticompetitive conduct so great as to render unjustified further

examination of the challenged conduct.” Bd. of Regents, 468 U.S. at 106. For instance,

agreements among competitors to fix prices or allocate markets are subject to per se

condemnation. United States v. Socony‐Vacuum Oil Co., 310 U.S. 150, 218 (1940); Blue

Cross & Blue Shield United of Wis. v. Marshfield Clinic, 65 F.3d 1406, 1415 (7th Cir. 1995);

Gen. Leaseways, Inc. v. Nat’l Truck Leasing Ass’n., 744 F.2d 588, 592 (7th Cir. 1984).

       The selection of mode of analysis depends upon the nature of the restraint, not

on judicial experience with any particular industry. “[T]he argument that the per se rule

must be rejustified for every industry that has not been subject to significant antitrust

litigation ignores the rationale for per se rules, which in part is to avoid the necessity for

an incredibly complicated and prolonged economic investigation into the entire history

of the industry involved, as well as related industries, in an effort to determine at large

whether a particular restraint has been unreasonable—an inquiry so often wholly

fruitless when undertaken.” Arizona v. Maricopa Cty. Med. Soc., 457 U.S. 332, 351 (1982)

(quotation omitted).




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       Nonetheless, before applying per se condemnation, courts may entertain an

affirmative defense that the restraint was “ancillary” to a legitimate, pro‐competitive

collaboration. In order to qualify as ancillary, a defendant must prove that the restraint

was “(1) subordinate and collateral to a separate, legitimate transaction, and (2)

reasonably necessary to achieving that transaction’s procompetitive purpose.” Aya

Healthcare Servs., Inc. v. AMN Healthcare, Inc., 9 F. 4th 1102, 1109‐11 (9th Cir. 2021).

Courts approach such claims with skepticism, and impose a “heavy burden” of

evidentiary proof on the defendant. Bd. of Regents, 468 U.S. at 113‐120 (considering and

rejecting claimed competitive justifications). If the fact finder agrees that the defendant

has satisfied its heavy burden, then the burden shifts back to the plaintiff to provide

evidence that the restraint had anticompetitive effects.

       When a restraint does not fall into an established per se category, a plaintiff may

still satisfy its initial burden without an “elaborate industry analysis” or proof of market

power, pursuant to the quick‐look test. Nat’l Soc. of Pro. Eng’rs v. United States, 435 U.S.

679, 692 (1978). This approach is used when an “observer with even a rudimentary

understanding of economics could conclude that the arrangements in question would

have an anticompetitive effect.” Cal. Dental, 526 U.S. at 770. See also Bd. of Regents, 468

U.S. at 109‐110 (“We have never required proof of market power in such a case.”); Chi.

Pro. Sports Ltd. P’ship v. Nat’l Basketball Ass’n, 961 F.2d 667, 674‐76 (7th Cir. 1992)

(applying quick‐look analysis and rejecting logic of proffered procompetitive



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justifications, without requiring proof of market power); Gen. Leaseways, 744 F.2d at 595

(“[I]f the elimination of competition is apparent on a quick look, without undertaking

the kind of searching inquiry that would make the case a Rule of Reason case in fact if

not in name, the practice is illegal per se.”)

       When anticompetitive effects are not apparent, then the rule of reason applies,

and the plaintiff must provide evidence that the restraint harmed competition. A

plaintiff may satisfy this burden by providing direct evidence of “actual detrimental

effects,” such as an impact on prices. F.T.C. v. Ind. Fed’n of Dentists, 476 U.S. 447, 460

(1986) (quoting 7 P. Areeda, Antitrust Law ¶ 1511, p. 429 (1986)). See also Law v. Nat’l

Collegiate Athletic Ass’n, 134 F.3d 1010, 1019 (10th Cir. 1998). A plaintiff may

alternatively use a “surrogate for detrimental effects,” such as an inquiry into “market

definition and market power[.]” Ind. Dentists, 476 U.S. at 460‐61 (quoting Areeda,

¶ 1511, p. 429). But when “adverse effects are directly observable . . . [s]urrogates for

those effects are not needed.” Chi. Pro. Sports Ltd. P’ship v. Nat’l Basketball Ass’n, 754 F.

Supp. 1336, 1363 (N.D. Ill. 1991), aff’d, 961 F.2d 667 (7th Cir. 1992).

       If the plaintiff satisfies its initial burden under the per se rule, then liability is

conclusively established. N. Pac. Ry. Co. v. United States, 356 U.S. 1, 5 (1958). If the

plaintiff satisfies its initial burden under either the quick‐look test or the rule of reason,

then the burden shifts to the defendant to provide evidence that the restraint was

reasonably necessary to competitive benefits. See, e.g., Bd. of Regents, 468 U.S at 114‐120.



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       A defendant may not justify a restraint on the grounds that it promotes an

interest unrelated to competition. See, e.g., F.T.C. v. Super. Ct. Trial Lawyers Ass’n, 493

U.S. 411, 423‐24 (1990) (desire of public defenders to improve quality of representation

by boycotting court‐appointed work not valid justification); Ind. Dentists, 476 U.S. at

462‐64 (1986) (goal of ensuring quality dental care not valid justification). Nor may a

defendant justify a restraint on the grounds that it helps reduce costs or boost profits.

Law, 134 F.3d at 1022 (“cost‐cutting by itself is not a valid procompetitive justification”).

Further, in a monopsony case like this one, a defendant may not point to lower prices or

increased output in the downstream consumer market to justify an agreement “among

buyers with power over their suppliers.” Areeda ¶ 1504c. For instance, “the ability of

McDonald’s franchises to coordinate the release of a new hamburger does not imply

their ability to agree on wages for counter workers[.]” Nat’l Collegiate Athletic Ass’n v.

Alston, 141 S. Ct. 2141, 2157 (2021) (quoting Chi. Pro. Sports Ltd. P’ship v. Nat’l Basketball

Ass’n, 95 F.3d 593, 600 (7th Cir. 1996)).

II.    FACTUAL BACKGROUND

       A.     McDonald’s Franchise System

       McDonald’s and its franchisees are independent businesses and expressly

disavow any joint employer relationship. ECF 270‐7 at ‐101; 270‐18 at ‐992. The

Franchise Disclosure Document cautions that franchisees will face competition from

McDonald’s‐owned stores (“McOpCos”) as well as other franchisees. ECF 270‐7 at ‐062.




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McDonald’s “Antitrust Compliance Guide” acknowledges that franchisees “might be

viewed as competitors” with each other and with McOpCo’s (ECF 270‐19 at ‐700),

“include[ing] as competitors for the talent that is critical to the success of the franchise

system.” ECF 403‐1 at Ex.4, p. 648.

       While McDonald’s workers can leave the McDonald’s system altogether and find

outside employment, it harms them to be forced to do so. ECF 270‐5, ¶¶ 10‐28; ECF 270‐

6, ¶¶ 48‐62, 79‐103. Prior job experience within the McDonald’s system is of the most

value to—and can command the highest wage from—another McDonald’s restaurant

employer. ECF 270‐6, ¶¶ 44‐62. McDonald’s requires that all stores, franchisee or

corporate, use the same job classifications and train their workers to perform their

duties in the same way, to ensure uniformity in customer experience across the system.

ECF 270‐6, ¶¶ 10‐33; 270‐7 through ‐10; 270‐13 at 69:5‐70:24; 270‐14 at 30:13‐16, 57:12‐16,

224:1‐225:16. The No‐Hire Agreement thus prevented workers from moving to the

employer that would most value their McDonald’s‐specific training.

       For example, Plaintiff‐Appellant Deslandes was denied a “letter of release” to

move from a franchisee paying her $12.00/hour to a McOpCo offering 15% more; as a

result, she had to move outside the McDonald’s system to Hobby Lobby where she

earned $10.25/hour. ECF 402‐7, Ex. 95 (p. 530).

       McDonald’s and its franchisees knew they were significant potential competitors

for each other’s workers. ECF 403, ¶¶ 4, 10. If this were not true, the No‐Hire



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Agreement would serve no economic purpose because the availability of jobs outside of

McDonald’s would render it meaningless. ECF 270‐5, ¶ 5.

       B.     McDonald’s and Its Franchisees Agreed Not To Compete For Each
              Other’s Employees

       During the Class Period, the No‐Hire Agreement had two components: the

elimination of labor competition by and among franchisees, and McDonald’s

reciprocation of that restraint in its role as labor competitor.

       The first component was set forth in McDonald’s standard Franchise Agreement,

whereby every franchisee in the McDonald’s system agreed that it “shall not employ or

seek to employ any person who is at the time employed by McDonald’s, any of its

subsidiaries, the Licensor, or by any person who is at the time operating a McDonald’s

restaurant . . . . This paragraph 14 shall not be violated if such person has left the

employ of any of the foregoing parties for a period in excess of six months.” ECF 270‐2

at ‐844; 270‐3 at ‐884; 270‐4 at ‐233‐34. This component of the No‐Hire Agreement

remained during the Class Period for “political reasons,” which former McDonald’s

Vice President James Kramer confirmed were “objections from the franchisees” to

changes that would limit Paragraph 14’s scope. ECF 403 ¶ 8.

       The second component traces to conduct outside those standard contracts and

after they were executed, when McDonald’s reciprocated the agreement with private

promises that its corporate‐owned McOpCo stores would not hire managers from




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franchisees, which was expanded in 2015 to also prohibit the hiring of crew. ECF 270‐14

at 54:20‐55:23; ECF 403 ¶¶ 7, 9‐11.

       The covert expansion of the No‐Hire Agreement in 2015 illustrates the impact of

the restraint. In that year, McDonald’s decided to modestly raise wages of all McOpCo

workers nationwide. ECF 403 ¶ 9. If the district court were correct, and McDonald’s and

its franchisees collectively did not have market power over their workers, then the

franchisees would have been indifferent to wage increases at McOpCos, because

competition from employers outside the McDonald’s franchise system would determine

Class wages.

       McDonald’s executives and its franchisees well understood the market realities

that the district court denied. McDonald’s and its franchisees collectively did have

market power over their workers, and the degree of competition (or lack thereof)

among them had a significant and common impact on worker pay levels throughout the

country. Thus, before raising its own worker wages in a common fashion nationwide,

McDonald’s met privately with the “National Leadership Council” of its franchisee

labor competitors, at an invitation‐only event at The Venetian Hotel in Las Vegas, to

preview and discuss what McDonald’s knew would be a very controversial decision.

ECF 403, ¶ 9. Instead of being indifferent to McDonald’s planned wage increase,

franchisees were “upset beyond words” with McDonald’s, and scrambled to determine

what it would cost to increase pay to their own workers to match. ECF 405, ¶ 3 at p. 48.



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       But franchisees did not need to increase worker pay, because McDonald’s and its

franchisees acted to prevent competition among them. McDonald’s agreed to expand its

existing covert reciprocation of the hiring restraint to include all workers, even entry‐

level crew, located within 25 miles of any McDonald’s‐owned restaurant. ECF 403 ¶ 11.

The franchisees did not need to worry about pay pressure on their managers, since

McDonald’s had long‐since reciprocated the restraint with respect to managers, without

any geographic limitation. ECF 403 ¶¶ 7, 18. This key component of the No‐Hire

Agreement—McDonald’s secret reciprocation of the hiring restraint—was never set

forth in the franchise contracts, and was discussed and agreed upon separately. ECF

270‐14 at 54:20‐55:23; ECF 403 ¶¶ 7, 9‐11. McDonald’s never sought to justify this

component of the restraint, because McDonald’s denies that it ever happened. ECF 416

¶ 5.

       McDonald’s and franchisees further agreed that an exception would be allowed

only if the worker’s current employer first provided a “letter of release” permitting the

prospective employer to hire her. ECF 270‐36; 270‐43 at 32:21‐33:2; 270‐44 through ‐57;

ECF 270, ¶ 3. The No‐Hire Agreement applied to every McDonald’s restaurant

nationwide: even if an employee wanted to move from one end of the country to the

other, she could not work at a separately‐owned McDonald’s without a letter of release

or a McDonald’s employment gap of at least six months. ECF 403‐3, Ex. 17 at 58:7‐15 (p.

250); 403‐4, Exs. 49 through 51 (p.253‐259); 403‐5, Ex. 52 at 232:22‐233:16 (p. 60).



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       The No‐Hire Agreement was no mere formality. McDonald’s actively enforced it,

including by: sending written reminders to franchisees (ECF 270‐36; 270‐38); reviewing

it in meetings between franchisees and their ombudsman (ECF 270‐42 at ‐074);

addressing it in a training for prospective franchisees (ECF 270‐1 at ‐077); discussing

compliance with franchisees in their annual Business Reviews, which determine

whether franchisees are in good standing (ECF 270‐40 at ‐738); and by assisting

franchisees with enforcing the Agreement against one another. ECF 270‐39 at ‐342; 270‐

41; 270‐37 at ‐198. McDonald’s also trained its own managers and recruiters to comply

with the No‐Hire Agreement. 270‐43 at 32:21‐33:2. Managers refused to even interview

franchisee workers without a release (ECF 270‐51 through 57), and call logs from

McDonald’s HR department show over 540 calls from employees regarding “letters of

release,” and HR’s consistent response that employees could not transfer without a

release. ECF 270 ¶ 3.

       McDonald’s ended the No‐Hire Agreement nationwide pursuant to a settlement

with the Washington State Attorney General. ECF 270‐73. McDonald’s provided no

evidence this hurt its ability to attract new franchisees, maintain franchisee

relationships, induce franchisee investment in training or other initiatives, or train

workers. To the contrary, McDonald’s reports that its franchisees are having record

success (ECF 402‐7, Ex. 84 at p. 420), and McDonald’s corporate witness testified that

removing the restraint did not make any difference to its operations. ECF 403‐7, Ex. 85



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at 64:2‐13 (p. 441) (“Q: Do you have any understanding of any economic activity that

paragraph 14 was reasonably necessary to accomplish? A: No. No. Not at all. Q: Have

you noticed any differences in McDonald’s restaurant operations after paragraph 14 has

been removed? A: No.”).

      C.     The No‐Hire Agreement Harmed Competition and Suppressed Pay
             Classwide

      Appellants retained two qualified expert economists to examine the evidence in

this case and opine on whether the No‐Hire Agreement impacted Class pay.

      First, Dr. Hal Singer is a Senior Fellow at the George Washington Institute of

Public Policy and an Adjunct Professor at Georgetown University, McDonough School

of Business. He is an expert in antitrust economics. Dr. Singer reviewed academic

scholarship regarding employer market power, record evidence about the No‐Hire

Agreement and its effects, analyzed franchisees’ and corporate‐owned stores’

compensation data, and applied standard econometric techniques to analyze Class

members’ compensation during and after the alleged conspiracy, controlling for other

relevant factors. ECF 270‐5.

      Dr. Singer found that common evidence and standard statistical methods

regularly used in antitrust cases show that the No‐Hire Agreement: (1) resulted in

substantial and statistically significant harm through wage suppression; and

(2) reduced the pay of all or nearly all Class members. ECF 270‐5 ¶¶ 40‐59, 66‐82. Dr.




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Singer also measured aggregate Class damages, using standard econometric methods

and evidence that is common to the Class. Id., ¶¶ 83‐85.

       Dr. Singer compared wages paid to McDonald’s restaurant workers when the

No‐Hire Agreement was in effect with wages paid after the Washington AG settlement

in July 2018. ECF 403‐7, Ex. 88, ¶ 41 (pp. 595‐96). He found that employees earned

significantly less when the No‐Hire Agreement was in place: Franchisee Crew by 6.8%,

Franchisee Managers by 2.5%, McOpCo Crew by 3.3% and McOpCo Managers by 4.0%.

Id., Tables 3 & 4 (pp. 606 & 609).

       Dr. Singer controlled for other factors that influence pay, to rule out that those

factors could be the cause, including among other things, the local minimum wage, the

local county unemployment rate, and the local county per capita income. Id., ¶ 49.

Dr. Singer also tested whether the rise in McDonald’s restaurant employee wages after

July 2018 could be attributable to a general wage increase among quick‐service

restaurants at that time, by controlling for local county wages in quick‐service

restaurants. Id., ¶ 58 & Appendix Tables E8 & E9. After factoring that in, McDonald’s

worker pay was still suppressed while the No‐Hire Agreement was in place compared

to after. Id., Table E9, Column 2, Row 3.

       Finally, Dr. Singer tested whether other factors could explain the difference in

pay between the two time periods, by adding controls for distance to the nearest

separately‐owned McDonald’s restaurant, the population density of the county in



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which each store is located, and McDonald’s share of all quick‐service restaurants

within a given county, but none of these variables changed the outcome: McDonald’s

employees’ wages were lower while the No‐Hire Agreement was in place, to a

substantial and statistically‐significant degree. Id., ¶ 58.

       The variables in Dr. Singer’s model explain over 99% of variation in employee

pay, and his results are statistically significant at the one percent level, which means

that there is a less than a one percent chance that the results would have been observed

by chance. Id., ¶ 52.

       Appellants also retained expert economist Peter Cappelli, Director of the Center

for Human Resources at the Wharton School, University of Pennsylvania. His expertise

focuses on industrial relations and human resource management, including specifically

how employers set worker pay. ECF 270‐6 ¶ 1. He found that: (1) Class members

receive training that imparts specific skills that are of high value to McDonald’s

restaurant owners and of limited value to outside employers, such that the No‐Hire

Agreement would have impacted Class member pay despite the availability of non‐

McDonald’s employment options (ECF 270‐6 ¶¶ 48‐62); and (2) McDonald’s and its

franchisees maintain standardized and linked compensation structures that transmitted

wage suppression broadly across the Class. ECF 270‐6 ¶¶ 104‐138.




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III.     PROCEDURAL HISTORY

         Plaintiff‐Appellant Deslandes filed her amended class action complaint on

September 18, 2017, alleging that the No‐Hire Agreement was a naked restraint,

unnecessary to the legitimate operation of McDonald’s franchise system, and not

tailored to accomplish any legitimate objective. ECF 32, ¶¶ 1, 92, 102‐109.

         McDonald’s moved to dismiss on the grounds that rule of reason analysis is

required, and Deslandes failed to satisfy that legal theory. ECF 35. The district court

denied McDonald’s motion. SA‐1. The district court found that the alleged No‐Hire

Agreement was a horizontal restraint, because it eliminated competition among

McDonald’s and its franchisees for workers. SA‐10‐11. The district court also concluded

that “because a no‐hire agreement is, in essence, an agreement to divide a market, the

Court has no trouble concluding that a naked horizontal no‐hire agreement would be a

per se violation of the antitrust laws.” SA‐12.

         However, the district court did not apply the per se rule because the district

court found that the No‐Hire Agreement was ancillary to McDonald’s franchise system.

SA‐13‐14. Its only justification for this finding was the fact that part of the No‐Hire

Agreement was set forth in the franchise contracts, id., even though the restraint: “was

not necessary to encourage franchisees to sign” and “was [not] output enhancing,” SA‐

13‐15.




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      The district court also considered and rejected the procompetitive defenses

McDonald’s asserted. It held that the No‐Hire Agreement could not be justified on the

basis that it encouraged franchisees to train their employees, including because the

restraint was wildly overbroad. “Employers have plenty of other means to encourage

their employees to stay without resorting to unlawful market division. Those options

include paying higher wages/salaries and contracting directly with each employee to set

an employment term.” SA‐15.

      Accordingly, the district court held that Deslandes stated a claim and that the

quick‐look test was an appropriate legal theory because “[e]ven a person with a

rudimentary understanding of economics would understand that if competitors agree

not to hire each other’s employees, wages for employees will stagnate.” SA‐14. Despite

denying the motion to dismiss, the district court gave Deslandes leave to amend her

complaint within 28 days thereafter to “include a claim under the rule of reason.” SA‐

16. Deslandes declined the invitation, because she had already adequately alleged her

Sherman Act claim, and she was not required to plead every alternative legal theory she

might pursue, before discovery had even commenced.

      On August 15, 2019, Plaintiff‐Appellant Turner filed her class action complaint,

challenging the same No‐Hire Agreement. Turner, No. 19‐cv‐05524, ECF 1. Turner’s

complaint was similar to Deslandes’s, and added additional allegations showing that

the No‐Hire Agreement was not ancillary to McDonald’s franchise system. Id., ¶ 2.



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       McDonald’s moved to dismiss Turner’s complaint on standing and statute of

limitations grounds only, which the district court denied. SA‐19. The district court

consolidated the two actions for discovery purposes. ECF 182.

       After more than two years of discovery, Plaintiffs jointly moved for class

certification, supported by common evidence: contemporaneous business records,

academic scholarship, witness testimony, and expert analysis.

       After the parties completed briefing class certification, the Supreme Court issued

its opinion in NCAA v. Alston, 141 S. Ct. 2141 (2021), in which the Court affirmed

judgment for plaintiffs. The district court requested supplemental briefing regarding

the impact of Alston, which the parties submitted.

       The district court denied Plaintiffs’ motion for class certification, on the basis that

Alston required Plaintiffs to satisfy a rule of reason legal theory, but Plaintiffs had

“waived” that theory because they did not amend their complaints to specifically

address it. SA‐52. In addition, the district court accepted the very same defenses and

competitive justifications that it previously rejected and that Plaintiffs vigorously

disputed: that the No‐Hire Agreement encouraged franchisees to train their employees;

that reducing competition in the labor market encouraged production in the product

market; and that the restraint was somehow vertical in locations without a competing

McOpCo. SA‐40‐43. Further, the district court ignored Plaintiffs’ common evidence of

anticompetitive effects, insisting that Plaintiffs could not prevail under the rule of



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reason without first defining “hundreds or thousands” of geographic markets as small

as “a mile or two” wide, and proving unreasonableness separately as to each. SA‐46‐50.

       McDonald’s then moved for judgment on the pleadings, or, in the alternative, for

summary judgment, and Plaintiffs cross‐moved for partial summary judgment on

McDonald’s asserted procompetitive justifications.

       The district court granted McDonald’s motion for judgment on the pleadings,

and denied as moot the parties’ cross‐motions for summary judgment. SA‐55. In doing

so, the district court reached beyond the pleadings and resolved disputed questions of

fact, such as whether the No‐Hire Agreement was ancillary to McDonald’s franchise

system, whether the No‐Hire Agreement suppressed Class pay, and whether Plaintiffs

could satisfy their initial burden of proof. SA‐63‐66. Similar to its denial of class

certification, the district court uncritically accepted McDonald’s defenses, and ignored

Plaintiffs’ evidence and arguments to the contrary. The district court also refused to

allow the United States Department of Justice to submit a statement of interest (ECF

452), and made all of the above decisions without once permitting oral argument.

                              SUMMARY OF ARGUMENT

       Throughout this case, the district court applied erroneous legal standards for

determining ancillarity and for assessing McDonald’s claimed justifications, which led

the district court to incorrectly conclude that Plaintiffs’ burden was to satisfy the

strictest form of the rule of reason. But under the correct legal standard, no reasonable



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factfinder can conclude that the No‐Hire Agreement was ancillary to McDonald’s

franchise system. At best, these are disputed issues of fact.

       The district court then compounded its errors by refusing to even consider

Plaintiffs’ evidence of anticompetitive effects. Plaintiffs submitted substantial evidence

that the No‐Hire Agreement harmed competition for Class labor and suppressed their

pay. The district court ignored it based upon its erroneous conclusion that Plaintiffs had

“waived” a rule of reason legal theory. This impermissibly denied Plaintiffs an

opportunity to make their case with evidence generated through years of discovery and

that was already before the district court.

       The district court abused its discretion in denying class certification, because its

decision relied upon the same erroneous holdings that only the rule of reason applied,

and that Plaintiffs would be prohibited from even attempting to satisfy it. Under any

mode of antitrust analysis, common questions of law and fact predominate, and

Plaintiffs’ Sherman Act claim should be resolved on a class basis.

       This Court should reverse the district court’s grant of judgment on the pleadings,

its denial of Plaintiffs’ motion for partial summary judgment on McDonald’s affirmative

defense, and its denial of class certification. In addition, Plaintiffs respectfully request

that the Court direct reassignment on remand.




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                                        ARGUMENT

I.     STANDARDS OF REVIEW

       The Court reviews “a ruling on a motion for judgment on the pleadings de novo,

construing the facts in the light most favorable to the non‐moving party.” Federated Mut.

Ins. Co. v. Coyle Mech. Supply Inc., 983 F.3d 307, 313 (7th Cir. 2020).

       If a district court considers matters outside the pleadings, it must convert a

motion for judgment on the pleadings into a motion for summary judgment, and must

deny the motion if “the record discloses the existence of unresolved material fact

issues,” or if “the parties represent that they would have submitted specific

controverted material factual issues to the trial court if they had been given the

opportunity.” United States v. Rogers Cartage Co., 794 F.3d 854, 861 (7th Cir. 2015)

(internal quotation marks and citations omitted). See also Fed. R. Civ. P. 12(d). “District

courts should not allow motions for judgment on the pleadings to deprive the non‐

moving party of the opportunity to make its case.” Federated Mut. Ins., 983 F.3d at 313.

       The Court reviews a ruling on a motion for summary judgment de novo. Burton

v. Bd. of Regents, 851 F.3d 690, 694 (7th Cir. 2017). Summary judgment is appropriate

when “there is no genuine dispute as to any material fact and the moving party is

entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). The Court views all

evidence in the light most favorable to the non‐moving party. Nicholson v. City of Peoria,

860 F.3d 520, 522 (7th Cir. 2017).




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       This Court reviews a denial of class certification for abuse of discretion. Messner

v. Northshore Univ. HealthSystem, 669 F.3d 802, 811 (7th Cir. 2012). If “the district court

bases its discretionary decision on an erroneous view of the law or a clearly erroneous

assessment of the evidence, then it has necessarily abused its discretion.” Id.

II.    THE DISTRICT COURT ERRED IN GRANTING MCDONALD’S
       JUDGMENT ON THE PLEADINGS

       A.     The District Court Erroneously Concluded That The No‐Hire
              Agreement Was Ancillary

       The primary basis for the district court’s grant of judgment on the pleadings was

its incorrect understanding of ancillarity. It applied a legal standard that a restraint is

automatically ancillary to a competitive joint activity if part of that restraint is set forth

in a contract governing that otherwise lawful joint effort. This fundamental

misunderstanding determined not only the outcome of McDonald’s motion for

judgment on the pleadings, but every other decision that Plaintiffs appeal. “This all‐

important classification largely determines the course of subsequent legal evaluation of

any restraint.” Areeda ¶ 1904.

       A “restraint does not qualify as ‘ancillary’ merely because it accompanies some

other agreement that is itself lawful.” Areeda ¶ 1908b. See, e.g., Bd. of Regents, 468 U.S. at

110 (restraint was “naked” even though part of larger contract and collaborative

activity); Blackburn v. Sweeney, 53 F.3d 825, 827‐29 (7th Cir. 1995); Polygram Holding, Inc.

v. F.T.C., 416 F.3d 29, 37 (D.C. Cir. 2005) (restraint in joint venture “naked” when it




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concerned a product outside the collaboration). Otherwise, any businessperson could

shield an anticompetitive restraint merely by placing it within a broader contract.

       In order for a restraint to be ancillary, it must be both essential to the overall

arrangement, and commensurate with it, meaning that it is no broader than reasonably

necessary to accomplish a procompetitive integration. See Bd. of Regents, 468 U.S at 119

(A challenged restraint must be “tailored” to a legitimate objective in order to qualify as

ancillary); Polk Bros., Inc. v. Forest City Enters., Inc., 776 F.2d 185 (7th Cir. 1985) (applying

rule of reason when the restraint was necessary to the economic collaboration);

Blackburn, 53 F.3d at 827‐29 (holding that restraint post‐dating transaction is “naked”

not “ancillary” because it cannot be necessary to the joint activity, including because of

restraint’s unreasonable duration); Law, 134 F.3d at 1021 (“[T]he only legitimate

rationales that we will recognize . . . are those necessary to produce competitive

intercollegiate sports.”); Rothery Storage & Van Co. v. Atlas Van Lines, Inc., 792 F.2d 210,

224 (D.C. Cir. 1986), cert. denied, 479 U.S. 1033 (1987) (to be ancillary, “an agreement

eliminating competition must be subordinate and collateral to a separate, legitimate

transaction. . . . If [the restraint] is so broad that part of the restraint suppresses

competition without creating efficiency, the restraint is, to that extent, not ancillary”);

Nat’l Bancard Corp. v. Visa USA Inc., 779 F.2d 592, 601 (11th Cir. 1986) (restraint is

ancillary only “if it is no greater than reasonably necessary to achieve a legitimate

commercial objective (i.e., has a procompetitive purpose), has no substantial



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anticompetitive impact, and is no broader than necessary to accomplish its

procompetitive goals”); MLB Props., Inc. v. Salvino, Inc., 542 F.3d 290, 339 (2d Cir. 2008)

(Sotomayor, J., concurring in the judgment) (“[A] restraint that is unnecessary to

achieve a joint venture’s efficiency‐enhancing benefits may not be justified based on

those benefits.”); Areeda ¶¶ 1908b, 1908c, 1912c2.

       On the pleadings, there was no basis to conclude that the No‐Hire Agreement

was ancillary. To the contrary, Plaintiffs’ allegations only point in the opposite

direction. Indeed, the district court previously found that, while the overall franchise

system was output enhancing in terms of burgers and fries, “[t]hat is not to say that the

provision itself was output enhancing.” SA‐13. “This case, though, is not about

competition for the sale of hamburgers to consumers.” SA‐14. “The very fact that

McDonald’s has managed to continue signing franchise agreements even after it

stopped including the provision in 2017 suggests that the no‐hire provision was not

necessary to encourage franchisees to sign.” SA‐13. “Dividing the market does not

promote intrabrand competition for employees, it stifles interbrand competition.” Id.

Nor was the No‐Hire Agreement reasonably tailored to any conceivable procompetitive

justification. SA‐15.

       Plaintiffs’ complaints thus provide no basis to conclude that the No‐Hire

Agreement was ancillary, particularly when “construing the facts in the light most

favorable” to Plaintiffs. Federated Mut. Ins., 983 F.3d at 313.



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       B.     Unless The No‐Hire Agreement Was Ancillary To McDonald’s
              Franchise System, It Is Conclusively Unlawful Pursuant To the Per Se
              Rule

       There is a widespread consensus that an agreement between rival employers not

to compete for each other’s employees is a per se unlawful market allocation, unless the

restraint is ancillary to a legitimate procompetitive collaboration.

       Courts in the Third, Seventh, and Ninth Circuits have applied the per se rule to

agreements among rival employers not to compete for each other’s workers. See, e.g., In

re Outpatient Med. Ctr. Emp. Antitrust Litig., No. 21‐CV‐00305, 2022 WL 4465929, at *10

(N.D. Ill. Sept. 26, 2022) (“It makes no difference that Defendants were dividing

employees as opposed to territories, customers, or products.”); Fonseca v. Hewlett‐

Packard Co., No. 19CV1748‐GPC‐MSB, 2020 WL 6083448, at *9 (S.D. Cal. Feb. 3, 2020)

(same); In re Ry. Indus. Emp. No‐Poach Antitrust Litig., 395 F. Supp. 3d 464, 480‐85 (W.D.

Pa. 2019) (same); United States v. eBay, Inc., 968 F. Supp. 2d 1030, 1039 (N.D. Cal. 2013)

(same); In re High‐Tech Emp. Antitrust Litig., 856 F. Supp. 2d 1103, 1122 (N.D. Cal. 2012)

(same). See also Aya Healthcare Servs., Inc. v. AMN Healthcare, Inc., 9 F.4th 1102, 1110 n.4

(9th Cir. 2021) (finding “considerable merit” to the argument that “the per se rule

applies to naked non‐solicitation agreements because it is a form of labor‐market

allocation”). In addition, the Eleventh Circuit recently held that a very similar restraint

in the Burger King franchise system is subject to Section 1 scrutiny. Arrington v. Burger

King Worldwide, Inc., 47 F.4th 1247, 1256 (11th Cir. 2022) (“the No‐Hire Agreement



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deprives the marketplace of independent centers of decisionmaking about hiring, and

therefore of actual or potential competition.”) (cleaned up, quotation omitted).

       Antitrust enforcers agree. In 2016, the United States Department of Justice and

the Federal Trade Commission published joint antitrust guidance to human resource

professionals, explaining: “Naked wage‐fixing or no‐poaching agreements among

employers, whether entered into directly or through a third‐party intermediary, are per

se illegal under the antitrust laws.” Guidance at 3, https://www.justice.gov/atr/file/

903511/download.. The Attorney General of the State of Washington investigated no‐

poach agreements specifically in the context of franchise systems. The Washington AG

confirmed that one‐third of the franchise systems it investigated never had such

restraints at all—and over 200 other franchisors, like McDonald’s, voluntarily removed

them after the investigation. ECF 403, ¶¶ 24‐25. One exception was Jersey Mike’s, who

initially refused to remove the restraint, requiring the Washington AG to file suit.2 The

Washington AG challenged the restraint as a per se violation of Washington antitrust

law. See https://agportals3bucket.s3.amazonaws.com/uploadedfiles/Another/News/

Press_Releases/20181015_Complaint_Filed_Conformed.pdf, ¶¶42‐51, 65, 67‐70.




2A year later, Jersey Mike’s entered into an Assurance of Discontinuance, removing the
restraint nationwide. See https://agportal‐s3bucket.s3.amazonaws.com/uploadedfiles/
Another/News/ Press_Releases/20190823_JerseyMikes_AOD_SIGNED.pdf.




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       Antitrust’s leading treatise reflects this consensus: “A naked agreement among

employers limiting salaries or wages, such as an ‘anti‐poaching’ agreement, is unlawful

per se.” Areeda ¶ 2012c.

       Accordingly, had the district court not erred in finding that the No‐Hire

Agreement was ancillary, it would have been left with the inevitable and correct

conclusion that the restraint was per se unlawful.

       C.     Plaintiffs also Satisfy The Quick‐Look Test

       After erroneously concluding that the No‐Hire Agreement was ancillary to

McDonald’s franchise system, the district court initially held that the quick‐look test

would govern Plaintiffs’ claim. SA‐14.

       Under the quick‐look test, like the per se rule, Plaintiffs satisfy their initial

burden upon proof of the restraint. McDonald’s would then have an opportunity to

satisfy a “heavy burden of establishing an affirmative defense which competitively

justifies [its] apparent deviation from the operations of a free market.” Bd. of Regents,

468 U.S at 98. See also Alston, 141 S. Ct. at 2157 (explaining that its analysis is “fully

consistent” with Board of Regents); Agnew v. NCAA, 683 F.3d 328, 335‐36 (7th Cir. 2012)

(defendant required to “show that the restraint in question actually has a

procompetitive effect on balance”).




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       To avoid condemnation under the quick‐look test, McDonald’s must show that

the No‐Hire Agreement was reasonably necessary to legitimate competitive benefits. See

Bd. of Regents, 468 U.S. at 113‐15; Gen. Leaseways, 744 F.2d at 595; Areeda ¶ 1908b.

       McDonald’s heavy burden, moreover, is to show “empirical evidence of

procompetitive effects.” Cal. Dental, 526 U.S. at 775 n.12. McDonald’s cannot satisfy its

burden with speculation, unmoored by antitrust standards regarding what does or does

not count as a legitimate competitive benefit. Rather, McDonald’s must prove that the

No‐Hire Agreement was in fact reasonably necessary to purported competitive benefits,

and that the asserted benefits are legitimate under the antitrust laws. Chi. Pro. Sports,

961 F.2d at 672‐76 (scrutinizing and rejecting claimed benefits such as controlling free‐

riding); Law, 134 F.3d at 1021 (applying quick‐look, examining and rejecting

procompetitive justifications, because none proved that the restraint was “necessary to

produce competitive intercollegiate sports”).

       At class certification, the district court erred in holding that “defendants have

put forth sufficient evidence of pro‐competitive effects of the hiring restriction to

warrant full rule of reason analysis.” SA‐38. The district court did not articulate a legal

standard to govern its determination of what would or would not be “sufficient

evidence of pro‐competitive effects.” The closest the district court came was the

following: “The Court is not suggesting that this evidence is undisputed or that a fact‐

finder would find it persuasive. The point is merely that in the face of defendants’



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significant evidence of procompetitive effects, a full analysis under the rule of reason,

rather than a quick look, is necessary.” SA‐38 n.4.

       But Plaintiffs vigorously contested these purported benefits, both as a factual

matter (the No‐Hire Agreement was unnecessary to any of them) (ECF 403, ¶¶ 26‐52),

and as a legal matter (a defendant cannot justify a restraint by complaining about

competition, or by offsetting harm in the labor market with purported benefits in a

downstream product market). The district court erred by uncritically accepting

McDonald’s justifications, ignoring all contrary evidence and legal argument. ECF 400

at 24‐27.

       In addition, the district court’s crediting of McDonald’s justifications at class

certification cannot be reconciled with its earlier (correct) conclusion that those same

justifications are illegitimate. Compare, e.g., SA‐40 (“Dr. McCrary opines that the hiring

restriction encourages franchisees to train their employees without fear that other

outlets will free‐ride on this training by hiring away employees trained in the

McDonald’s way.”) with SA‐15 (“Employers have plenty of other means to encourage

their employees to stay without resorting to unlawful market division.”).

       At best for McDonald’s, the question of competitive benefits is an issue for the

jury to resolve at trial. The burden would shift back to Plaintiffs only if the jury agrees

with McDonald’s that the No‐Hire Agreement was reasonably necessary to competitive




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benefits. However, as explained below in § III., no reasonable factfinder may come to

this conclusion, and Plaintiffs are entitled to partial summary judgment on this issue.

       D.      Plaintiffs also Satisfy The Rule of Reason

       Under the full rule of reason, Plaintiffs’ burden is to show that the No‐Hire

Agreement harmed competition, either through a direct showing of economic effects of

the agreement, or by a surrogate for that direct evidence: proof of market power in a

relevant market. See Fact § I., supra.

       The rule of reason is not a “rote checklist,” nor is it “an inflexible substitute for

careful analysis.” Alston, 141 S. Ct. at 2160. The “whole point” of the rule of reason “is to

furnish ‘an enquiry meet for the case, looking to the circumstances, details, and logic of

a restraint[.]’” Id. (quoting Cal. Dental, 526 U.S. at 781). “Since the purpose of the

inquiries into market definition and market power is to determine whether an

arrangement has the potential for genuine adverse effects on competition, proof of

actual detrimental effects . . . can obviate the need for inquiry into market power, which

is but a surrogate for detrimental effects.” Ind. Dentists, 476 U.S. at 460‐61 (quotation

omitted). See also In re Sulfuric Acid Antitrust Litig., 703 F.3d 1004, 1007 (7th Cir. 2012);

Chi. Pro. Sports, 754 F. Supp. at 1363; Law, 134 F.3d at 1019; Orson, Inc. v. Miramax Film

Corp., 79 F.3d 1358, 1367 (3d Cir. 1996); Levine v. Cent. Fla. Med. Affiliates, Inc., 72 F.3d

1538, 1551 (11th Cir. 1996); Cap. Imaging Assocs., P.C. v. Mohawk Valley Med. Assocs., Inc.,

996 F.2d 537, 546 (2d Cir. 1993).



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       Plaintiffs provided substantial evidence of anticompetitive effects, including by

directly observing that the No‐Hire Agreement suppressed worker pay nationwide. See

§ II.C., supra. Plaintiffs further buttressed their direct proof of detrimental effects with

substantial economic scholarship showing that low‐wage employers, including those in

the fast food sector, possess market power over their employees. ECF 403, ¶¶ 55‐56;

ECF 270‐5, ¶¶ 11‐28; ECF 270‐6, ¶¶ 79‐96. This is not only sufficient to satisfy Plaintiffs’

burden under the rule of reason, it is preferable to indirect forms of proof that are only a

“surrogate” for the direct evidence Plaintiffs provide. Ind. Dentists, 476 U.S. at 460–61.

       The district court ignored Plaintiffs’ evidence of anticompetitive effects because

the district court erroneously found that this evidence assumed and depended upon a

single, nationwide geographic market. SA‐46 (“The evidence plaintiffs have put forth in

an attempt to establish anticompetitive effects assumes that plaintiffs sell their labor in

one national market[.]”) But Plaintiffs’ direct evidence of anticompetitive effects (and

thereby of market power) relies upon no such assumption, which is one of the strengths

of direct evidence. Dr. Singer’s statistical analysis does not assume or depend upon a

nationwide geographic market. Consistent with standard academic methods, Dr. Singer

uses a nationwide dataset and applies local control variables to it, to explore

anticompetitive effects as an empirical matter with available relevant data. Dr. Singer

determined that wage suppression persists, to a very high degree of statistical




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confidence, when controlling for any of the concerns McDonald’s asserted or the district

court raised, such as competition from other local quick‐service restaurants.

        In addition, the No‐Hire Agreement itself is an admission of market power. See

Ioana Marinescu & Herbert J. Hovenkamp, Anticompetitive Mergers in Labor Markets, 94

Ind. L. J. 1031, 1035 (2019) (“The fact that the two firms found it profitable to enter into

this agreement is a strong indicator that (1) the firms were competitors in this particular

portion of the labor market and (2) that between the two of them they had enough

market power to make the agreement profitable.”).

        Further, McDonald’s own illegitimate justifications assume and thereby admit

market power. According to McDonald’s own expert, the No‐Hire Agreement: made

co‐conspirators “more confident that [workers] would stay longer”; “discourage[d]

[workers] from moving immediately to another employer where that training may be

more easily transferred”; resulted in “reduced turnover”; and eliminated concerns

“about other franchisees poaching their employees.” ECF 302‐1, Ex. 2, ¶¶ 284‐86 (pp.

364‐65). It is simply impossible for a restraint to have the market power to increase

employee retention nationwide, but not have the power to suppress those employees’

pay.

        Even if Plaintiffs were required to make the surrogate showing that McDonald’s

possessed power in a defined market (and they are not), Plaintiffs made that showing

here.



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       A reasonable jury could find that the No‐Hire Agreement created market power

in a cognizable market of McDonald’s employers for Class member labor. The district

court concluded that the relevant market must include non‐McDonald’s employers, but

the possible existence of “a broader [employment] market . . . does not necessarily

negative the existence of submarkets[.]” United States v. Cont’l Can Co., 378 U.S. 441, 457‐

58 (1964). See also Photovest Corp. v. Fotomat Corp., 606 F.2d 704, 713‐16 (7th Cir. 1979)

(recognizing that drive‐thru kiosk photo processing services, as opposed to in‐store

photo services, were cognizable submarket even though customers sometimes switched

between them); Beatrice Foods v. F.T.C., 540 F.2d 303, 308 (7th Cir. 1976) (holding that

“the question is not whether [paint] brushers, rollers, aerosols, and sprayers constitute a

market, but whether the [fact‐finder] could properly find that brushers and rollers alone

constitute a line of commerce”).

       Here, a plethora of “practical indicia,” Photovest, 606 F.2d at 712, would support a

jury finding of a cognizable service market consisting of a discrete group of buyers

(thousands of independently‐owned McDonald’s franchisees and McOpCos) for the

services of a discrete group of sellers (hundreds of thousands of workers who received

McDonald’s training), including: (1) proof that the No‐Hire Agreement actually enabled

McDonald’s employers to hold down wages, cf. Photovest, 606 F.2d at 713 (ability to

charge distinct prices supported finding of submarket); (2) record and economic

evidence that workers with McDonald’s‐specific training have unique value to



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McDonald’s employers (ECF 403 ¶¶ 57‐67), Photovest, 606 F.2d at 712 (relevant factors

include “the [service’s] peculiar characteristics and uses” and “distinct customers”); and

(3) the limited interchangeability of workers in the broader labor market given the high

switching costs for both employers (e.g., costs related to recruitment and job‐specific

training) and employees (e.g., the costs associated with job search, loss of seniority, etc.).

ECF 403 ¶¶ 55‐56.

        Nor does competition from outside employers preclude a finding of a cognizable

market limited to workers with McDonald’s‐specific skills and experience. See Photovest,

606 F.2d at 714 (“The law does not require an exclusive class of customers for each

relevant submarket.”); Beatrice Foods, 540 F.2d at 309 (“[T]he fact that [paint] aerosols

and other spray equipment are interchangeable with brushes and rollers for some

limited end uses does not negative the existence of a separate brush‐and‐roller

market.”). The direct evidence of wage suppression that Plaintiffs showed are proof of

that.

        At most, the parties’ disagreement on this issue is a genuine dispute of fact

regarding the proper market definition, which would go to the jury if deemed necessary

to Plaintiffs’ burden. Fishman v. Estate of Wirtz, 807 F.2d 520, 531 (7th Cir. 1986); Republic

Tobacco Co. v. N. Atl. Trading Co., 381 F.3d 717, 725 (7th Cir. 2004).




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       E.     Plaintiffs Did Not Waive A Legal Theory Under the Rule of Reason

       The district court erroneously refused to consider Plaintiffs’ evidence of

anticompetitive effects on the basis that Plaintiffs had “waived” a “claim under the rule

of reason” by failing to specifically allege it in the complaint. SA‐52.

       Plaintiffs satisfied their obligation to plead “a short and plain statement of the

claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). Plaintiffs

stated a claim for violation of Section 1 of the Sherman Act, and supported that claim

with factual allegations, explaining that they sought to recover suppressed pay caused

by an unreasonable restraint of trade among owners of McDonald’s restaurants to

suppress competition for each other’s employees. ECF 32; Turner, ECF 1.

       First, the per se and rule of reason tests are not different legal claims, but rather

different methods of evaluating the same legal claim under Section 1 of the Sherman

Act. See Always Towing & Recovery, Inc. v. City of Milwaukee, 2 F.4th 695, 704 (7th Cir.

2021) (explaining “the per se, rule of reason, and quick look analyses” “are meant to

answer the same question: whether or not the challenged restraint enhances

competition”) (quotations and citations omitted). “A plaintiff need not plead legal

theories,” and “when a plaintiff does plead legal theories, it can later alter those

theories, and there is no burden on the plaintiff to justify altering its original theory” so

long as the factual basis is consistent with the original complaint. BRC Rubber & Plastics,

Inc. v. Cont’l Carbon Co., 900 F.3d 529, 540‐41 (7th Cir. 2018). Thus, the district court’s



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characterization of the rule of reason as a separate claim that Plaintiffs somehow

waived is incorrect.

       Second, after years of discovery, the district court should not grant judgment on

the pleadings “if evidence that had already been produced during discovery would fill

[any] perceived gaps in the Complaint.” Ideal Steel Supply Corp. v. Anza, 652 F.3d 310,

324‐26 (2d Cir. 2011) (district court erred in dismissing complaint pursuant to Rule 12(c)

where discovery addressed shortcoming in pleadings); Grajales v. P.R. Ports Auth., 682

F.3d 40, 46 (1st Cir. 2012) (district court “should hesitate to entertain a Rule 12(c) motion

that asserts a complaint’s failure to satisfy plausibility requirement” after parties invest

substantial resources in discovery). In any event, there is no requirement that Plaintiffs

amend their complaints to include the voluminous record, and doing so would serve no

purpose, as the underlying Sherman Act claim has remained the same throughout. See,

e.g., In re Processed Egg Prods. Antitrust Litig., 206 F. Supp. 3d 1033, 1051‐53 (E.D. Pa.

2016) (permitting plaintiffs to pursue a rule of reason legal theory though not alleged in

complaint), aff’d, 962 F.3d 719 (3d Cir. 2020).

       Further, refusing to allow Plaintiffs to prove a claim they adequately alleged

would be particularly unjustified here, because the district court did so on the basis of

uncritically accepting an affirmative defense that McDonald’s never pled. Unlike

Plaintiffs, who pled factual allegations in support of their antitrust claim that the No‐

Hire Agreement was an unreasonable restraint of trade, McDonald’s pled nothing to



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support or even identify its affirmative defense that the No‐Hire Agreement was

ancillary to its franchise system or that it benefited competition. Compare ECF 32 ¶¶ 102‐

109 and Turner, ECF 1 ¶ 2 with ECF 69 at 49‐51 and Turner, ECF 67 at 42‐45. See also

Williams v. Lampe, 399 F.3d 867, 870‐71 (7th Cir. 2005) (failure to plead affirmative

defense in answer waives the defense unless leave to amend is granted).

III.   THE DISTRICT COURT ERRED WHEN IT DENIED PARTIAL SUMMARY
       JUDGMENT ON MCDONALD’S AFFIRMATIVE DEFENSE

       Plaintiffs moved for partial summary judgment on McDonald’s affirmative

defense that the No‐Hire Agreement was ancillary to its franchise system or otherwise

reasonably necessary to legitimate procompetitive benefits. The district court denied the

motion as moot, in light of its grant of McDonald’s motion for judgment on the

pleadings. As explained above, that was erroneous.

       This Court should reverse the district court’s denial of Plaintiffs’ motion for

partial judgment, because there are no genuine issues regarding McDonald’s

affirmative defense for the jury to resolve at trial. No reasonable factfinder can conclude

that the No‐Hire Agreement was ancillary to McDonald’s franchise system, or that it

was reasonably necessary to any legitimate competitive benefit. Resolving this issue

will narrow the issues for trial and facilitate the efficient adjudication of Plaintiffs’

Sherman Act claim. See Fed. R. Civ. P. 56(a) (party may seek summary judgment on

“part” of a “defense”).




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       In support of their motion, Plaintiffs showed that the No‐Hire Agreement was

unnecessary to the McDonald’s system. After the No‐Hire Agreement ended, none of

the competitive concerns McDonald’s asserted in this litigation materialized.

Franchisees did not train their employees less. ECF 416 ¶¶ 37‐45. Franchisees continued

to cooperate with each other in legitimate ways. Id. ¶¶ 46‐49. The number of franchise‐

owned locations increased. Id. ¶ 50.

       Further, McDonald’s three primary justifications for the No‐Hire Agreement are

legally invalid. First, preventing “free riding” on another employer’s training

investments is inapposite here. A ride is not “free” if a franchisee has to pay for it. Chi.

Pro. Sports, 961 F.2d at 675 (“What gives this the name free‐riding is the lack of

charge.”); Gen. Leaseways, 744 F.2d at 593‐94 (free‐riding defense rejected in market

division scheme between truck leasing companies party to reciprocal repair agreements,

where they reimbursed one another for repairs); see also Toys R Us, Inc. v. F.T.C., 221

F.3d 928, 933 (7th Cir. 2000).

       Here, a franchisee can prevent the threat of free‐riding by paying the worker the

competitive wage. Thus, market competition itself limits the threat of what McDonald’s

calls free‐riding, just as it does for every employer who invests in training their

employees. See Herbert J. Hovenkamp, The Rule of Reason, 70 Fla. L. Rev. 81, 111 (2018)

(“[I]n order for anticompetitive free riding to occur, the free rider must be able to take




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advantage of someone else’s investment in such a way that the other firm is not capable

of pricing it out of the market.”).

       Second, keeping wages down to increase profits is not a legitimate defense. See

ECF 403 ¶ 27 (McDonald’s argued that the No‐Hire Agreement limits “competition for

labor” but contending it was justified because it “enabled franchisees to better manage

their recruiting and training costs” and purportedly “devote more monies to other

employee‐related benefits and their capital to other procompetitive projects.”) “A

proffered efficiency cannot arise from anticompetitive effects.” United States v. Anthem,

Inc., 855 F3d 345, 369 (D.C. Cir. 2017) (Miller, J., concurring); see also Socony‐Vacuum, 310

U.S. at 220‐21; Law, 134 F.3d at 1022; Areeda ¶ 1504; C. Scott Hemphill & Nancy L. Rose,

Mergers that Harm Sellers, 127 Yale L.J. 2078, 2082 (2018) (“[S]avings achieved through

the exercise of increased classical monopsony power . . . are premised on a reduction in

competition” and “are not cognizable efficiencies.”)

       Third, McDonald’s alleged benefits in the consumer market (cheaper or more

abundant hamburgers) cannot justify demonstrated harm in the labor market (lower

wages). “[T]he ability of McDonald’s franchises to coordinate the release of a new

hamburger does not imply their ability to agree on wages for counter workers[.]”

Alston, 141 S. Ct. at 2157 (quoting Chi. Pro. Sports, 95 F.3d at 600). See also United States v.

Topco Assocs., Inc., 405 U.S. 596, 611 (1972) (“If a decision is to be made to sacrifice

competition in one portion of the economy for greater competition in another portion



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this . . . is a decision that must be made by Congress and not by private forces or by the

courts.”); United States v. Phila. Nat’l Bank, 374 U.S. 321, 370 (1963) (rejecting proposition

that “anticompetitive effects in one market could be justified by procompetitive

consequences in another”); Sullivan v. Nat’l Football League, 34 F.3d 1091, 1112 (1st Cir.

1994) (it is “improper to validate a practice that is decidedly in restraint of trade simply

because the practice produces some unrelated benefits to competition in another

market”), cert. denied, 115 S.Ct. 1252 (1995).

       Fourth, McDonald’s purported justifications are unavailing for the additional

reason that McDonald’s supported them by reference to speculation about what

McDonald’s subjectively intended to accomplish in 1955 when it first introduced

Paragraph 14 to its franchise agreements, many decades before the Class period. But

good intentions cannot justify an unreasonable restraint of trade. Socony‐Vacuum, 310

U.S. at 221‐22 (“[Congress] has no more allowed genuine or fancied competitive abuses

as a legal justification for such schemes than it has the good intentions of the members

of the combination. If such a shift is to be made, it must be done by the Congress.

Certainly Congress has not left us with any such choice.”).

       Speculation regarding subjective intentions from 1955 is irrelevant for the

additional reason that market realities were very different then as compared to the

Class period, and cannot be used to justify the No‐Hire Agreement during the Class

period. Compare ECF 380 ¶¶ 16, 17, 18, 22; ECF 418 ¶¶ 1‐2, 34‐35 with ECF 403 ¶¶ 4,7‐18



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8, 33‐35, & Ex. 14 at 135:3‐5. See also Alston, 141 S. Ct. at 2158 (“Whether an antitrust

violation exists necessarily depends on a careful analysis of market realities. . . . If those

market realities change, so may the legal analysis. When it comes to college sports, there

can be little doubt that the market realities have changed significantly since 1984.”). This

Court’s guidance is not to the contrary. For instance, in Polk Brothers, 776 F.2d 185, this

Court examined justifications for a restraint at the time the restraint was adopted. But

no franchise agreement in effect during the Class period was executed in 1955. Every

franchise contract required renewal every twenty years. ECF 418 ¶ 1. Thus, the oldest

franchise agreement in effect during the Class period was created or renewed in 1993, a

time period McDonald’s ignored. Further, no franchise contract included McDonald’s

reciprocation in its market role as a competitor in the labor market, or the methods by

which McDonalds and its franchisees enforced and monitored compliance. ECF 403 ¶¶

6‐7.

       Finally, even if any of McDonald’s asserted justifications were valid (they are

not), the No‐Hire Agreement was wildly overbroad to address them, and thus legally

unavailing. To be ancillary, a restraint must be no broader than reasonably necessary to

accomplish a procompetitive integration. § II.A, supra. But the Agreement was not

bound by time or geography. It applied for the entire duration of every employee’s

tenure, plus even six months thereafter. It was not limited to some reasonable time

sufficient to recoup up‐front training costs, and was not limited to the most highly‐



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trained employees. A reasonable jury could not find that the Agreement was “tailored

to serve” McDonald’s (invalid) interests. Bd. of Regents, 468 U.S. at 119.

IV.    THE DISTRICT COURT ABUSED ITS DISCRETION WHEN IT DENIED
       CLASS CERTIFICATION

       The district court denied class certification on the basis that it found Plaintiffs

could not satisfy their burden under the rule of reason. Because its application of the

rule of reason was error, the district court abused its discretion and should be reversed.

Messner, 669 F.2d at 811; Arwa Chiropractic, P.C. v. Med‐Care Diabetic & Med. Supplies,

Inc., 961 F.3d 942, 949‐50 (7th Cir. 2020) (court abuses discretion “when it fails to

consider a motion under the proper legal standard”); In re Hydrogen Peroxide Antitrust

Litig., 552 F.3d 305, 312 (3d Cir. 2008), as amended (Jan. 16, 2009) (class certification

order abuses discretion where it “rests upon a clearly erroneous finding of fact, an

errant conclusion of law, or an improper application of law to fact”).

       Further, the district court’s determination that class counsel were inadequate was

also an abuse of discretion.

       A.     The District Court Misinterpreted NCAA v. Alston

       In its class certification order, the district court’s primary reason for applying the

rule of reason—and hence denying class certification—was its misinterpretation of

NCAA v. Alston. SA‐36‐48; see also SA‐62‐63.

       But far from changing the relevant legal standards, Alston reaffirmed them,

specifically with respect to assessing procompetitive justifications for a suspect restraint


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like the No‐Hire Agreement. Alston explained that its analysis is “fully consistent” with

its decision nearly forty years prior in Board of Regents, 468 U.S. 85. 141 S. Ct. at 2157.

Alston rejected the defendant’s attempt to use the quick‐look test as a means to immunize

a suspect restraint despite evidence of its anticompetitive impact, explaining that,

“[w]hile Board of Regents did not condemn the NCAA’s broadcasting restraints as per se

unlawful, it invoked abbreviated antitrust review as a path to condemnation, not

salvation.” Id. This does not mean that the per se rule and the quick‐look test are no

longer viable means of condemning obviously anticompetitive restraints; quite the

opposite.

       Alston further explained that McDonald’s should not get the benefit of even a

quick‐look test (rather than the per se rule), even if some unrelated restraints on

competition are necessary for its franchise system. The relevant question is whether the

challenged restraint is “necessary” to that system. 141 S. Ct. at 2157. On this point, the

Supreme Court could not have been clearer, in quoting language from a Seventh Circuit

opinion: “Just as the ability of McDonald’s franchises to coordinate the release of a new

hamburger does not imply their ability to agree on wages for counter workers, so the

ability of sports teams to agree on a TV contract need not imply an ability to set wages

for players.” Id. (quoting Chi. Pro. Sports, 95 F.3d at 600.)

       Thus, instead of applying Alston, the district court violated it. The district court

did precisely what both the Supreme Court and this Court told it not to: it allowed



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McDonald’s to use its legitimate coordination with its franchisees in the product market

to justify an illegitimate market allocation agreement in the labor market.

       The court gave two other reasons for applying the rule of reason. First,

McDonald’s asserted procompetitive justifications, is addressed in § III., supra. The

other was that some geographies contain only franchisee‐owned locations, and the

court found that in such areas the No‐Hire Agreement was purely vertical. This is

incorrect. McDonald’s and its franchisees agreed to eliminate actual and potential

competition among them nationwide. The character of this restraint does not vary

depending upon each location’s mix of actual and potential horizontal competition

among McDonald’s and its franchisees. Market allocations are per se unlawful

“regardless of whether the parties split a market within which both do business or

[not].” Palmer v. BRG of Ga., Inc., 498 U.S. 46, 49‐50 (1990).

       B.     Legal Standards for Class Certification

       “To be certified, a proposed class must satisfy the requirements of Federal Rule

of Civil Procedure 23(a), as well as one of the three alternatives in Rule 23(b)(3).”

Messner, 669 F.3d at 811. Under Rule 23(a), certification is appropriate if: “(1) the class is

so numerous that joinder of all members is impracticable; (2) there are questions of law

or fact common to the class; (3) the claims or defenses of the representative parties are

typical of the claims or defenses of the class; and (4) the representative parties will fairly

and adequately protect the interests of the class.” Fed. R. Civ. P. 23(a). Rule 23(b)(3)



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requires that “questions of law or fact common to Class members predominate over any

questions affecting only individual members, and that a class action [be] superior to

other available methods for fairly and efficiently adjudicating the controversy.” Fed. R.

Civ. P. 23(b)(3).

       C.     Plaintiffs Satisfy the Requirements of Rule 23(a)

       While not expressly so holding, the district court suggested that Plaintiffs failed

to meet two 23(a) factors: commonality and adequacy of class counsel. SA‐50‐52, n.6.3

       The question whether an antitrust conspiracy existed is a common question and

also “the prototypical example” of a common question that predominates, “because it is

much more efficient to have a single trial on the alleged conspiracy rather than

thousands of identical trials all alleging identical conspiracies based on identical

evidence.” Kleen Prods. LLC v. Int’l Paper, 306 F.R.D. 585, 594 (N.D. Ill. 2015), affirmed sub

nom. 831 F.3d 919 (7th Cir. 2016) (citing 7AA Charles Alan Wright & Arthur R. Miller,

Federal Practice & Procedure § 1781 (3d Ed. 2014) (“[W]hether a conspiracy exists is a

common question that is thought to predominate over the other issues in the case and

has the effect of satisfying the prerequisites in Rule 23(b)(3).”)). See also In re Urethane

Antitrust Litig., 768 F.3d 1245, 1255 (10th Cir. 2014) (“[C]ourts have regarded the

existence of a conspiracy as the overriding issue . . . .”); In re Scrap Metal Antitrust Litig.,




3Since the 2003 amendments to the federal rules, adequacy of counsel has typically been
addressed under Rule 23(g). See Committee Notes on Rules – 2003 Amendments.


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527 F.3d 517, 535 (6th Cir. 2008) (“proof of the conspiracy is a common question that is

thought to predominate” in cases alleging antitrust violations); Rohlfing v. Manor Care,

Inc., 172 F.R.D. 330, 336–37 (N.D. Ill. 1997) (collecting cases).

       With respect to adequacy, the district court raised no issue with respect to the

named Plaintiffs, but suggested that proposed Class counsel were inadequate to

represent any certified class. According to the district court’s explanation, when it

initially held that Plaintiffs had adequately alleged a violation under the quick‐look test

(SA‐1), Plaintiffs nonetheless should have anticipated that the district court would

reverse itself (erroneously) three years later by misinterpreting a just‐issued Supreme

Court precedent, and preemptively amend their complaint to “add a claim under the

rule of reason,” that was limited to a “small, local class.” SA‐52. The district court then

speculated that the only reason why Plaintiffs’ counsel did not do so was because they

sought to sacrifice the interests of their clients in order to “take a shot at a nationwide‐

class jackpot.” Id.

       These speculative accusations are meritless. First, Plaintiffs never “waived” a

“claim under the rule of reason,” for the reasons explained above. See § II.E.

       Second, Plaintiffs and their counsel concluded throughout this litigation that the

strongest liability, impact, and damages theories were those that matched the scope of

the challenged nationwide restraint. See Comcast Corp. v. Behrend, 569 U.S. 27, 35 (2013)

(“Calculations need not be exact, but at the class‐certification stage (as at trial), any



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model supporting a plaintiff’s damages case must be consistent with its liability case,

particularly with respect to the alleged anticompetitive effect of the violation.”) (citation

and quotation omitted). This was true both for the Class as a whole, and for every

individual member of the Class. “In many cases, a representative sample is the only

practicable means to collect and present relevant data establishing a defendant’s

liability.” Tyson Foods, Inc. v. Bouaphakeo, 577 U.S. 442, 455 (2016). That is certainly the

case here. The fact that Plaintiffs can (indeed, must) rely upon classwide proof to

establish their individual claims, is further reason to certify the Class. Id.

       Third, there is no evidence to suggest that the district court’s speculative

alternative of Class members filing separate cases asserting a rule of reason theory with

respect to each specific location is practical, or that any member of the proposed Class

desires it. SA‐53. To the contrary, since denying class certification, no Class member has

filed a case, class or individual, to pursue the district court’s suggested legal theories, or

any other. Thus, the “realistic alternative” to a nationwide class is not thousands of

individual or class suits limited to specific locations, but “zero” suits. Carnegie v.

Household Int’l, Inc., 376 F.3d 656, 661 (7th Cir. 2004) (“But a class action has to be

unwieldy indeed before it can be pronounced an inferior alternative—no matter how

massive the fraud or other wrongdoing that will go unpunished if class treatment is

denied—to no litigation at all.”)




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      Fourth, the district court’s accusation is inconsistent with the district court’s own

findings. In later granting McDonald’s judgment on the pleadings, the district court

found that amending the complaint to allege a legal theory under the rule of reason

would have been “futile,” because Plaintiffs could not have been injured due to the

presence of competing quick‐service restaurants in the same locations as the

McDonald’s restaurants where Plaintiffs worked. SA‐66. That is, the district court

impugned the integrity of Plaintiffs’ counsel because they, in its view, did not pursue a

futile legal theory. (As explained above, these factual conclusions were improper on a

motion for judgment on the pleadings, and also incorrect, as they ignored the

substantial evidence—including direct evidence—that the presence of other quick‐

service restaurants did not eliminate the anticompetitive effects of the No‐Hire

Agreement.)

      D.      Common Issues Predominate With Respect to Each Element of
              Plaintiffs’ Sherman Act Claim, and to McDonald’s Affirmative Defense

      The “predominance inquiry tests whether proposed classes are sufficiently

cohesive to warrant adjudication by representation.” Amchem Prods., Inc. v. Windsor, 521

U.S. 591, 623 (1997). Common questions predominate when “the same evidence will

suffice for each member to make a prima facie showing [or] the issue is susceptible to

generalized, class‐wide proof.” Tyson Foods, 577 U.S. at 453. Here, Appellants can prove

every element of their prima facie case under any mode of antitrust analysis with

common evidence. Those elements are: (1) a violation of the antitrust law, (2) injury


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resulting from that violation (also called “impact”), and (3) damages. Messner, 669 F.3d

at 815.

                1.     McDonald’s Liability Is A Common Question That Will Be
                       Answered With Common Evidence

          As to the first element, common evidence like the memoranda, e‐mails, and call

records cited in Fact Section I.B. above will prove the existence of the No‐Hire

Agreement. “[V]irtually all class members would be relying on the same evidence that

Plaintiffs have submitted in support of class certification—namely the documents,

emails, phone records, and other indirect evidence necessary to prove that Defendants

conspired in violation of antitrust laws. This type of alleged conspiracy is the

prototypical example of an issue where common questions predominate.” Kleen Prods.,

306 F.R.D. at 594; see also In re Vitamins Antitrust Litig., 209 F.R.D. 251, 264 (D.D.C. 2002)

(Allegations of price fixing “will focus on the actions of the defendants, and, as such,

proof for these issues will not vary among class members.”).

          Under the per se rule, the analysis of this element ends once plaintiffs prove the

existence of the agreement and that McDonald’s joined it, see Blackburn, 53 F.3d 825, and

accordingly predominance is met. Under the quick look test, McDonald’s has an

opportunity to prove that the restraint was reasonably necessary to legitimate

competitive benefits. Agnew, 683 F.3d at 336. Again, predominance is satisfied because

McDonald’s purported justifications and Appellants’ rebuttals thereto are all based on

common evidence: witness testimony, contemporaneous business records, and expert


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opinion. The same is true under the rule of reason, where common questions would

include common proof of anticompetitive effects.

       The No‐Hire Agreement is either a reasonable restraint of trade or it is not. This

is a common question that will be addressed by common evidence, and it will have a

common answer for McDonald’s and for all members of the Class.

              2.     Plaintiffs’ Proof of Impact And Damages Are Classwide

       The “antitrust impact” element of an antitrust claim requires proof of causation

that Class members were injured (as distinct from the third element, damages, which

quantifies how much they were injured). Kleen Prods., 306 F.R.D. at 594. “[P]laintiff’s

‘burden at the class certification stage [is] not to prove the element of antitrust impact,

but only to demonstrate that the element of antitrust impact is capable of proof at trial

through evidence that is common to the class rather than individual to its members.’”

Messner, 669 F.3d at 818 (citation omitted). Plaintiffs need not prove that all Class

members suffered impact from the alleged violation. Kleen Prods., 831 F.3d at 927 (citing

Suchanek v. Sturm Foods, Inc., 764 F.3d 750, 750 (7th Cir. 2014)). It is sufficient to show

common evidence that “the plaintiff class as a whole has been injured by the

defendants’ conspiracy.” Rohlfing, 172 F.R.D. at 337.

       To establish predominance with respect to damages, “a plaintiff must produce a

reliable method of measuring classwide damages based on common proof.” Kleen

Prods., 306 F.R.D. at 601. Plaintiffs are “are permitted to use estimates and analysis to



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calculate a reasonable approximation of their damages.” Kleen Prods., 831 F.3d at 929

(citing Loeb Indus., Inc. v. Sumitomo Corp., 306 F.3d 469 (7th Cir. 2002)).

       Appellants’ common proof of impact rests in part on expert analysis. First, Dr.

Singer found that common evidence and standard statistical methods show that the No‐

Hire Agreement generated substantial anticompetitive effects through wage

suppression, and impacted all or nearly all Class members. Dr. Singer’s opinion is

supported by: (1) an overview of economic research demonstrating that employers

exercise significant monopsony power over their employees, and that no‐poach

agreements exacerbate that monopsony power; (2) a multivariate regression

establishing that the No‐Hire Agreement lowered the wages Class members received;

and (3) two alternative methods of demonstrating common impact to the Class, one

based on predictive modeling and the other based on the existence of a compensation

structure.

       Dr. Singer also estimated Class damages, applying standard econometric

methods. Using the wage effect shown in his regression model and the compensation

paid to Class members while the No‐Hire Agreement was in effect, Dr. Singer calculates

that Class members lost approximately $910 per Class member per year. ECF 270‐5,

¶¶ 83‐85. Other courts have held that similar methods for calculating damages in no‐

poach cases satisfy predominance. See Seaman v. Duke University, No. 1:15‐CV‐462, 2018

WL 671239, at *6, *8‐9 (M.D.N.C. Feb. 1, 2018) (regression analysis to determine



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classwide damages satisfied predominance); In re High‐Tech Emp. Antitrust Litig., 985 F.

Supp. 2d 1167, 1223‐26 (N.D. Cal. 2013) (same); Johnson v. Ariz. Hosp. & Healthcare Ass’n,

No. 07‐1292, 2009 WL 5031334, at *10 (D. Ariz. July 14, 2009) (same); Nitsch v.

DreamWorks Animation SKG Inc., 315 F.R.D. 270, 308 (N.D. Cal. 2016) (same). See also

ECF 268 at 22‐29; ECF 344 at 8‐12; ECF 270‐5; ECF 330‐1.

       Second, Dr. Cappelli also investigated whether the No‐Hire Agreement would

have suppressed the compensation of all or nearly all members of the Class. Dr.

Cappelli reviewed only common evidence: McDonald’s corporate witness testimony,

contemporaneous business records, and publicly‐available research. He showed how

McDonald’s training requirements resulted in employees with some general skills that

are of some modest value to any employer, but a high quantity of specific skills that are

only valuable to other McDonald’s employers. ECF 270‐6, ¶¶ 44‐62. Dr. Cappelli

concludes that the existence of this brand‐specific training, of value principally to

McDonald’s restaurants and not transferable or valuable to other restaurant chains or

employers, means that the No‐Hire Agreement would impact Class Members’ wages,

notwithstanding that they may seek employment with companies outside the

McDonald’s system. Id., ¶¶ 60‐62. Dr. Cappelli also reviewed the record evidence of the

No‐Hire Agreement and confirms it restrained competition for restaurant employees.

Id., ¶¶ 64‐78. Finally, Dr. Cappelli opined that, because all McDonald’s restaurants

share a common pay structure, the No‐Hire Agreement would have caused Class‐wide



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suppression of wages. Id., ¶¶ 135‐138. See also ECF 268 at 27‐28; ECF 344 at 3‐4; ECF 270‐

6; ECF 330‐2.

       Dr. Singer’s and Dr. Cappelli’s methods have been successfully employed and

accepted as common proof of impact by courts in no‐poach antitrust actions. In High‐

Tech Employees, for example, the plaintiffs alleged that the defendants agreed not to

recruit each other’s employees with “cold calls,” thereby suppressing wages not just for

employees who would have received cold calls in the but‐for‐world, but also for all or

nearly all of approximately 64,000 technical employees across seven companies

nationwide. 985 F. Supp. 2d at 1193. The court found that the plaintiffs’ documentary

and expert evidence satisfied predominance because that evidence demonstrated that

cold calls put “upward pressure” on the salaries not of just individual employees, but of

all employees “who were part of the same salary structure.” Id. at 1192.

       Similarly, in Seaman, 2018 WL 671239, at *4‐6, *8, the court held that antitrust

impact could be proved with common evidence. That evidence included general

economic theory that competition would have spurred preemptive salary increases; that

pay structures would have transmitted this effect to all class members, not just those

who were recruited or received offers; and that a sharing regression analysis showing

that the compensation of Class members moved together, suggested a compensation

structure. See also Merenda v. VHS of Mich., Inc., 296 F.R.D. 528, 544 (E.D. Mich. 2013)

(expert analysis demonstrated predominance in wage suppression case where class



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members were part of compensation systems, adjustments to which “affected the

compensation of all or almost all individual Class members”); Johnson, 2009 WL

5031334, at *8, *11 (same); Nitsch, 315 F.R.D. at 300 (same).

       Using evidence and methods that are common to the Class, Plaintiffs thus

demonstrate that all or nearly all Class members were impacted by the No‐Hire

Agreement, and estimated Class damages.

              3.      Class Certification Should Not Be Denied Out of Concern for
                      Uninjured Class Members

       The district court found in a footnote that the No‐Hire Agreement could not have

injured “new hires or [] employees within the first few weeks of work.” SA‐53 n.8. In

doing so, the district court ignored Plaintiffs’ evidence showing that all or nearly all

members of the Class who were subject to the No‐Hire Agreement were paid less

because of it, including recent hires. See Fact § I.C., supra.

       At most, this concern would lead to certifying a smaller class, not denial of class

certification altogether. “Defining a class so as to avoid, on one hand, being over‐

inclusive and, on the other hand, the fail‐safe problem is more of an art than a science.

Either problem can and often should be solved by refining the class definition rather

than by flatly denying class certification on that basis.” Messner, 669 F.3d at 825. Here,

for instance, a conservative Class could be limited to only those workers most likely to

have been harmed by the No‐Hire Agreement: managers. Plaintiffs separately




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established impact and damages with respect to managers. See, e.g., ECF 270‐5, Table 4

at p. 50, Table 6 at p. 61, Table 7 at p. 70.

V.     THE COURT SHOULD REASSIGN THIS CASE ON REMAND

       Circuit Rule 36 specifies that cases remanded from this Court for a new trial

“shall be reassigned” to a new district judge and, even if a trial has not previously been

held, the Court “may nevertheless direct” reassignment on remand. In the latter

situation, the Court invokes this rule in its discretion “to avoid the operation of bias or

mindset which seems likely to have developed from consideration and decision of

motions to dismiss or motions for summary judgment and the like.” Cange v. Stotler &

Co., 913 F.2d 1204, 1208 (7th Cir. 1990).

       The Court has frequently invoked Rule 36 in cases where no trial had taken place

below. See, e.g., Ryan v. Chemlawn Corp., 935 F2d 129, 132‐33 (7th Cir. 1991) (reassigning

after reversal of ruling on motion to dismiss); Cook v. Winfrey, 141 F.3d 322, 332 (7th Cir.

1998) (same, where ruling “improperly resolved factual issues beyond the scope of the

pleadings”); Advent Elecs., Inc. v. Buckman, 112 F.3d 267, 275 (7th Cir. 1997) (reassigning

after vacating preliminary injunction); Kristofek v. Village of Orland Hills, 832 F.3d 785,

800 (7th Cir. 2016) (reassigning after reversal of summary judgment); Holmes v. Village of

Hoffman Estates, 511 F.3d 673, 688 (7th Cir. 2007) (same, where district court “improperly

resolved a number of factual disputes” at summary judgment).




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       Reassignment is appropriate here, in light of the volume and character of the

district court’s errors. In addition, the district court exhibited an unusual hostility to

Plaintiffs’ claim and to Plaintiffs’ counsel.

       First, at the case management conference following its denial of class

certification, the district court made clear it had no intention of further considering its

recent about‐face on the applicable antitrust liability standard. Any “motion to

reconsider” would be “denied outright”, and any “motion to amend the claim to add a

claim under the rule of reason” would be “denied outright or stricken.” ECF 387, Tr. at

5‐6.

       Second, before the district court ruled on McDonald’s motion for judgment on

the pleadings, the United States sought leave to file a statement of interest, “setting

forth the government’s position on the antitrust issues in this case, including the

implications of the Supreme Court’s decision in NCAA v. Alston, 141 S. Ct. 2141 (2021).”

ECF 446 at 2. The district court refused to hear from the United States, for reasons only

expressed orally during the hearing on the United States’ motion for leave. ECF 451. At

that hearing, the district court did not permit argument, and explained it would not

allow the United States to offer its views on the pending dispositive motions, “based

upon principles of separation of power,” and because “the case does not touch on

political issues or any foreign policy.” ECF 452, Tr. at 4.




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       Third, the district court accused the undersigned of violating their ethical duties

to their clients and to the class they sought to represent. SA‐52. As explained above, the

accusation is without merit. Further, the manner in which the accusation was made

provides additional reason to call the district court’s impartiality into question. The

district court not only levied a meritless and serious accusation, but did so without ever

providing Plaintiffs’ counsel an opportunity to respond.

       These facts counsel in favor of reassigning this action upon remand. See, e.g.,

United States v. Vlahos, 33 F.3d 758, 761‐62 (7th Cir. 1994) (reassigning upon remand,

after finding “[n]othing in the record” to support the district court’s accusations that the

U.S. Attorney’s office was “ill‐prepared” and lacking “the knowledge” needed to go

forward with the case); Dey v. Colt Constr. & Dev. Co., 28 F.3d 1446, 1462‐63 (7th Cir.

1994) (reassigning after reversal of summary judgment where plaintiff argued that

district judge had “already determined” that she was entitled to no relief); Rorrer v. City

of Stow, 743 F.3d 1025, 1049 (6th Cir. 2014) (holding that the district court’s antagonistic

statements “indicate[d] that allowing the same district judge to preside . . . would

compromise ‘the appearance of justice”).

                                      CONCLUSION

       For the aforementioned reasons, this Court should: reverse the district court’s

grant of judgment on the pleadings; reverse the district court’s denial of Plaintiffs’




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partial summary judgment regarding McDonald’s affirmative defense; reverse the

district court’s denial of class certification; and reassign the case upon remand.

                                          Respectfully submitted,

 Dated November 2, 2022                    /s/ Dean M. Harvey

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                          CERTIFICATE OF COMPLIANCE

      This document complies with the type‐volume limitations of Fed. R. App. P.

32(a)(7)(B) and Circuit Rule 32, because this document contains 13,778 words, excluding

the parts of the document exempted by Fed. R. App. P. 32(f).

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      Dated: November 2, 2022



                                                  /s/Dean M. Harvey
                                                  Dean M. Harvey
                                                  One of the Attorneys for Appellants




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                         CIRCUIT RULE 30(d) STATEMENT

      Pursuant to Circuit Rule 30(d), counsel certifies that all materials required by

Circuit Rule 30(a) and (b) are included in the Appendix.




                                                 /s/Dean M. Harvey
                                                 Dean M. Harvey




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                             CERTIFICATE OF SERVICE

      I hereby certify that on November 2, 2022, the Brief and Appendix of Appellants

was filed with the Clerk of the Court for the United States Court of Appeals for the

Seventh Circuit by using the appellate CM/ECF system. I certify that all participants in

the case are registered CM/ECF users and that service will be accomplished by the

appellate CM/ECF system.




                                                 /s/Dean M. Harvey
                                                 Dean M. Harvey




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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

LEINANI DESLANDES,                               )
                                                 )
               Plaintiff,                        )
                                                 )          No. 17 C 4857
                                                 )
       v.                                        )
                                                 )          Judge Jorge L. Alonso
McDONALD’S USA, LLC,                             )
McDONALD’S CORPORATION, and                      )
DOES 1 through 10,                               )
                                                 )
               Defendants.                       )

                            MEMORANDUM OPINION AND ORDER

       After a no-hire agreement prevented plaintiff from obtaining a position with a rival

employer, plaintiff Leinani Deslandes (“Deslandes”) filed suit asserting, among other things, that

defendants’ no-hire agreement violates the Sherman Antitrust Act, 15 U.S.C. § 1. Defendants

McDonald’s USA, LLC and McDonald’s Corporation move to dismiss. For the reasons set forth

below, the Court grants in part and denies in part defendants’ motion to dismiss [34].

I.     BACKGROUND

       Plaintiff’s story is one of employment success: she started as an entry-level crew

member paid $7.00 per hour at a McDonald’s franchise and worked her way up into

management. When she applied for a better-paying position with a competing McDonald’s

restaurant, she was foiled by a no-hire agreement which forbid the competing McDonald’s

restaurant to hire both current employees of other McDonald’s restaurants and anyone who had

worked for a competing McDonald’s restaurant in the last six months. Given that most

individuals in the low-skill employment market do not have the luxury of being unemployed by

choice for six months, the no-hire provision effectively prevented competing McDonald’s




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franchises (as well as the company-owned stores) from competing for experienced, low-skill

employees. The following facts are from plaintiff’s complaint and are taken as true.

       Defendant McDonald’s USA, LLC is a wholly-owned subsidiary of defendant

McDonald’s Corporation. Plaintiff generally refers to them collectively as “McDonald’s.” The

ubiquitous purveyor of hamburgers serves 68,000,000 customers per day from some 36,000

outlets around the world. According to plaintiff’s complaint, nearly two million people work for

McDonald’s or its franchisees.

       Many McDonald’s-brand restaurants are owned and operated by McDonald’s Operating

Companies (“McOpCos”), which are direct or indirect subsidiaries of McDonald’s Corporation.

McDonald’s also franchises McDonald’s-brand restaurants. Thus, many McDonald’s-brand

restaurants are independently owned and operated by franchisees. McDonald’s receives revenue

from the franchisees in the form of rent, royalties and fees.

       McDonald’s restaurants compete with one another. Franchisees are not granted exclusive

rights or territories and are specifically warned that they may face competition from other

franchisees, new franchisees and restaurants owned by McOpCos. Thus, restaurants owned by

McOpCos compete directly with McDonald’s franchisees (who, in turn, compete with each

other) to sell hamburgers and fries to customers.

       When franchising restaurants, McDonald’s enters a standard franchise agreement with its

franchisees. 1 Because the agreement is standard, franchisees know the basic contents of each

other’s agreements. Generally, each franchise agreement lasts for twenty years. In addition to a

franchise fee, franchisees agree to pay McDonald’s a percentage of gross revenue. McDonald’s



1
  Plaintiff alleges that McDonald’s Corporation is the franchisor for franchise agreements signed
before 2005 and that McDonald’s USA, LLC is the franchisor for franchise agreements signed
from 2005 to the present.
                                                  2




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has an incentive to promote revenue growth in its franchisees’ restaurants and encourages

competition between franchisees for food sales.

       Under the standard franchise agreement, each franchisee is an independent business

responsible for the operation of its particular McDonald’s-brand restaurant. Under the

agreement, franchisees are required to purchase supplies from approved suppliers. They can,

however, seek approval of new suppliers, and they negotiate directly with the suppliers as to

purchasing terms, such as price.

       Franchisees, as independent business owners, are also responsible for the day-to-day

operations of their respective restaurants and for, among other things, employment matters.

Franchisees make their own decisions with respect to hiring, firing, wages and promotions. The

standard franchise agreement specifically states that franchisees are not agents of McDonald’s

and that McDonald’s is not a joint employer with respect to the franchisees’ employees.

       Although franchisees make most of their employment decisions independently, their

hiring decisions are restricted in one respect by the standard franchise agreement. The standard

agreement that was used until some point in 2017 contained a no-hire provision. Specifically,

the relevant provision stated:

       Interference With Employment Relations of Others. During the term of this
       Franchise, Franchisee shall not employ or seek to employ any person who is at the
       time employed by McDonald’s, any of its subsidiaries, or by any person who is at
       the time operating a McDonald’s restaurant or otherwise induce, directly or
       indirectly, such person to leave such employment. This paragraph [] shall not be
       violated if such person has left the employ of any of the foregoing parties for a
       period in excess of six (6) months.

(Am. Complt. ¶ 87). Although McDonald’s stopped including the no-hire provision in new

franchise agreements at some point in 2017, the provision remains in the franchise agreements




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applicable to some 13,000 currently-operating McDonald’s-brand restaurants. McDonald’s has

applied the same restraint to hiring by the McOpCos.

       Franchisees ignore the no-hire provision at their peril. A breach of the no-hire provision

gives McDonald’s the right not to consent to a transfer of the franchise. With repeated breaches,

McDonald’s has the right to terminate the franchise. Plaintiff alleges that the provision

promoted collusion among franchisees, because each knew the other had signed an agreement

with the same provision. Plaintiff alleges that the no-hire provision is against each franchisee’s

individual interest, because it denies each franchisee opportunities to hire the best employees.

Plaintiff also alleges that, so long as the other franchisees also refrain from poaching employees,

the no-hire provision helps franchisees keep costs low by allowing them to pay below-market

wages to their own employees.

       Although franchisees are generally responsible for their own employment decisions (so

far as they do not violate the no-hire agreement, anyway), many McDonald’s-brand restaurants

are staffed in similar ways. Many stores have managers with varying titles, such as swing

manager, assistant manager and store manager. Assistant and store managers are responsible for

such tasks as payroll processing, time-sheet updating, tracking supplies and orders and training

entry-level employees. McDonald’s requires franchisees to enroll present and future managers

in training programs at McDonald’s training centers. The cost of the training is borne by the

franchisees.

       A McDonald’s franchise in Florida (“Bam-B”) first hired plaintiff in 2009. Plaintiff

started as an entry-level employee earning $7.00 per hour, and, within three months, plaintiff had

earned a promotion to shift manager, with a wage bump to $10.00 per hour. By 2011, plaintiff

was a Department Manager for Guest Services, earning $12.00 per hour. At that point, plaintiff



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began coursework to become eligible for a position as General Manager. Plaintiff’s employer

enrolled her in a week-long training course at McDonald’s Hamburger University. The training

was scheduled to take place in April 2015, but plaintiff’s supervisors canceled her training when

they learned plaintiff was pregnant. 2

       Fed up, plaintiff decided to put her skills to work elsewhere. Plaintiff found an opening

for a position similar to hers at a nearby McDonald’s restaurant. The restaurant was owned and

operated by a McOpCo, which was a subsidiary of defendant McDonald’s USA, LLC and which

was subject to the no-hire provision. The positon at the McOpCo restaurant offered a wage of

$13.75 per hour to start, with an expected bump to $14.75 after a 90-day probationary period.

Plaintiff applied online and received a call from the store manager, who told plaintiff she would

like to hire her. Plaintiff told the store manager that she worked for Bam-B. The next day,

plaintiff received a call from a McDonald’s corporate employee who told plaintiff the restaurant

could neither interview nor hire her unless she was “released” by Bam-B to work for the

McOpCo restaurant.

       When plaintiff arrived at work the next day, she asked Bam-B to release her to work for

the McOpCo restaurant. Bam-B said no, because plaintiff was “too valuable.” Plaintiff

continued to work for Bam-B for several months, but, ultimately, she took an entry-level job

with Hobby Lobby for less money, $10.25 per hour. Plaintiff alleges that some of the skills she

developed as a manager of a McDonald’s outlet were not transferable to management positions

at employers outside of the McDonald’s brand, so she had to start over at the bottom elsewhere.

       Based on these allegations, plaintiff asserts that defendants violated § 1 of the Sherman

Antitrust Act. Plaintiff alleges that defendants and their franchisees engaged in concerted

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 Bam-B, plaintiff’s former employer, is not a defendant in this action, and plaintiff has not
asserted a claim for discrimination.
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activity to restrict competition among them for employees, thereby lowering their employment

costs and limiting the employees’ ability to earn higher wages. Plaintiff also asserts that the

alleged conduct violates the Illinois Antitrust Act and the Illinois Consumer Fraud and Deceptive

Trade Practices Act. Defendants move to dismiss.

II.     STANDARD ON A MOTION TO DISMISS

        The Court may dismiss a claim pursuant to Rule 12(b)(6) of the Federal Rules of Civil

Procedure if the plaintiff fails “to state a claim upon which relief can be granted.” Fed.R.Civ.P.

12(b)(6). Under the notice-pleading requirements of the Federal Rules of Civil Procedure, a

complaint must “give the defendant fair notice of what the . . . claim is and the grounds upon

which it rests.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007) (quoting Conley v.

Gibson, 355 U.S. 41, 47 (1957)). A complaint need not provide detailed factual allegations, but

mere conclusions and a “formulaic recitation of the elements of a cause of action” will not

suffice. Twombly, 550 U.S. at 555. To survive a motion to dismiss, a claim must be plausible.

Ashcroft v. Iqbal, 556 U.S. 662 (2009). Allegations that are as consistent with lawful conduct as

they are with unlawful conduct are not sufficient; rather, plaintiffs must include allegations that

“nudg[e] their claims across the line from conceivable to plausible.” Twombly, 550 U.S. at 570.

        In considering a motion to dismiss, the Court accepts as true the factual allegations in the

complaint and draws permissible inferences in favor of the plaintiff. Boucher v. Finance Syst. of

Green Bay, Inc., 880 F.3d 362, 365 (7th Cir. 2018). Conclusory allegations “are not entitled to

be assumed true,” nor are legal conclusions. Ashcroft v. Iqbal, 556 U.S. 662, 680 & 681 (2009)

(noting that a “legal conclusion” was “not entitled to the assumption of truth[;]” and rejecting, as

conclusory, allegations that “‘petitioners ‘knew of, condoned, and willfully and maliciously

agreed to subject [him]’ to harsh conditions of confinement”). The notice-pleading rule “does



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not unlock the doors of discovery for a plaintiff armed with nothing more than conclusions.”

Iqbal, 556 U.S. at 678-679.

III.     DISCUSSION

         A.     Plaintiff’s Sherman Act claim

         Plaintiff seeks relief under § 4 of the Clayton Act, 15 U.S.C. § 15, which provides a

private right of action for treble damages to any person “injured in his business or property by

reason of anything forbidden in the antitrust laws[.]” 15 U.S.C. § 15.

         The antitrust laws protect market competition, which usually, though not always, means

the goal is enhancing output and reducing price. See Arizona v. Maricopa Cty. Med. Soc., 457

U.S. 332, 348 (1982) (“The per se rule ‘is grounded on faith in price competition as a market

force’”) (citations omitted); Leegin Creative Leather Products v. PSKS, Inc., 551 U.S. 877, 895

(2007) (“the antitrust laws are designed primarily to protect interbrand competition, from which

lower prices can later result”). Accordingly, a plaintiff must allege antitrust injury, an injury

attributable to “an anti-competitive aspect of the practice under scrutiny[.]” Atlantic Richfield

Co. v. USA Petroleum Co., 495 U.S. 328, 334 (1990). This case involves a restraint affecting

competition in the supply of an input (labor) for a final product. Usually a cheaper input means a

cheaper final price—something the antitrust laws traditionally prefer. Nonetheless, defendants

do not dispute (nor could they) that plaintiff has alleged antitrust injury in this case, just like

other suppliers do when they allege a restraint in a supply market. Eichorn v. AT&T Corp., 248

F.3d 131, 142 (3d Cir. 2001) (employees challenging no-hire agreement had antitrust standing to

sue); Roman v. Cessna Aircraft Co., 55 F.3d 542, 545 (10th Cir. 1995) (employee had antitrust

standing to challenge agreement between employers not to hire each other’s employees); Phillip

E. Areeda & Herbert Hovencamp, Antitrust Law: An Analysis of Antitrust Principles and Their



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Application, ¶352a (3rd and 4th Editions, 2018 Cum. Supp. 2010-2017) (“Employees may

challenge antitrust violations that are premised on restraining the employment market . . .

Standing for employees thus parallels that for ‘suppliers’ generally[.]”); Doe v. Arizona Hosp.

and Healthcare Ass’n, Case No. CV 07-1292, 2009 WL 1423378 at *3 (D. Ariz. March 19,

2009) (“Price-fixing agreements among buyers, like those among sellers, are prohibited by the

Sherman Act, even where the damages caused by the agreement is to sellers and not

consumers.”); cf. Mandeville Island Farms v. American Chrystal Sugar Co., 334 U.S. 219 (1948)

(sugar beet suppliers had antitrust claim for price-fixing against sugar beet refiners).

       Section 1 of the Sherman Antitrust Act prohibits “[e]very contract, combination in the

form of trust or otherwise, or conspiracy, in restraint of trade or commerce . . . ” 15 U.S.C. § 1.

This language has long been interpreted to “outlaw only unreasonable restraints” of trade. State

Oil Co. v. Khan, 522 U.S. 3, 10 (1997). Some restraints are deemed so anti-competitive (and,

thus, unreasonable) that they are illegal per se, while other restraints, which may have

procompetitive effects, are judged under the rule of reason (or its subset: the quick look).

       As the Supreme Court has explained, restraints that are “unlawful per se” are those that

“have such predictable and pernicious anticompetitive effect, and such limited potential for

procompetitive benefit” that it is obvious they are unreasonable restraints of trade. Khan, 522

U.S. at 10. The per se rule applies to restraints “‘that would always or almost always tend to

restrict competition and decrease output.’” Leegin, 551 U.S. at 886. Accordingly, the per se rule

is reserved for restraints with respect to which “courts have had considerable experience” such

that they “can predict with confidence that [the restraint] would be invalidated in all or almost all

instances under the rule of reason[.]” Leegin, 551 U.S. at 886-87.




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         Most restraints are not per se unlawful but are instead analyzed under the rule of reason.

Khan, 522 U.S. at 10. Under the rule of reason, “the finder of fact must decide whether the

questioned practice imposes an unreasonable restraint on competition, taking into account a

variety of factors, including specific information about the relevant business, its condition before

and after the restraint was imposed, and the restraint’s history, nature, and effect.” Khan, 522

U.S. at 10. Generally, this requires a plaintiff to show the defendant has “market power—that is

the ability to raise prices significantly without going out of business—without which the

defendant could not cause anticompetitive effects on market pricing.” Agnew v. National

Collegiate Athletic Ass’n, 683 F.3d 328, 335 (7th Cir. 2012). In this case, market power would

be the power to suppress wages.

       Courts sometimes apply a third test of reasonableness, the quick look, which is a short

form of rule of reason analysis. Illinois Corp. Travel, Inc. v. American Airlines, Inc., 806 F.2d

722, 727 (7th Cir. 1986) (“This is the sort of short form or quick look Rule of Reason analysis

endorsed in NCAA v. Board of Regents, 468 U.S. 85, 109-10 & n. 42 (1984)). As the Seventh

Circuit has explained:

       the quick-look approach can be used when ‘an observer with even a rudimentary
       understanding of economics could conclude that the arrangements in question
       would have an anticompetitive effect on customers and markets,’ but there are
       nonetheless reasons to examine the potential procompetitive justifications.

Agnew, 683 F.3d at 336 (internal citation omitted) (quoting Cal. Dental Ass’n v. FTC, 526 U.S.

756, 770 (1999)). Under quick-look analysis, if the defendant lacks legitimate justifications for

facially anticompetitive behavior then the court “condemns the practice without ado” without

resort to analysis of market power. Agnew, 683 F.3d at 336; Chicago Prof. Sports Ltd.

Partnership v. NBA, 961 F.2d 667, 674 (7th Cir. 1992); see also National Collegiate Athletic

Ass’n v. Board of Regents, 468 U.S. 85, 109-10 n. 42 (1984) (“While the ‘reasonableness’ of a

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particular alleged restraint often depends on the market power of the parties involved, because a

judgment about market power is the means by which the effects of the conduct on the market

place can be assessed, market power is only one test of ‘reasonableness.’ And where the

anticompetitive effects of conduct can be ascertained through means short of extensive market

analysis, and where no countervailing competitive virtues are evident, a lengthy analysis of

market power is not necessary.”).

        In this case, plaintiff has styled her Sherman Act claim as a restraint that is either

unlawful per se or is unlawful under quick-look analysis. Defendant disagrees. Defendant

argues that the restraint at issue in this case is most appropriately analyzed under the rule of

reason such that plaintiff must include allegations of market power in the relevant market in

order to state a claim. As defendants point out, plaintiff has not included allegations of market

power in a relevant market. To decide which standard to apply, the Court must first consider the

alleged restraint.

        Here, plaintiff argues that she has alleged the existence of a horizontal agreement in

restraint of trade. Plaintiff alleges that McDonald’s franchisees signed written franchise

agreements pursuant to which each agreed not to hire employees (including former employees

who left within the prior six months) from other McDonald’s restaurants. Specifically, the

franchisees were not allowed to hire anyone who was employed (or had been employed in the

prior six months) by “McDonald’s, any of its subsidiaries, or by any person who is at the time

operating a McDonald’s restaurant[.]” (Am. Complt. ¶ 87). Plaintiff alleges that the McOpCos

were similarly restricted.

        Defendants argue that this is merely a vertical restraint, because it was spearheaded by

the entity at the top of the chain. The Court agrees that the restraint has vertical elements, but the



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agreement is also a horizontal restraint. It restrains competition for employees among horizontal

competitors: the franchisees and the McOpCos. Plaintiff has alleged that McOpCos run

McDonald’s-brand restaurants and, thus, compete directly with franchisees for employees.

Plaintiff has also alleged that the McOpCos are subsidiaries of defendant McDonald’s and that

the restraint explicitly restricts franchisees from hiring employees of McDonald’s subsidiaries,

i.e., the franchisees’ competitors. Thus, McDonald’s, by including the no-hire provision in its

agreement with franchisees, was protecting its own restaurants (i.e., itself) from horizontal

competition for employees. Cf. Copperweld Corp. v. Independence Tube Corp., 467 U.S. 752,

771 (1984) (“the coordinated activity of a parent and its wholly owned subsidiary must be

viewed as that of a single enterprise for purposes of § 1 of the Sherman Act”). The Court finds

that plaintiff has alleged a horizontal restraint of trade.

        Naked horizontal agreements (i.e., those among competitors) to fix prices or to divide

markets are per se unlawful. Leegin, 551 U.S. at 886; Federal Trade Comm’n v. Superior Court

Trial Lawyers Assoc., 493 U.S. 411 (1990) (horizontal agreement among lawyers not to accept

appointments to represent indigent criminal defendants until fees increased was a naked price

restraint and per se unlawful); Blackburn v. Sweeney, 53 F.3d 825, 827 & 828 (7th Cir. 1995)

(“reciprocal agreement [among attorneys] to limit advertising to different geographical regions

was . . . an agreement to allocate markets so that the per se rule of illegality applies”). This

includes naked agreements to set wages. Arizona Hosp., 2009 WL 1423378 at * 3 (plaintiff’s

allegations that hospital association set prices for temporary nurses stated claim for per se

violation of the Sherman Act).

        A horizontal agreement not to hire competitors’ employees is, in essence, a market

division. See United States v. eBay, Inc., 968 F.Supp. 2d 1030, 1039 (N.D. Cal. 2013) (“The



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court thus finds that the United States’ allegations concerning agreement between eBay and

Intuit [not to hire each other’s employees] suffice to state a horizontal market allocation

agreement.”). The Department of Justice, which enforces rather than interprets the law, has

warned employers that it considers naked no-hire agreements to be per se unlawful. (Press

Release, U.S. Dep’t of Justice, Justice Department and Federal Trade Commission Release

Guidance for Human Resource Professionals on How Antitrust Law Applies to Employee Hiring

and Compensation (Oct. 20, 2016), available at https://www.justice.gov/opa/pr/justice-

department-and-federal-trade-commission-release-guidance-human-resource-professionals.).

Thus, because a no-hire agreement is, in essence, an agreement to divide a market, the Court has

no trouble concluding that a naked horizontal no-hire agreement would be a per se violation of

the antitrust laws. Even a person with a rudimentary understanding of economics would

understand that if, say, large law firms in Chicago got together and decided not to hire each

other’s associates, the market price for mid-level associates would stagnate. With no

competition for their talent (aside from lower-paying in-house or government jobs), associates

would have no choice but to accept the salary set by their firms or to move to another city. Thus,

such a claim would be suitable for per se treatment.

       Not all horizontal restraints are per se unlawful, however. Some horizontal restraints are

ancillary to agreements that are procompetitive, usually in the sense of enhancing output (i.e.,

producing either a greater quantity of goods or a new good that would not otherwise exist). Polk

Bros., Inc. v. Forest City Enterprises, Inc., 776 F.2d 185, 188-89 (7th Cir. 1985) (“A court must

distinguish between ‘naked’ restraints, those in which the restriction on competition is

unaccompanied by new production or products, and ‘ancillary’ restraints, those that are part of a

larger endeavor whose success they promote.”). A restraint is ancillary if it “promoted enterprise



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and productivity when it was adopted.” Polk Bros., 776 F.2d at 189. When a restraint is

ancillary, it is judged either under the rule of reason or given a “quick look.” For example, no-

hire agreements that are ancillary to the sale of a business can have procompetitive effects, so

they are judged under the rule of reason. Eichorn v. AT&T Corp., 248 F.3d 131, 144 (3d Cir.

2001).

         Similarly, where the horizontal restraint is necessary in order for the product to exist at

all, a restraint will not be judged per se unlawful but rather will be judged under the rule of

reason, including by “quick look.” Law v. National Collegiate Athletic Assoc., 134 F.3d 1010

(10th Cir. 1998); see also Broadcast Music, Inc. v. Columbia Broadcasting Sys., Inc., 441 U.S. 1

(1979); National Collegiate Athletic Ass’n. v. Board of Regents of the Univ. of Okla., 468 U.S.

85 (1984). In Law, a group of college basketball coaches brought suit challenging the NCAA’s

rule limiting annual salaries for certain assistant basketball coaches to $16,000 per year. Because

some restraints were necessary in order to make college sports available, the court concluded that

the horizontal price restraint should be analyzed under the rule of reason, and, in particular, the

“quick look.” Law, 134 F.3d at 1018 & 1020 (“We find it appropriate to adopt such a quick look

rule of reason in this case.”)

         In this case, plaintiff has alleged a horizontal restraint that is ancillary to franchise

agreements for McDonald’s restaurants. Each time McDonald’s entered a franchise agreement,

it increased output of burgers and fries, which is to say the agreement was output enhancing and

thus procompetitive. (That is not to say that the provision itself was output enhancing. The very

fact that McDonald’s has managed to continue signing franchise agreements even after it stopped

including the provision in 2017 suggests that the no-hire provision was not necessary to

encourage franchisees to sign.) Because the restraint alleged in plaintiff’s complaint is ancillary



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to an agreement with a procompetitive effect, the restraint alleged in plaintiff’s complaint cannot

be deemed unlawful per se. Plaintiff’s claim does not rise and fall on per se treatment, though.

She claims in the alternative that the restraint is unlawful under quick-look analysis.

       The next question, then, is whether plaintiff has plausibly alleged a restraint that might be

found unlawful under quick-look analyis. The Court thinks she has. Even a person with a

rudimentary understanding of economics would understand that if competitors agree not to hire

each other’s employees, wages for employees will stagnate. Plaintiff herself experienced the

stagnation of her wages. A supervisor for a competing McDonald’s restaurant told plaintiff she

would like to hire plaintiff for a position that would be similar to plaintiff’s position but that

would pay $1.75-2.75 more per hour than she was earning. Unfortunately for plaintiff, the no-

hire agreement prevented the McOpCo from offering plaintiff the job. When plaintiff asked her

current employer to release her, plaintiff was told she was too valuable. The Court agrees that an

employee working for a below-market wage would be extremely valuable to her employer.

       Defendants, nonetheless, argue that their restraint has pro-competitive benefits.

Specifically, defendants argue that the no-hire restriction promotes interbrand competition, by

which they mean the competition between McDonald’s and Burger King, rather than the

intrabrand competition between the McDonald’s restaurant at, say, 111 W. Jackson and the

McDonald’s at, say, 233 W. Jackson. It makes sense for McDonald’s franchisees and the

McOpCos to cooperate to promote intrabrand competition for hamburgers, because a customer

who is satisfied with a hamburger she buys today at the McDonald’s at 111 W. Jackson might

tomorrow prefer a hamburger from the McDonald’s at 233 W. Jackson to a hamburger from

Burger King. This case, though, is not about competition for the sale of hamburgers to

consumers. It is about competition for employees, and, in the market for employees, the



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McDonald’s franchisees and McOpCos within a locale are direct, horizontal, competitors. 3 A

way to promote intrabrand competition for employees would be an advertising campaign

extolling the virtues of working for McDonald’s. That is not what defendants are alleged to have

done here. Here, they are alleged to have divided the market for employees by prohibiting

restaurants from hiring each other’s current or former (for the prior six months, anyway)

employees. In the employment market, the various McDonald’s stores are competing brands.

Dividing the market does not promote intrabrand competition for employees, it stifles interbrand

competition.

       Defendants argue that the no-hire restriction promotes intrabrand competition for

hamburgers by encouraging franchisees to train employees for management positions.

Presumably, the theory is that better service equals happier customers. The Court has no doubt,

as defendants argue, that McOpCos and franchisees were concerned about training and then

losing employees. The restraint, though, is not limited to management employees who had

received expensive training at Hamburger University. The restraint applies even to entry-level

employees with no management training. Nor was the restraint limited to a reasonable period of

time (say six months) after the employee had received the expensive training at Hamburger

University. In any case, every employer fears losing the employees it has trained. That fear does

not, however, justify, say, law firms agreeing not to hire each other’s associates. Employers

have plenty of other means to encourage their employees to stay without resorting to unlawful

market division. Those options include paying higher wages/salaries and contracting directly

with each employee to set an employment term.




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  Realistically, only restaurants within the same locale compete for employees. A McDonald’s
restaurant in Chicago does not compete for employees with a McDonald’s restaurant in Florida.
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        Though the Court has concluded that plaintiff has stated a claim for a restraint that might

be unlawful under quick-look analysis, the evidence at a later stage may not support it. As

defendants have pointed out, plaintiff has not attempted to plead a claim under the rule of reason.

This is perhaps unsurprising. To state a claim under the rule of reason, a plaintiff must allege

market power in a relevant market. The relevant market for employees to do the type of work

alleged in this case is likely to cover a relatively-small geographic area. Most employees who

hold low-skill retail or restaurant jobs are looking for a position in the geographic area in which

they already live and work, not a position requiring a long commute or a move. That is not to

say that people do not move for other reasons and then attempt to find a low-skill job; the point

is merely that most people do not search long distances for a low-skill job with the idea of then

moving closer to the job. Plaintiff, though, seeks to represent a nationwide class, and allegations

of a large number of geographically-small relevant markets might cut against class certification.

Nonetheless, if plaintiff decides she would like to include a claim under the rule of reason, she

has leave to amend, but she must do so soon, within 28 days.

        B.      Plaintiff’s state-law claims

        Plaintiff also asserts two state-law claims. First, in Count II, plaintiff asserts a claim

under the Illinois Antitrust Act, 740 ILCS 10/1 et seq. The Illinois Antitrust Act states, in

relevant part, that it is unlawful to “[m]ake any contract . . . (a) for the purpose or with the effect

of fixing, controlling, or maintaining the price . . . or the fee . . . paid for any service . . .

received by the parties thereto[.]” 740 ILCS 10/3(a)(1). The Illinois Antitrust Act goes on to

state that “‘[s]ervice’ shall not be deemed to include labor which is performed by natural persons

as employees of others.” 740 ILCS 10/4.




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        Defendants argue that the plaintiff’s claim is, thus, excluded from coverage under the

Illinois Antitrust Act. The Court agrees that the plain language of the statute excludes plaintiff’s

claim, which alleges that the no-hire agreement artificially suppressed her wage, i.e., the price

paid for her service. See O’Regan v. Arbitration Forums, Inc., 121 F.3d 1060, 1066 (7th Cir.

1997) (“[T]o the extent [plaintiff’s] claims relate to an alleged market for labor services, they are

specifically excluded by § 10/4 of the [Illinois Antitrust] Act.”). Although plaintiff suggests this

is merely an exception for collective bargaining, the statute includes a separate labor exemption.

740 ILCS 10/5(1) (“No provisions of this Act shall be construed to make illegal: (1) the

activities of any labor organization or of individual members thereof which are directed solely to

labor objectives which are legitimate under the laws of either the State of Illinois or the United

States.”).

        Accordingly, defendants’ motion to dismiss is granted as to Count II, and Count II is

dismissed with prejudice.

        Next, in Count III, plaintiff asserts a claim for violation of the Illinois Consumer Fraud

and Deceptive Trade Practices Act. Defendants move to dismiss, and the Court agrees that

plaintiff cannot move forward on this claim.

        To begin with, as defendants point out, the Illinois Supreme Court has concluded that the

Illinois Consumer Fraud Act aims to protect consumers from fraud, not to provide extra

enforcement of the antitrust laws. Laughlin v. Evanston Hosp., 133 Ill.2d 374, 390 (Ill. 1990).

There, the Illinois Supreme Court said:

        There is no indication that the legislature intended that the Consumer Fraud Act
        be an additional antitrust enforcement mechanism. The language of the Act
        shows that its reach was to be limited to conduct that defrauds or deceives
        consumers or others. The title of the Act is consistent with its content.




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Laughlin, 133 Ill.2d at 390. Thus, plaintiff cannot use the ICFA to bring her antitrust claim.

According to plaintiff’s allegations, she was injured because a no-hire agreement prohibited a

potential employer from hiring her. Plaintiff was harmed in her capacity as an employee, which

is to say in her capacity as a supplier of services. She was not defrauded as a consumer of

hamburgers, and she cannot state a claim under the ICFA. Hess v. Kanoski & Assoc., 668 F.3d

446, 454 (7th Cir. 2012) (“[Plaintiff] has no claim under the Illinois Consumer Fraud Act . . .

because [she] was an employee, not a ‘consumer.’”).

        Count III is dismissed with prejudice.

IV.     CONCLUSION

        For the reasons set forth above, the Court grants in part and denies in part defendants’

motion to dismiss [34].4 The motion is denied as to Count I. The motion is granted as to Counts

II and III, which are dismissed with prejudice. This case is set for status on 8/15/18 at 9:30 a.m.



SO ORDERED.                                             ENTERED: June 25, 2018



                                                        _________________________________
                                                        JORGE L. ALONSO
                                                        United States District Judge




4
  In their motion, defendants also request that the Court dismiss plaintiff’s demand for injunctive
relief. Defendants have not sufficiently developed this argument, so the request is denied
without prejudice.

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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

STEPHANIE TURNER,                              )
                                               )
       Plaintiff,                              )
                                               )               No. 19 C 5524
       v.                                      )
                                               )               Judge Jorge L. Alonso
McDONALD’S USA, LLC, and                       )
McDONALD’S CORP.,                              )
                                               )
       Defendants.                             )

                                               ORDER

        Defendants’ motion [27] to dismiss is denied.

                                           STATEMENT

       In this case, which is consolidated with Deslandes v. McDonald’s, USA, LLC, case no.

17-cv-4857, plaintiff Stephanie Turner (like plaintiff Leinani Deslandes before her) alleges that

defendants violated the Sherman Act by agreeing with franchisees not to hire each other’s

employees or each other’s former employees for a period of six months after employment.

(Familiarity with the allegations in Deslandes and with the Court’s decisions in that case is

assumed. The Court does not include the detailed allegations here, because defendants do not

move to dismiss this case for failure to state a claim.) Plaintiff alleges that the no-hire clause

caused her wages to be depressed such that she was paid less than she would have been paid

absent the no-hire clause in the franchise agreements.

       In their motion to dismiss, defendants argue that plaintiff lacks Article III standing as

well as antitrust standing and that plaintiff’s claim is barred by the statute of limitations.




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       A.      Article III standing

       Defendants first argue that plaintiff lacks standing under Article III. Article III of the

United States Constitution limits a federal court’s jurisdiction to “Cases” and “Controversies,”

and “the irreducible constitutional minimum of standing contains three elements.” Lujan v.

Defenders of Wildlife, 504 U.S. 555, 559-60 (1992). To have standing, a plaintiff must have “(1)

suffered an injury in fact, (2) that is fairly traceable to the challenged conduct of the defendant,

and (3) that is likely to be redressed by a favorable judicial decision.” Spokeo, Inc. v. Robins, __

U.S. __, 136 S.Ct. 1540, 1547 (2016) (citations omitted). A plaintiff must establish standing

“with the manner and degree of evidence required at the successive stages of the litigation.”

Lujan, 504 U.S. at 561. Thus, here, at the pleadings stage, allegations will suffice.

       In this case, plaintiff alleges she “suffered reduced wages” due to the no-hire clause.

(Complt. ¶ 18). She alleges that the “fact that she could not even apply [for other positions at

other McDonald’s restaurants] also contributed to downward pressure on her own wages at the

McOpCo, as she could not use a competing offer to negotiate better wages[.]” (Complt. ¶ 66).

She alleges the restraints “constrained competition” among McDonald’s restaurants and “caused

her wages to be depressed during her employment.” (Complt. ¶ 71).

       Defendants argue that plaintiff suffered no injury in fact, but the Court does not agree.

Defendants argue that plaintiff cannot have been injured by the no-hire clause unless she applied

for and was rejected on account of the no-hire policy. The argument misses the point of

plaintiff’s alleged injury: plaintiff alleges she suffered depressed wages, which is to say the

wages she was actually paid were less than the wages she would have been paid absent the

allegedly-unlawful no-hire policy. The loss of those wages is an injury in fact. See Reiter v.

Sonotone Corp., 442 U.S. 330, 342 (1979) (“where petitioner alleges a wrongful deprivation of



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her money . . . by reason of respondents’ anticompetitive behavior, she has alleged an injury in

her ‘property’ under § 4 [of the Clayton Act]”); see also Milwaukee Police Assoc. v. Flynn, 863

F.3d 636, 639 (7th Cir. 2017) (“concrete financial injuries, namely deprivation of wages . . . are

prototypical injuries for the purposes of Article III standing.”). 1

        Plaintiff’s claim is akin to a supplier who sells at a reduced price due to the anti-

competitive behavior of a cartel of buyers. The Seventh Circuit has held “farmers who sold

soybeans at allegedly depressed prices suffered injury sufficient to confer standing under Article

III.” Sanner v. Board of Trade of City of Chi., 62 F.3d 918, 924 (7th Cir. 1995) (“The fact of a

sale at an allegedly depressed price establishes discernable injury in a manner in which a failure

to sell cannot.”). Here, plaintiff alleges she sold her labor at an allegedly depressed price, and

that is sufficient allegation of injury in fact.

        Next, defendants argue that depressed wages cannot confer standing in this case, because

such depressed wages are not fairly traceable to the alleged antitrust violation. Defendants argue

that other factors, such as the unemployment rate, might have suppressed her wages and that

plaintiff’s allegation that the depressed wages were caused by the no-hire agreement is not

plausible. Again, the Court disagrees. Plaintiff’s causation allegations are plausible due to basic

principles of economics: if fewer employers compete for the same number of employees, wages

will be lower than if a greater number of employers are competing for those employees. 2 In


1
 That plaintiff may never be able to prove the quantity of such damages does not mean she has
not suffered injury in fact. See Blue Cross and Blue Shield United of Wis. v. Marshfield Clinic,
152 F.3d 588, 594 (7th Cir. 1998) (“We are not saying that Blue Cross did not in fact lose any
money as a result of the division of markets. . . . [T]here is . . . , and here critically, a difference
between an actual and a quantifiable harm and also between a quantifiable and a quantified
harm—and only the last supports an award of damages.”).
2
  Defendants argue that plaintiff’s allegation that the no-hire clause depressed her wages is not
plausible in light of the Court’s conclusion in Deslandes that Deslandes had not stated a claim
for a per se violation of the antitrust laws. The Court disagrees. The reason Deslandes had not

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addition, “[f]actual disputes over the relative market significance” of the no-hire agreement

versus other factors “should not be resolved on a motion to dismiss.” Sanner, 62 F.3d at 926.

Plaintiff has alleged an injury that is fairly traceable to defendants’ alleged antitrust violation.

        Thus, this Court agrees with courts that have concluded plaintiffs have standing to pursue

antitrust claims based on no-hire agreements when they allege their wages were depressed by

such agreements. Blanton v. Domino’s Pizza Franchising, LLC, Case No. 18-13207, 2019 WL

2247731 at *3-4 (E.D. Mich. May 24, 2019) (“[Plaintiff] says that his own wages were

depressed. . . . He asserts that his depressed wages were a direct result of the allegedly unlawful

no-hire agreement . . . The Court finds that [plaintiff] has sufficiently alleged standing.”); see

also Butler v. Jimmy John’s Franchise, LLC, 331 F. Supp.3d 786, 793-94 (S.D. Ill. 2018).

        In sum, plaintiff has adequately alleged standing by alleging the no-hire agreement

depressed her wages. Whether she can prove that is a question for another day.

        B.      Antitrust standing

        Defendants also state that plaintiff has not alleged antitrust injury. The Court disagrees.

        In addition to injury in fact, a plaintiff asserting an antitrust claim “must prove antitrust

injury, which is to say injury of the type the antitrust laws were intended to prevent and that

flows from that which makes defendants’ act unlawful.” Brunswick Corp. v. Pueblo Bowl-O-

Mat, Inc., 429 U.S. 477, 489 (1977). The Supreme Court went on to explain that “[t]he injury

should reflect the anticompetitive effect either of the violation or of anticompetitive acts made

possible by the violation.” Brunswick, 429 U.S. at 489. Thus, in Brunswick, the plaintiffs could




alleged a per se violation was not that a no-hire agreement would be unlikely to depress wages
but rather that the no-hire agreement was ancillary to an agreement that was procompetitive in
that it enhanced the output of hamburgers.

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not recover as damages additional profits they might have earned had their competitors gone out

of business. The Supreme Court explained:

       At base, [plaintiffs] complain that by acquiring the failing centers [defendant]
       preserved competition, thereby depriving [plaintiffs] of the benefits of increased
       concentration. The damages [plaintiffs] obtained are designed to provide them
       with the profits they would have realized had competition been reduced. The
       antitrust laws, however, were enacted for ‘the protection of competition not
       competitors.’ Brown Shoe Co. v. United States, 370 U.S. 294, 320 (1962). It is
       inimical to the purposes of these laws to award damages for the type of injury
       claimed here.

Brunswick, 429 U.S. at 488. Thus, antitrust injury requires injury to competition.

       Here, plaintiff has alleged injury to competition, namely the injury of depressed prices

(wages) to sellers (employees) due to anticompetitive behavior of buyers (employers). The

Seventh Circuit has explained why this type of injury is an injury to competition:

       Just as a sellers’ cartel enables the charging of monopoly prices, a buyers’ cartel
       enables the charging of monopsony prices; and monopoly and monopsony are
       symmetrical distortions of competition from an economic standpoint.

Vogel v. American Soc. of Appraisers, 744 F.2d 598, 601 (7th Cir. 1984); cf. Mandeville Island

Farms v. American Chrystal Sugar Co., 334 U.S. 219 (1948) (sugar beet suppliers had antitrust

claim for price-fixing against sugar beet refiners); see also Omnicare, Inc. v. UnitedHealth

Group, Inc., 524 F. Supp.2d 1031, 1040 (N.D. Ill. 2007) (“In a buyer’s conspiracy case, a seller

sufficiently alleges antitrust injury by pleading that it has received excessively low prices from

members of the buyers’ cartel.”).

       Accordingly, plaintiff has alleged antitrust injury in this case. See Hunter v. Booz Allen

Hamilton, Inc., 418 F. Supp.3d 214, 223 (S.D. Ohio 2019) (“Plaintiffs alleged that the no-poach

agreements . . . ‘did in fact suppress wages, benefit[s], and other aspects of compensation and

eliminate competition.’ As such, Plaintiffs have pleaded . . . an injury of the type the antitrust

laws were intended to prevent[.]”); In re: Papa John’s Employee and Franchisee Employee


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Antitrust Litigation, Case No. 18-cv-825, 2019 WL 5386484 at *9 (W.D. Ky. Oct. 21, 2019)

(“Plaintiffs also sufficiently plead antitrust injury. Plaintiffs contend that the No-Hire provision

is an agreement not to compete for labor and that the agreement had the purpose and effect of

depressing wages and diminishing employment opportunities.”); In re: High-Tech Employee

Antitrust Litigation, 856 F. Supp.2d 1103, 1123 (N.D. Cal. 2012) (“In alleging that Defendants

conspired to fix salaries at artificially low levels, Plaintiffs have alleged ‘an example of the type

of injury the antitrust laws are meant to protect against.’”) (citation omitted); Phillip E. Areeda &

Herbert Hovencamp, Antitrust Law: An Analysis of Antitrust Principles and Their Application,

¶ 352a (3rd and 4th Editions, 2018 Cum. Supp. 2010-2017) (“Employees may challenge antitrust

violations that are premised on restraining the employment market . . . Standing for employees

thus parallels that for ‘suppliers’ generally[.]”).

        C.      Statute of limitations

        Finally, defendants argue that plaintiff’s claim is barred by the four-year statute of

limitations applicable to antitrust claims. 15 U.S.C. § 15b (“Any action to enforce any cause of

action under section 15, 15a, or 15c of this title shall be forever barred unless commenced within

four years after the cause of action accrued.”). Defendants’ theory is that plaintiff’s cause of

action accrued no later than 2009 or 2010, when she alleges she first learned about the no-hire

clause. (Complt. ¶ 66) (“In or around 2009 or 2010 . . . [plaintiff’s] supervisor at the McOpCo

restaurant told her she could not be hired at a franchise-owned McDonalds’ without a release

unless she first stopped working at the McOpCo for six months. The supervisor also informed

[plaintiff] that the franchisee would not be permitted to speak with her without a release from the

McOpCo.”).




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        Failure to comply with a statute of limitations is an affirmative defense. See United

States Gypsum Co. v. Indiana Gas Co., Inc., 350 F.3d 623, 626 (7th Cir. 2003); Fed.R.Civ.P.

8(c)(1). A plaintiff need not plead around an affirmative defense, and the Court may not dismiss

on the basis of an affirmative defense unless the plaintiff alleges, and thus admits, the elements

of the affirmative defense. Chicago Bldg. Design, P.C. v. Mongolian House, Inc., 770 F.3d 610,

613-14 (7th Cir. 2014); United States Gypsum, 350 F.3d at 626. Here, plaintiff’s allegations do

not establish that her claim is time-barred.

        “The period of limitations for antitrust litigation runs from the most recent injury caused

by the defendants’ activities rather than from the violation’s inception.” Xechem, Inc. v. Bristol-

Myers Squibb Co., 372 F.3d 899, 902 (7th Cir. 2004) (citing Zenith Radio Corp. v. Hazeltine

Research, Inc., 401 U.S. 321 (1971)). In Zenith Radio, the Supreme Court said “each time a

plaintiff is injured by an act of the defendants a cause of action accrues to him to recover the

damages caused by that act and . . . as to those damages the statute of limitations runs from the

commission of the act.” Zenith Radio, 401 U.S. at 338. In Xechem, the Seventh Circuit cited

Klehr v. A.O. Smith Corp., 521 U.S. 179, 188-191 (1997) as “describing how this approach

works[.]” Xechem, 372 F.3d at 902. In Klehr, the Supreme Court explained:

        Antitrust law provides that, in the case of a ‘continuing violation,’ say, a price-
        fixing conspiracy that brings about a series of unlawfully high priced sales over a
        period of years, ‘each overt act that is part of the violation and that injures
        plaintiff,’ e.g., each sale to the plaintiff, ‘starts the statutory period running
        again, regardless of the plaintiff’s knowledge of the alleged illegality at much
        earlier times.’ But the commission of a separate new overt act generally does not
        permit the plaintiff to recover for the injury caused by old overt acts outside the
        limitations period.

Klehr, 521 U.S. at 189 (emphasis added) (citations omitted). In other words, in a sellers’ cartel,

each additional sale is an injury that starts the statute of limitations for that injury, and, in a

buyers’ cartel, each purchase is an injury that starts the statute of limitations for that injury.


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Analogously, in this case, each time plaintiff was paid a depressed wage for her labor, she was

injured and the four-year statute of limitations for that injury began. 3

       Here, plaintiff alleges that she was paid a depressed wage for her labor as recently as

September 2018. (Complt. ¶¶ 70-71). She filed her complaint on August 15, 2019. Plaintiff has

not alleged (and thus admitted) the ingredients of defendants’ statute-of-limitations affirmative

defense, and the Court will not dismiss her claim on statute-of-limitations grounds.

       For all of these reasons, defendants’ motion to dismiss is denied.



SO ORDERED.                                                    ENTERED: April 24, 2020




                                                               ______________________
                                                               JORGE L. ALONSO
                                                               United States District Judge




3
 This does not mean a plaintiff can recover for depressed wages that were paid to her more than
four years before filing suit. See Klehr, 521 U.S. at 189 (“But the commission of a separate new
overt act generally does not permit the plaintiff to recover for the injury caused by old overt acts
outside the limitations period.”).


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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

LEINANI DESLANDES,                                )
                                                  )
                Plaintiff,                        )
                                                  )           No. 17 C 4857
                                                  )
         v.                                       )
                                                  )           Judge Jorge L. Alonso
McDONALD’S USA, LLC,                              )
McDONALD’S CORPORATION, and                       )
DOES 1 through 10,                                )
                                                  )
                Defendants.                       )

                             MEMORANDUM OPINION AND ORDER

         After a hiring restriction prevented plaintiff Leinani Deslandes (“Deslandes”) from taking

a better-paying position with a rival McDonald’s outlet, she filed this suit seeking relief under

Section 1 of the Sherman Antitrust Act, 15 U.S.C. § 1. Deslandes and Stephanie Turner

(“Turner”), who filed a related suit (19-cv-5524), move for certification of a nationwide class of

persons who were employed by a McDonald’s restaurant during a five-year period. For the

reasons set forth below, plaintiffs’ motion is denied.

I.       BACKGROUND

         Deslandes filed suit against two defendants. The first is McDonald’s USA, LLC, which

is a wholly-owned subsidiary of the second defendant, McDonald’s Corporation. Together

(“McDonald’s”), these entities are the franchisors of the popular restaurants (“McDonald’s

restaurants”), with McDonald’s Corporation serving as franchisor for franchise agreements

signed until 2005 and McDonald’s USA, LLC serving as the franchisor for franchise agreements

signed after that time. Although most (90-95%) of McDonald’s restaurants are owned and




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operated by franchisees, the rest are operated by McDonald’s USA, LLC (Def. Brief at 3/Docket

299 at 10) and are commonly referred to as McOpCos.

         For many years, including at least 1973 to 2017, the franchise agreement contained a

provision that stated:

         Franchisee shall not employ or seek to employ any person who is at the time
         employed by McDonald’s, any of its subsidiaries, or by any person who is at the
         time operating a McDonald’s restaurant or otherwise induce, directly or
         indirectly, such person to leave such employment. This paragraph 14 shall not be
         violated if such person has left the employ of any of the foregoing parties for a
         period in excess of six months.

Plaintiffs allege that this provision violated the Sherman Antitrust Act and suppressed their

wages.

         In or about March 2017, McDonald’s Corp. announced to the McOpCos and the

franchisees that it would discontinue enforcement of the no-hire provision. (Singer Report at ¶

3). In July 2018, McDonald’s Corp. entered an agreement with the Washington State Attorney

General that it would neither include the hiring provision in future franchise agreements nor

enforce it with respect to the franchise agreements that already include the provision. (Singer

Report at ¶ 3).

II.      DISCUSSION

         “The class action is ‘an exception to the usual rule that litigation is conducted by and on

behalf of the individual named parties only.’” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 348

(2011) (quoting Califano v. Yamasaki, 442 U.S. 682, 700-701 (1979)). “A class action may be

maintained if Rule 23(a) is satisfied and” if the case falls within at least one of the categories

outlined in Rule 23(b). Fed.R.Civ.P. 23(b); see also Wal-Mart Stores, 564 U.S. at 345. Rule

23(a) allows “[o]ne or more members of a class” to “sue or be sued as representative parties on

behalf of all class members only if:



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       (1) the class is so numerous that joinder of all members is impracticable;

       (2) there are questions of law or fact common to the class;

       (3) the claims or defenses of the representative parties are typical of the claims or
       defenses of the class; and

       (4) the representative parties will fairly and adequately protect the interests of the
       class.

Fed.R.Civ.P. 23(a). Rule 23(b)(3) allows class certification where “the court finds that the

questions of law or fact common to class members predominate over any questions affecting

only individual members, and that a class action is superior to other available methods for fairly

and efficiently adjudicating the controversy.” Fed.R.Civ.P. 23(b)(3). Rule 23(c)(1)(A) requires

that “[a]t an early practicable time after a person sues or is sued as a class representative, the

court must determine by order whether to certify the action as a class action.” Fed.R.Civ.P.

23(c)(1)(A).

       To support a motion for class certification, a “party seeking class certification must

affirmatively demonstrate his compliance with the Rule—that is, he must be prepared to prove

that there are in fact sufficiently numerous parties, common questions of law or fact, etc.” Wal-

Mart, 564 U.S. at 350. Thus, the “party seeking certification bears the burden of demonstrating

that certification is proper by a preponderance of the evidence.” Chicago Teachers Union, Local

No. 1 v. Board of Ed. of City of Chi., 797 F.3d 426, 433 (7th Cir 2015). A court considering a

motion for class certification must engage in “a rigorous analysis” that “will frequently” overlap

with the merits, because the considerations “are enmeshed in the factual and legal issues

comprising the plaintiff’s cause of action.” Comcast Corp. v. Behrend, 569 U.S. 27, 33-34

(2013) (citations omitted).




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       Plaintiffs seek to certify a class of:

       All persons who were employed at a McDonald’s-branded restaurant in the
       United States from June 28, 2013 to July 12, 2018. Excluded from the Class are
       Defendants’ directors and officers, the Judge, and the Judge’s staff and immediate
       family members.

(Plfs. Brief at 1/Docket 268 at 7).

               1.      Numerosity

       First, the Court agrees that the number of class members makes joinder impracticable.

Plaintiffs assert that there are “hundreds of thousands” of class members. (Docket 268 at 8).

Defendants say there are “millions” of class members. (Docket 299 at 8). Either way, the class

contains far more members than would be practicable to join. See Mulvania v. Sheriff of Rock

Island Cty., 850 F.3d 849, 859 (7th Cir. 2017) (“While there is no magic number that applies to

every case, a forty-member class is often regarded as sufficient to meet the numerosity

requirement.”).

               2.      Common issues and whether they will predominate

       Next, the Court considers whether plaintiffs have shown the existence of one or more

common issues and whether such common questions will predominate over individual questions.

The Supreme Court has described what makes an issue common. It has said:

       Commonality requires the plaintiff to demonstrate that the class members ‘have
       suffered the same injury. This does not mean merely that they have all suffered a
       violation of the same provision of law. . . . Their claims must depend upon a
       common contention[.] . . . That common contention, moreover, must be of such a
       nature that it is capable of classwide resolution—which means that determination
       of its truth or falsity will resolve an issue that is central to the validity of each one
       of the claims in one stroke.

Wal-Mart, 564 U.S. at 349-50 (citations omitted). In describing the difference between common

and individual questions, the Supreme Court has explained:




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          An individual question is one where ‘members of a proposed class will need to
          present evidence that varies from member to member,’ while a common question
          is one where ‘the same evidence will suffice for each member to make a prima
          facie showing [or] the issue is susceptible to generalized, class-wide proof.’

Tyson Foods, Inc. v. Bouaphakeo, 577 U.S. 442, 453 (2016) (citation omitted); see also Messner

v. Northshore Univ. HealthSystem, 669 F.3d 802, 815 (7th Cir. 2012) (“If, to make a prima facie

showing on a given question, the members of a proposed class will need to present evidence that

varies from member to member, then it is an individual question.”) (quoting Blades v. Monsanto

Co., 400 F.3d 562, 566 (8th Cir. 2005)).

          To be suitable for class action treatment, a case must not only involve common questions

(Fed.R.Civ.P. 23(a)(2)), but those common questions must predominate (Fed.R.Civ.P. 23(b)).

“The Rule 23(b)(3) predominance inquiry tests whether proposed classes are sufficiently

cohesive to warrant adjudication by representation.” Amchem Products, Inc. v. Windsor, 521

U.S. 591, 623 (1997). Rule 23(b)(3)’s “predominance criterion is far more demanding” than

“Rule 23(a)’s commonality requirement[.]” Amchem, 521 U.S. at 623-34. “Analysis of

predominance under Rule 23(b)(3) ‘begins, of course, with the elements of the underlying cause

of action.’” Messner, 669 F.3d at 815 (quoting Erica P. John Fund, Inc. v. Halliburton Co., 131

S.Ct. 2179, 2184 (2011)).

          The parties agree 1 that the elements of plaintiffs’ cause of action are: (1) a violation of

the antitrust laws; (2) injury resulting from the violation, which is to say that plaintiffs suffered

antitrust “impact;” and (3) damages. Messner, 669 F.3d at 815. The parties do not agree,

however, on the proper analysis of plaintiff’s antitrust claim, so the Court must first resolve that

issue.




1
    See Plfs. Brief at 20/Docket 268 at 26; Def. Brief at 11, 16, 18/Docket 299 at 18, 23, 25.

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               Quick look versus Rule of Reason

        The parties disagree about whether plaintiffs’ antitrust claim may be considered under a

quick look analysis or whether it will require rule of reason analysis. 2

        This Court has previously explained:

               Section 1 of the Sherman Antitrust Act prohibits “[e]very contract,
        combination in the form of trust or otherwise, or conspiracy, in restraint of trade
        or commerce . . . ” 15 U.S.C. § 1. This language has long been interpreted to
        “outlaw only unreasonable restraints” of trade. State Oil Co. v. Khan, 522 U.S. 3,
        10 (1997). Some restraints are deemed so anti-competitive (and, thus,
        unreasonable) that they are illegal per se, while other restraints, which may have
        procompetitive effects, are judged under the rule of reason (or its subset: the
        quick look).

                As the Supreme Court has explained, restraints that are “unlawful per se”
        are those that “have such predictable and pernicious anticompetitive effect, and
        such limited potential for procompetitive benefit” that it is obvious they are
        unreasonable restraints of trade. Khan, 522 U.S. at 10. The per se rule applies to
        restraints “‘that would always or almost always tend to restrict competition and
        decrease output.’” Leegin, 551 U.S. at 886. Accordingly, the per se rule is
        reserved for restraints with respect to which “courts have had considerable
        experience” such that they “can predict with confidence that [the restraint] would
        be invalidated in all or almost all instances under the rule of reason[.]” Leegin,
        551 U.S. at 886-87.

                  Most restraints are not per se unlawful but are instead analyzed under the
        rule of reason. Khan, 522 U.S. at 10. Under the rule of reason, “the finder of fact
        must decide whether the questioned practice imposes an unreasonable restraint on
        competition, taking into account a variety of factors, including specific
        information about the relevant business, its condition before and after the restraint
        was imposed, and the restraint’s history, nature, and effect.” Khan, 522 U.S. at
        10. Generally, this requires a plaintiff to show the defendant has “market
        power—that is the ability to raise prices significantly without going out of
        business—without which the defendant could not cause anticompetitive effects on
        market pricing.” Agnew v. National Collegiate Athletic Ass’n, 683 F.3d 328, 335
        (7th Cir. 2012). In this case, market power would be the power to suppress
        wages.




2
 The Court notes the Supreme Court issued its decision in NCAA v. Alston, __ U.S. __, 141 S.Ct.
2141 (2021), after the parties had briefed their motion for class certification. The Court allowed
each party to file a brief discussing the impact of that case on this motion.

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               Courts sometimes apply a third test of reasonableness, the quick look,
       which is a short form of rule of reason analysis. Illinois Corp. Travel, Inc. v.
       American Airlines, Inc., 806 F.2d 722, 727 (7th Cir. 1986) (“This is the sort of
       short form or quick look Rule of Reason analysis endorsed in NCAA v. Board of
       Regents, 468 U.S. 85, 109-10 & n. 42 (1984)). As the Seventh Circuit has
       explained:

               the quick-look approach can be used when ‘an observer with even
               a rudimentary understanding of economics could conclude that the
               arrangements in question would have an anticompetitive effect on
               customers and markets,’ but there are nonetheless reasons to
               examine the potential procompetitive justifications.

       Agnew, 683 F.3d at 336 (internal citation omitted) (quoting Cal. Dental Ass’n v.
       FTC, 526 U.S. 756, 770 (1999)). Under quick-look analysis, if the defendant
       lacks legitimate justifications for facially anticompetitive behavior then the court
       “condemns the practice without ado” without resort to analysis of market power.
       Agnew, 683 F.3d at 336; Chicago Prof. Sports Ltd. Partnership v. NBA, 961 F.2d
       667, 674 (7th Cir. 1992); see also National Collegiate Athletic Ass’n v. Board of
       Regents, 468 U.S. 85, 109-10 n. 42 (1984) (“While the ‘reasonableness’ of a
       particular alleged restraint often depends on the market power of the parties
       involved, because a judgment about market power is the means by which the
       effects of the conduct on the market place can be assessed, market power is only
       one test of ‘reasonableness.’ And where the anticompetitive effects of conduct
       can be ascertained through means short of extensive market analysis, and where
       no countervailing competitive virtues are evident, a lengthy analysis of market
       power is not necessary.”).

Deslandes v. McDonald’s USA, LLC, Case No. 17 C 4857, 2018 WL 3105955 at *4-5 (N.D. Ill.

June 25, 2018).

       Plaintiff now argues, “[t]his Court has already held that an abbreviated from of the rule of

reason—the quick-look test—is appropriate given the predictable effects that ensue” from the

alleged conduct. (Docket 371 at 4). That is imprecise. The Court said plaintiff had stated a

claim for a restraint that might be unlawful under a quick look. Specifically, the Court stated:

              Here, plaintiff argues that she has alleged the existence of a horizontal
       agreement in restraint of trade. Plaintiff alleges that McDonald’s franchisees
       signed written franchise agreements pursuant to which each agreed not to hire
       employees (including former employees who left within the prior six months)
       from other McDonald’s restaurants. Specifically, the franchisees were not
       allowed to hire anyone who was employed (or had been employed in the prior six



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    months) by “McDonald’s, any of its subsidiaries, or by any person who is at the
    time operating a McDonald’s restaurant[.]” (Am. Complt. ¶ 87). Plaintiff alleges
    that the McOpCos were similarly restricted.

            Defendants argue that this is merely a vertical restraint, because it was
    spearheaded by the entity at the top of the chain. The Court agrees that the
    restraint has vertical elements, but the agreement is also a horizontal restraint. It
    restrains competition for employees among horizontal competitors: the
    franchisees and the McOpCos. Plaintiff has alleged that McOpCos run
    McDonald’s-brand restaurants and, thus, compete directly with franchisees for
    employees. Plaintiff has also alleged that the McOpCos are subsidiaries of
    defendant McDonald’s and that the restraint explicitly restricts franchisees from
    hiring employees of McDonald’s subsidiaries, i.e., the franchisees’ competitors.
    Thus, McDonald’s, by including the no-hire provision in its agreement with
    franchisees, was protecting its own restaurants (i.e., itself) from horizontal
    competition for employees. Cf. Copperweld Corp. v. Independence Tube Corp.,
    467 U.S. 752, 771 (1984) (“the coordinated activity of a parent and its wholly
    owned subsidiary must be viewed as that of a single enterprise for purposes of § 1
    of the Sherman Act”). The Court finds that plaintiff has alleged a horizontal
    restraint of trade.

            Naked horizontal agreements (i.e., those among competitors) to fix prices
    or to divide markets are per se unlawful. Leegin, 551 U.S. at 886; Federal Trade
    Comm’n v. Superior Court Trial Lawyers Assoc., 493 U.S. 411 (1990) (horizontal
    agreement among lawyers not to accept appointments to represent indigent
    criminal defendants until fees increased was a naked price restraint and per se
    unlawful); Blackburn v. Sweeney, 53 F.3d 825, 827 & 828 (7th Cir. 1995)
    (“reciprocal agreement [among attorneys] to limit advertising to different
    geographical regions was . . . an agreement to allocate markets so that the per se
    rule of illegality applies”). This includes naked agreements to set wages. Arizona
    Hosp., 2009 WL 1423378 at * 3 (plaintiff’s allegations that hospital association
    set prices for temporary nurses stated claim for per se violation of the Sherman
    Act).

           A horizontal agreement not to hire competitors’ employees is, in essence,
    a market division. See United States v. eBay, Inc., 968 F.Supp. 2d 1030, 1039
    (N.D. Cal. 2013) (“The court thus finds that the United States’ allegations
    concerning agreement between eBay and Intuit [not to hire each other’s
    employees] suffice to state a horizontal market allocation agreement.”). The
    Department of Justice, which enforces rather than interprets the law, has warned
    employers that it considers naked no-hire agreements to be per se unlawful.
    (Press Release, U.S. Dep’t of Justice, Justice Department and Federal Trade
    Commission Release Guidance for Human Resource Professionals on How
    Antitrust Law Applies to Employee Hiring and Compensation (Oct. 20, 2016),
    available at https://www.justice.gov/opa/pr/justice-department-and-federal-trade-
    commission-release-guidance-human-resource-professionals.). Thus, because a



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    no-hire agreement is, in essence, an agreement to divide a market, the Court has
    no trouble concluding that a naked horizontal no-hire agreement would be a per
    se violation of the antitrust laws. Even a person with a rudimentary understanding
    of economics would understand that if, say, large law firms in Chicago got
    together and decided not to hire each other’s associates, the market price for mid-
    level associates would stagnate. With no competition for their talent (aside from
    lower-paying in-house or government jobs), associates would have no choice but
    to accept the salary set by their firms or to move to another city. Thus, such a
    claim would be suitable for per se treatment.

            Not all horizontal restraints are per se unlawful, however. Some
    horizontal restraints are ancillary to agreements that are procompetitive, usually
    in the sense of enhancing output (i.e., producing either a greater quantity of goods
    or a new good that would not otherwise exist). Polk Bros., Inc. v. Forest City
    Enterprises, Inc., 776 F.2d 185, 188-89 (7th Cir. 1985) (“A court must distinguish
    between ‘naked’ restraints, those in which the restriction on competition is
    unaccompanied by new production or products, and ‘ancillary’ restraints, those
    that are part of a larger endeavor whose success they promote.”). A restraint is
    ancillary if it “promoted enterprise and productivity when it was adopted.” Polk
    Bros., 776 F.2d at 189. When a restraint is ancillary, it is judged either under the
    rule of reason or given a “quick look.” For example, no-hire agreements that are
    ancillary to the sale of a business can have procompetitive effects, so they are
    judged under the rule of reason. Eichorn v. AT&T Corp., 248 F.3d 131, 144 (3d
    Cir. 2001).

            Similarly, where the horizontal restraint is necessary in order for the
    product to exist at all, a restraint will not be judged per se unlawful but rather will
    be judged under the rule of reason, including by “quick look.” Law v. National
    Collegiate Athletic Assoc., 134 F.3d 1010 (10th Cir. 1998); see also Broadcast
    Music, Inc. v. Columbia Broadcasting Sys., Inc., 441 U.S. 1 (1979); National
    Collegiate Athletic Ass’n. v. Board of Regents of the Univ. of Okla., 468 U.S. 85
    (1984). In Law, a group of college basketball coaches brought suit challenging
    the NCAA’s rule limiting annual salaries for certain assistant basketball coaches
    to $16,000 per year. Because some restraints were necessary in order to make
    college sports available, the court concluded that the horizontal price restraint
    should be analyzed under the rule of reason, and, in particular, the “quick look.”
    Law, 134 F.3d at 1018 & 1020 (“We find it appropriate to adopt such a quick look
    rule of reason in this case.”)

            In this case, plaintiff has alleged a horizontal restraint that is ancillary to
    franchise agreements for McDonald’s restaurants. Each time McDonald’s entered
    a franchise agreement, it increased output of burgers and fries, which is to say the
    agreement was output enhancing and thus procompetitive. (That is not to say that
    the provision itself was output enhancing. The very fact that McDonald’s has
    managed to continue signing franchise agreements even after it stopped including
    the provision in 2017 suggests that the no-hire provision was not necessary to



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         encourage franchisees to sign.) Because the restraint alleged in plaintiff’s
         complaint is ancillary to an agreement with a procompetitive effect, the restraint
         alleged in plaintiff’s complaint cannot be deemed unlawful per se. Plaintiff’s
         claim does not rise and fall on per se treatment, though. She claims in the
         alternative that the restraint is unlawful under quick-look analysis.

                 The next question, then, is whether plaintiff has plausibly alleged a
         restraint that might be found unlawful under quick-look analysis. The Court
         thinks she has. Even a person with a rudimentary understanding of economics
         would understand that if competitors agree not to hire each other’s employees,
         wages for employees will stagnate. Plaintiff herself experienced the stagnation of
         her wages. A supervisor for a competing McDonald’s restaurant told plaintiff she
         would like to hire plaintiff for a position that would be similar to plaintiff’s
         position but that would pay $1.75-2.75 more per hour than she was earning.
         Unfortunately for plaintiff, the no-hire agreement prevented the McOpCo from
         offering plaintiff the job. When plaintiff asked her current employer to release
         her, plaintiff was told she was too valuable. The Court agrees that an employee
         working for a below-market wage would be extremely valuable to her employer.

Deslandes, 2018 WL 3105955 at *6-7.

         The Court specifically stated, “Though the Court has concluded that plaintiff has stated a

claim for a restraint that might be unlawful under quick-look analysis, the evidence at a later

stage may not support it.” Deslandes, 2018 WL 3105955 at *8. Accordingly, the Court gave

plaintiff leave to amend to add a claim under the rule of reason. Id. Plaintiff declined. 3

                        Alston

         Since that time, the parties have engaged in discovery, and the Supreme Court has

clarified when quick-look analysis applies, which is rarely. In NCAA v. Alston, __ U.S. __, 141

S.Ct. 2141 (2021), college athletes brought suit against the NCAA, claiming its agreement with

member schools to limit compensation to student athletes amounted to an unlawful restraint of

trade in violation of the Sherman Antitrust Act. The NCAA argued that the court should apply a

quick look, but the Supreme Court disagreed.



3
  Likewise, plaintiff Turner failed to state a claim under the rule of reason. Her complaint is
limited to a quick look claim. [Case No. 19-cv-5524, Docket 1].

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       The Supreme Court, in a unanimous decision, first noted that claims regarding restraints

of trade “presumptively” call for rule of reason analysis. Alston, 141 S.Ct. at 2151. It went on to

explain that a quick look suffices:

       only for restraints at opposite ends of the competitive spectrum. For those sorts of
       restraints—rather than restraints in the great in-between—a quick look is
       sufficient for approval or condemnation.

Alston, 141 S.Ct. at 2155 (emphasis added). On one end of that spectrum, the Supreme Court

explained, are restraints that are “so obviously incapable of harming competition that they

require little scrutiny,” such as joint ventures commanding such a small share of the market (say,

5-6%) that any reduction in output would be made up by the rest of the market. Alston, 141 S.Ct.

at 2155-56. On the opposite end of the spectrum are those “agreements among competitors” that

“so obviously threaten to reduce output and raise prices that they might be condemned” after a

quick look. Alston, 141 S.Ct. at 2156. The Supreme Court said such quick-look condemnations

should be rare, explaining, “we take special care not to deploy these condemnatory tools until we

have amassed ‘considerable experience with the type of restraint at issue’ and ‘can predict with

confidence that it would be invalidated in all or almost all instances.’” Alston, 141 S.Ct. at 2156

(citing Leegin Creative Leather Products, Inc. v. PSKS, Inc., 551 U.S. 877, 886-887 (2007)).

       This case falls in “the great in-between” of restraints that require rule-of-reason analysis.

This Court cannot say that it has enough experience with no-hire provisions of franchise

agreements to predict with confidence that they must always be condemned, which means, under

Alston, that the Court must apply rule of reason analysis to this case. The Supreme Court’s

recent unanimous decision in Alston is not, however, the only reason the Court must apply the

rule of reason. Two additional reasons support applying the rule of reason.




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                        Pro-competitive effects

         First, defendants have put forth sufficient evidence of pro-competitive effects of the

hiring restriction to warrant full rule of reason analysis. Specifically, defendants put forth the

expert report of Dr. Justin McCrary (“Dr. McCrary”), who holds a Ph.D. in Economics and is a

Professor at Columbia University. 4 (Plaintiffs do not challenge the admissibility of either Dr.

McCrary’s report or the report by Dr. Kevin M. Murphy (“Dr. Murphy”), defendants’ other

expert witness.)

         Dr. McCrary first describes the benefits of a franchise business model and the free-rider

problem that can be expected with such a model. Without franchising, an owner of a chain of

restaurants will face several problems in trying to expand quickly. In addition to needing a

significant amount of capital, the owner might have difficulty ensuring the non-owner manager

of each outlet has an incentive to maximize sales and profits. This is where the franchise model

can help. When each outlet is owned and operated by a franchisee, the franchisee’s

compensation is “directly tied to the profits” of running the outlet. (McCrary Rep. at ¶ 32).

         The franchise model allows for quicker growth of the brand but comes with a free-rider

problem. As with any brand or trademark, the benefit of the brand to the consumer is the

consistency the consumer can expect each time he makes a purchase from that brand and the

reduced search costs inherent in sticking with what is known. For such branding to be effective

in a franchise model, each franchisee must be delivering a product and experience that is nearly

identical. Any given franchisee, however, (and particularly one with an outlet along, say, an

interstate highway that receives few repeat customers) has an incentive to cut corners (either in



4
 The Court is not suggesting that this evidence is undisputed or that a fact-finder would find it
persuasive. The point is merely that in the face of defendants’ significant evidence of pro-
competitive effects, a full analysis under the rule of reason, rather than a quick look, is necessary.

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food quality or customer service) in order to boost its own profits. That hurts the brand, because

when a customer has a bad experience at one outlet, he might refrain from visiting other outlets

in the future. Dr. McCrary describes how franchisors, in order to control the free-rider problem

and promote a consistent brand, include in their franchise agreements provisions and restraints to

control quality. The franchisor, thus, requires, among other things, a particular level of quality,

cleanliness and service. Dr. McCrary argues that these sorts of restrictions are procompetitive,

because they strengthen the quality of the brand, thereby encouraging additional franchisees to

open outlets and increasing the output of the end product.

       Dr. McCrary goes on to describe the exponential growth in the number of McDonald’s

restaurants after 1955, when Ray Kroc (“Kroc”) began including brand restrictions in franchise

agreements. Among the restrictions Kroc included were:

       specific requirements related to: the look of the store, the neon sign, and the
       parking lot; employee appearance, product appearance (containers, bags, napkins,
       spoons, etc. had to meet . . . specifications); advertising and marketing (all ‘signs,
       cards, notices, displays or decorations’ were required to be supplied or approved
       by McDonald’s), product and service quality, operations, and inspections of
       financial books and operation methods.

(McCrary Rep. at ¶ 67). Kroc also added a royalty payment of 1.9 percent of gross sales and

included an employment restriction similar to the one at issue in this case. Specifically, those

early franchisees agreed “‘not [to] employ or seek to employ any person who is at the time

employed’ by McDonald’s or a ‘similar establishment’ licensed by McDonald’s, i.e., one of

McDonald’s other franchisees.’” (McCrary Rep. at ¶ 69). After Kroc’s changes, McDonald’s

grew from nine outlets in 1955, to 229 in 1960, to more than 2000 by the early 1970’s, to about

6,000 by 1980, and to more than 14,000 today.

       Today, McDonald’s restaurants are still required to maintain consistency. Franchisees

are required to comply with standardized employee uniforms and appearance, hours of operation



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and restaurant appearance. McDonald’s has specific rules for menu and food preparation

(including the strict procedure for cooking fries), inventory control and bookkeeping.

McDonald’s restaurants are audited regularly to ensure compliance with the brand standards.

           To that end, Dr. McCrary reports, McDonald’s also imposes strict training guidelines.

Although franchisees make their own hiring and compensation decisions, they are required to

follow certain training guidelines. Each restaurant must be managed by a person who has taken

a week-long training class at McDonald’s Hamburger University. Defendant does not charge for

that course, but the franchisee must pay the trainee’s travel expenses and must also pay the

trainee for the time spent there. In fact, all employees must be paid for all the time they spend

training. Department managers complete about 45 weeks of training, and shift managers take

about fourteen weeks of training. In 2015, McDonald’s estimated the cost of training a new

manager to be $4,392 and the cost to train a shift manager to be $2,744. Crew members, too,

must learn restaurant maintenance, customer service and how to operate each food preparation

station.

           Dr. McCrary opines that the hiring restriction encourages franchisees to train their

employees without fear that other outlets will free-ride on this training by hiring away employees

trained in the McDonald’s way. It also encourages cooperation among franchisees. For

example, franchisees are required to manage their restaurants personally and are required to

complete significant training (which can take years if the potential franchisee has no McDonald’s

experience) before signing a franchise agreement. That training sometimes involves on-the-job

training in an existing franchise restaurant. Absent the hiring restriction, current franchisees

would be reluctant to allow potential franchisees to train in their restaurants for fear they would

use the opportunity to recruit employees.




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       Dr. McCrary opines that the hiring restraint increases output in the hamburger market,

because it encourages the very training that enhances the brand (by ensuring uniform food

quality, customer service and building cleanliness). Dr. McCrary says his opinion is consistent

with labor theory developed by Gary Becker, who noticed that “firms are more willing to invest

in training that is specific to their firm because there is a smaller chance they will lose that

investment to competing firms.” (McCrary Rep. at ¶ 331; see also ¶¶ 120-130). The hiring

provision makes the training related to the brand specific to the franchisee (rather than just to the

brand), because it prevents other outlets from free riding on that training. All that training leads

to greater brand consistency, better food quality and customer satisfaction, which is to say a

strong brand. (McCrary Rep. at ¶ 145). A strong brand with satisfied customers leads to

additional franchise outlets, thereby increasing output of hamburgers and fries. Dr. McCrary

cites evidence that many franchisees chose a McDonald’s franchise (over other potential branded

restaurants) to open, because of the hiring provision. (McCrary Rep. at ¶ 131). That suggests

the provision itself was output enhancing in the market for hamburgers and fries. When new

outlets open, the outlets must be staffed. Thus, new restaurants also increase output in the labor

market (i.e., demand for labor).

       Dr. McCrary also opined that it does not make economic sense for McDonald’s, as

franchisor, to enable its franchisees to act as monopsony purchasers of labor. In simple terms:

       [T]he alleged monopsony conspiracy does not make economic sense for
       McDonald’s because it would lead to a reduction in labor at each franchisee,
       which would lead [to] a reduction in sales at McDonald’s restaurants. Indeed, a
       basic tenet of franchising economics is that franchisors do not benefit when their
       franchisees gain market power because franchisees will then sell less of their
       products, which undermines the brand’s growth.

(McCrary Rep. at ¶ 201(a)). To the extent a franchisee is a labor monopsonist, the franchisee

would hire less labor (reduce labor output) at a lower price. In the process, the franchisee would



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increase his profit but would be limited in his output of hamburgers, which, in turn reduces

revenue. That is because the monopsonist franchisee is still selling into a competitive market for

lunch and cannot increase price. His revenue per unit is the same, but he is selling fewer

burgers, so his revenue goes down even as his profit goes up. This is good for the franchisee, but

it is terrible for the franchisor, who is paid based on franchisees’ revenue, not profit. So, while it

might be good for the franchisee to be a labor monopsonist, it is terrible for the franchisor, who

wants to increase output of hamburgers and fries. The case of McDonald’s is slightly different,

because it also operates restaurants, the McOpCos. As Dr. McCrary points out, however,

defendant’s revenue from franchise royalties is far greater than its revenue from operating

restaurants.

       Defendants have offered enough evidence of procompetitive effects to warrant rule of

reason analysis.

                       Vertical restraint in many locations

       Second, the evidence plaintiffs put forth in connection with their motion for class

certification does not show that all of the plaintiffs faced horizontal restraints ancillary to output-

enhancing agreements. The reason the Court concluded that the plaintiff had adequately alleged

a restraint that might be subject to quick look analysis is that plaintiff had alleged a horizontal

restraint (albeit one that is ancillary to an output-enhancing agreement) by alleging that

McOpCos compete directly with franchisees for labor. “[I]n the market for employees, the

McDonald’s franchisees and McOpCos within a locale are direct, horizontal competitors.”

Deslandes, 2018 WL 3105955 at 8 (emphasis added). In her complaint, plaintiff had alleged a

provision of the franchise agreement that prohibited franchisees from hiring McDonald’s Corp.

employees within six months. That provision is part of a vertical franchise agreement (between




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franchisor and franchisee), but it is also a horizontal agreement because entities (McOpCos)

owned by the franchisor (McDonald’s Corp.) compete with the franchisees, both in selling

hamburgers and in hiring employees.

          At the class certification stage, plaintiffs want to certify a nationwide class. They have

not, however, put forth evidence that McOpCos compete with franchisees in every part of the

United States. Plaintiffs agree that only “5-10%” of the McDonald’s restaurants were owned by

McOpCos, but they do not say where those McOpCos operated. (Plfs. Brief at 3/Docket 268 at

9). The total number of McDonald’s restaurant locations exceeds 14,000. (Docket 299 at 10).

Record evidence shows that, as of 2015, only 900 out of 3000 franchisees (many of whom

owned multiple locations) operated a McDonald’s restaurant near a McOpCo-owned

McDonald’s restaurant. (King Dep. at 99/Docket 270-14 at 20). Defendants put forth evidence

that in many parts (some twenty states) of the United States, no McDonald’s restaurants are

owned by McOpCos. (Murphy Rep. at p. 10). In locations where no McOpCos compete with

franchisees, the hiring provision cannot be said to be horizontal. 5 In locations where only

franchisees compete, the hiring provision is merely vertical. Vertical restraints are judged under

the rule of reason. Leegin Creative Leather Products, Inc. v. PSKS, Inc., 551 U.S. 877, 907

(2007).

          For all of these reasons, the Court must apply rule of reason analysis to this case. The

upshot of applying rule of reason analysis to this case is that the question of whether defendants

engaged in an unreasonable restraint of trade is not a common question. It cannot be answered



5
  Plaintiffs also put forth evidence that, in 2015, the McOpCos, after raising their starting wages
by $1 per hour, decided not to hire employees from franchisees for a period of one year.
Whether that constituted a unilateral act or a horizontal agreement in connection with a vertical
relationship is not clear from the evidence. Even if it is the latter, it still would be horizontal
only where McOpCos compete with franchisees, not nationwide.

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for all of the members of the proposed class with the same evidence, because not all of the

plaintiffs sold their services in the same relevant market.

                 Relevant market

       Section 1 of the Sherman Antitrust Act, 15 U.S.C. § 1, “outlaw[s] only unreasonable

restraints” of trade. State Oil Co. v. Khan, 522 U.S. 3, 10 (1997) (emphasis added). The rule of

reason, thus,:

       requires courts to conduct a fact-specific assessment of ‘market power and market
       structure . . . to assess the [restraint]’s actual effect’ on competition. The goal is
       to ‘distinguis[h] between restraints with anticompetitive effect that are harmful to
       the consumer and restraints stimulating competition that are in the consumer’s
       best interest.’

Ohio v. American Express Co., __ U.S. __, 138 S.Ct. 2274, 2284 (2018) (citations omitted). To

establish a claim under the rule of reason, a plaintiff must first “prove that the challenged

restraint has a substantial anticompetitive effect that harms consumers in the relevant market” by

either using “[d]irect evidence” of “actual detrimental effects . . . such as reduced output,

increased prices, or decreased quality in the relevant market” or “[i]ndirect evidence” of “proof

of market power plus some evidence that the challenged restraint harms competition.” AmEx,

138 S.Ct. at 2284 (emphasis added). The burden then shifts to the defendant “to show a

procompetitive rationale for the restraint.” AmEx, 138 S.Ct. at 2284. Finally, the “burden shifts

back to the plaintiff to demonstrate that the procompetitive efficiencies could be reasonably

achieved through less anticompetitive means.” AmEx, 138 S.Ct. at 2284.

       Thus, the definition of a relevant market is essential on a rule of reason claim. AmEx,

138 S.Ct. at 2285 (“courts usually cannot properly apply the rule of reason without an accurate

definition of the relevant market”); Alston, 141 S.Ct. at 2158 (“Whether an antitrust violation

exists necessarily depends on a careful analysis of market realities.”). How precisely that




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relevant market must be defined depends on whether the alleged restraint is vertical or

horizontal. In the case of vertical restraints, a relevant market must always be defined. AmEx,

138 S.Ct. at 2285 n. 7. That is because “[v]ertical restraints often pose no risk to competition

unless the entity imposing them has market power, which cannot be evaluated unless the Court

first defines the relevant market.” AmEx, 138 S.Ct. at 2285 n. 7; see also Republic Tobacco Co.

v. North Atlantic Trading Co., Inc., 381 F.3d 717, 737 (7th Cir. 2004) (“As horizontal

agreements are generally more suspect than vertical agreements, we must be cautious about

importing relaxed standards of proof from horizontal agreement cases into vertical agreement

cases.”). In some cases of horizontal restraint, the definition of the market can be somewhat less

precise, although the general contours of the market must be apparent. AmEx, 138 S.Ct. at 2285

n. 7 (“Given that horizontal restraints involve agreements between competitors not to compete in

some way, this Court concluded that it did not need to precisely define the relevant market to

conclude that these agreements were anticompetitive.”) (citing FTC v. Indiana Federation of

Dentists, 476 U.S. 447, 460-61 (1986)). In Indiana Federation of Dentists, the Supreme Court

did not require a precise definition of the relevant market, where it was clear the competitors had

100% of the market in one town and 67% in the other, “in light of the reality that markets for

dental services tend to be relatively localized[.]” 476 U.S. at 460-61. In other words, “if a

plaintiff can show the rough contours of a relevant market, and show that the defendant

commands a substantial share of the market, then direct evidence of anticompetitive effects can

establish the defendant’s market power—in lieu of the usual showing of a precisely defined

relevant market.” Republic Tobacco, 381 F.3d at 737 (emphasis added) (“Economic analysis is

virtually meaningless if it is entirely unmoored from at least a rough definition of a product and

geographic market.”).




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        Plaintiffs have made no attempt to identify a relevant market, beyond arguing that “the

‘rough contours’ are the service market for McDonald’s restaurant workers,” (Plfs. Reply at

3/Docket 346 at 10) as though a relevant market could be limited to one brand or as though all

the plaintiffs live in one “company town.” The evidence plaintiffs have put forth in an attempt to

establish anticompetitive effects assumes that plaintiffs sell their labor in one national market, as

does their proposed class definition.

       Plaintiffs have not, however, put forth evidence that they sell their labor in a national

market, and it defies logic to suppose that they do. See Ioana Marinescu & Herbert Hovencamp,

“Anticompetitive Mergers in Labor Markets” 94 Indiana Law Journal 1031, 1048 (“The

boundaries of labor markets are driven mainly by employee skills or training. Geographic

markets are driven mainly by the location and mobility of current or prospective employees. . . .

[A]pplications for a job decline rapidly with distance[.] . . . Traditional geographic markets for

products are frequently defined in terms of shipping costs . . . Measuring geographic markets for

labor is more complex. Commuting ‘costs’ include not merely the price of a subway ticket or

gasoline, but also time and convenience, and these things frequently vary from one commuter to

another.”); see also Herbert J. Hovencamp, “Competition Policy for Labour Markets” (2019)

Faculty Scholarship at Penn Law. 2090 at ¶ 12 (“most labour markets are geographically quite

small, many of them no larger than the commuting range of employees.”).

       The Court has no doubt that national labor markets exist for certain jobs. The market for

Chief Executive Officers is an obvious example. In the market for Chief Executive Officers,

companies recruit nationally (or internationally), pay for the new hire to relocate and sometimes

allow (or require) her to commute home via the company’s private jet until she relocates. Likely,

there are many other high-skill, high-earning jobs (such as dermatologist or computer engineer)




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for which the relevant market is essentially national or regional. That could be true in any labor

market where positions are so highly-skilled or highly-paid that employers can recruit from

across the nation, because the labor is worth enough to the employer to pay for relocation and/or

the salary is sufficiently high to incentivize an employee to move. That is not, however, the

market in which these plaintiffs offer their services. As this Court has previously said about the

markets in which plaintiffs sell their labor:

       The relevant market for employees to do the type of work alleged in this case is
       likely to cover a relatively-small geographic area. Most employees who hold
       low-skill retail or restaurant jobs are looking for a position in the geographic area
       in which they already live and work, not a position requiring a long commute or a
       move. That is not to say that people do not move for other reasons and then
       attempt to find a low-skill job; the point is merely that most people do not search
       long distances for a low-skill job with the idea of then moving closer to the job.

Deslandes, 2018 WL 3105955 at *8. Even looking at the rough contours of the relevant markets

in which plaintiffs sell their labor suggests there are hundreds or thousands of local relevant

markets in this case.

       The evidence put forth at the class certification stage bears out the intuition that the

proposed class members sell their labor in local geographic markets, generally within easy

commuting distance. Defendants, for example, put forth evidence of McOpCos in Kearney,

Nebraska that, in 2015, sought approval to increase starting wages from $9.00 per hour due to

competition from local employers (which they listed as Arby’s, KFC, Taco Bell, HyVee,

Walmart, Hotels, Qdoba, Jimmy Johns, Applebees, Buffalo Wild Wings, Perkins, Burger King,

Culvers and The Buckle), many of whom paid $10 per hour. (Docket 310-4 at 10-12).

Defendants put forth evidence of franchisees’ declaring that they compete for employees with

local employers. [Docket 310-12 at 5 (“We sometimes offer raises to retain employees sought

by other local employers, including quick-service restaurants like Wendy’s and retail stores like




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Wal-Mart, among many others.”); Docket 310-12 at 14 (“The McDonald’s stores I oversee [in

Orlando] compete for employees with the theme parks nearby, such as Disney and Universal, as

well as Culver’s, Wendy’s, Chipotle, and other retail establishments.”); Docket 310-12 at 21-22

(“The main competitors for labor in the Jacksonville market are the other quick service

restaurants in the vicinity of our restaurants. Comparatively, the main competitors for labor in

the Orlando market are the other quick service restaurants, as well as theme parks, Wal-Mart,

Sam’s Club, and Costco. . . . [W]e have offered raises to retain employees sought by other local

employers. These employers include other quick-service restaurants, such as Krystals,

LongHorn Steakhouses, KFCs, Papa John’s, Panera Breads, Starbucks, Chick-fil-A’s, Burger

Kings, Little Caesars, Panda Expresses, Wendy’s, and Fire House Subs—all of which (among

others) are located throughout Jacksonville near the restaurants operated by [us].”; Docket 310-

12 at 29 & 31 (“The main competitors for both workforce and customers to my McDonald’s-

brand restaurants in the Northern Kentucky region are other quick service restaurants such as

Wendy’s and Burger King.” . . . “The turnover rate for my restaurants at the hourly crew person

level is 139%. Most of the employees who leave fall into three categories: 1) Looking for a

more specific shift (9:00 a.m. to 5:00 p.m. and/or no weekend shifts); 2) the company can

provide more hours then we can; or 3) increased pay. For example, the local Amazon

distribution center offers higher pay and more consistent weekly hours.”)].

       The expert opinions are consistent with that evidence. Even Dr. Peter Capelli (“Dr.

Capelli”), one of plaintiffs’ experts, recognized that crew members likely sell their labor in local

markets. (Capelli Dep. at 235-36/Docket 302-1 at 608-09) (“My testimony is that for the

restaurant employees in particular, the crew employees, there may be labor markets of different

geographic size and that the key issue there might not even be size, it might be commuting




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distance.”). Dr. McCrary said something similar. (McCrary Rep. at ¶ 288) (“McDonald’s

franchisees also report surveying competitors in their geographic location in order to set market-

driven wages.”) (emphasis added). Dr. Murphy, defendants’ other expert (the admissibility of

whose report plaintiffs did not challenge), similarly opined:

       For low-skilled and relatively low-wage workers, such as the majority of those in
       the putative class, evidence suggests that labor markets generally are local.
       Commuting time and costs likely are too high for distant employers to be
       reasonable alternatives for most employees. There are certain fixed time and
       monetary costs of relocating (finding a new place to live, moving children into
       new schools) and those costs likely are relatively high the lower the expected
       increased earnings from relocating. Given average wages at [quick service
       restaurants], and other employers that individual McDonald’s restaurants consider
       to be their competitors, it is unlikely that employees will seek opportunities more
       than a few miles from where they reside.

(Dr. Murphy Rep. at ¶ 109). Dr. Hal J. Singer (“Dr. Singer”), plaintiffs’ expert, calculated that

only 8% of McDonald’s employees commute ten or more miles to work. (Singer Rep. at ¶

64/Docket 270-5 at 54). Thus, about 92% of McDonald’s employees work within ten miles of

home. The relevant market for each plaintiff’s labor is a small, geographic area. There are likely

hundreds or thousands of relevant markets among the class members.

       Any given plaintiff can establish that the restraint is anticompetitive only by showing

anticompetitive effects in the relevant market where she sells her labor. Those markets vary by

plaintiff, which means this is not a question that can be answered with common evidence. It is

simply not a question that is common to a nationwide class. To be sure, this might be a common

question as to the subset of plaintiffs who work in each of the respective relevant markets across

the country. For example, this is likely a common question as to every plaintiff in the relevant

market of, say, the Chicago Loop (which relevant market perhaps includes areas within a mile or

two radius thereof). It is not, however, a common question as to the nationwide class these

plaintiffs ask to certify. Plaintiffs do not seek to certify smaller subclasses.



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         The issue of anticompetitive effects in relevant markets will predominate. It will

undoubtedly be true that in some relevant markets, McDonald’s restaurants will have so many

competitors for labor that the restraint will have no anticompetitive effect. In other markets,

McOpCos and franchisees may have so little outside competition for employees that the restraint

will impact the market. The anticompetitive effects of the restraint will have to be judged

separately for each of the hundreds (or thousands) of relevant markets, and that will be the

predominant issue, especially if, as plaintiffs assert, antitrust impact is a common question (an

issue this Court need not address). 6

         The proposed class does not meet the predominance requirement of Rule 23(b).

                3.      Adequacy

         Rule 23(a)’s requirement that “the representative parties will fairly and adequately

protect the interests of the class,” has two components: the adequacy of the named plaintiffs and




6
  Because the Court has determined that the question of whether the restraint caused
anticompetitive effects in the hundreds (or thousands) of relevant markets will predominate, the
Court need not consider whether the question of antitrust impact is a common question. (It is
difficult, though, to imagine that it could be a common question, as opposed to a question that
would need to be answered separately for each relevant market. Each person’s injury is the
amount his or her wages were suppressed multiplied by the hours worked. The amount each
person’s wages are suppressed will almost certainly vary depending on the amount of labor
market power McDonald’s possessed in each relevant market. See, e.g. State of Ala. v. Blue Bird
Body Co., Inc., 573 F.2d 309, 327-28 (5th Cir. 1978) (“This proof of injury in a price-fixing case
will generally consist of some showing by the plaintiff that, as a result of this conspiracy, he had
to pay supracompetitive prices for school buses. . . . [W]e do not understand how the plaintiffs
can make this proof without examining the relevant school bus market where each individual
plaintiff is located.”).) Because the Court need not consider whether impact is a common
question, the Court need not decide whether to exclude the report and testimony of plaintiff’s
expert, Dr. Singer. See Messner, 669 F.3d at 812 (“When an expert’s report or testimony is
‘critical to class certification,’ we have held that a district court must make a conclusive ruling
on any challenge to that expert’s qualifications or submissions before it may rule on a motion for
class certification.”). Here, the outcome of this motion is the same with or without Dr. Singer’s
report and testimony. The same is true as to the report and testimony of Dr. Capelli.

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the adequacy of proposed class counsel. See Gomez v. St. Vincent Health, Inc., 649 F.3d 583,

592 (7th Cir. 2011) (citations omitted).

       One of the reasons why courts insist that class counsel be adequate is:

       the incentive of class counsel, in complicity with the defendant’s counsel, to sell
       out the class by agreeing with the defendant to recommend that the judge approve
       a settlement involving a meager recovery for the class but generous compensation
       for the lawyers[.]

Creative Montessori Learning Centers v. Ashford Gear LLC, 662 F.3d 913, 918 (7th Cir. 2011).

The Seventh Circuit recognizes:

        There is . . . a much greater conflict of interest between the members of the class
       and the class lawyers than there is between an individual client and his lawyer.
       The class members are interested in relief for the class but the lawyers are
       interested in their fees, and the class members’ stakes in the litigation are too
       small to motivate them to supervise the lawyers in an effort to make sure that the
       lawyers will act in their best interests.

Thorogood v. Sears, Roebuck and Co., 547 F.3d 742, 744 (7th Cir. 2008) (citations omitted).

That is of “particular significance” where class members “lack both the monetary stake and the

sophistication in legal and commercial matters that would motivate and enable them to monitor

the efforts of class counsel on their behalf.” Creative Montessori, 662 F.3d at 917.

       Accordingly, “[a]nything ‘pertinent to counsel’s ability to fairly and adequately represent

the class,’” bears “on the class certification decision.” Reliable Money Order, Inc. v. McKnight

Sales Co., Inc., 704 F.3d 489, 498 (7th Cir. 2013) (citations omitted). Among other things, a

court “must . . . consider counsel’s work on the case to date.” Reliable Money Order, 704 F.3d

at 498 n. 7; see also Nagel v. ADM Investor Services, Inc., 65 F. Supp.2d 740, 746 (N.D. Ill.

1999) (Easterbrook, J.) (“One important part of a judge’s job under Rule 23 is to protect putative

class members from self-appointed champions whose work is not up to snuff.”).




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         Even were it not the case that individual issues will predominate, the Court would be

hesitant to certify the proposed class. One unusual aspect of this case is that, while plaintiffs

cannot prevail as class, they could lose as one. That owes to the fact that counsel for the named

plaintiff made a strategic decision early in this case not to amend the complaint to add a claim

under the rule of reason. If the Court certified a nationwide class (which, again, would not be

appropriate for the reasons outlined above), it would be to the great detriment of the class. The

class members would lose on a rule-of-reason claim, because their attorneys waived it. 7 Dr.

Singer, plaintiffs’ expert, calculated aggregate class damages at $2.74 billion. (Singer Rep. at ¶

5/Docket 270-5 at 9). It is no surprise, then, that attorneys might take a shot at a nationwide-

class jackpot (of which they might hope to collect a third, which is about $913,000,000.00)

rather than propose a small, local class under the rule of reason. The reward to any given

plaintiff would likely be quite similar whether he proceeded as part of a small, local class or a

massive nationwide class. Only the lawyers had something to gain by foregoing a claim under

the rule of reason, which makes one wonder whether the attorneys were looking out mostly for

themselves when they chose not to amend to add a claim under the rule of reason. Perhaps these

attorneys took a gamble, choosing not to pursue a rule-of-reason claim in the hopes of the huge

reward of certifying a nationwide class under quick-look analysis. Such a self-interested

decision would not instill confidence that the attorneys would adequately represent the class.



7
 One might think this would have prompted defendants to consent to certification of a class,
such that they could win with one fell swoop. Thomas v. UBS AG, 706 F.3d 846, 850 (7th Cir.
2013) (“[Defendant] opposed [class] certification even though a defendant with a winning case
has much to gain from it—the judgment for a defendant will be res judicata in any suit by a class
member who had not opted out of the class, provided ‘that the named plaintiff at all times
adequately represent the interests of absent class members.’”) (citation omitted). Perhaps
defendants assume most plaintiffs will opt out of a doomed-to-fail class. In any case, defendants
do not want a nationwide class certified, and they will get their wish.



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         This case will not proceed as a class action. 8 When plaintiff filed her complaint, it

“toll[ed] the applicable statute of limitations for all persons encompassed by the class

complaint.” China Agritech, Inc. v. Resh, __ U.S. __, 138 S.Ct. 1800, 1804 (2018) (citing

American Pipe & Constr. Co. v. Utah, 414 U.S. 538 (1974)); see also Collins v. Village of

Palatine, Ill., 875 F.3d 839, 843 (7th Cir. 2017) (“the filing of a proposed class action

immediately pauses the running of the statute of limitations for all class members.”). Each class

member remains free to pursue his or her own claim. China Agritech, 138 S.Ct. at 1810.

III.     CONCLUSION

         For all of these reasons, plaintiffs’ motions [268, 269] for class certification are denied.

Defendants’ Daubert motions [301, 307] to exclude the expert testimony of Dr. Singer are

denied (without prejudice) as moot, and defendants’ Daubert motions [300, 304] to exclude the

expert testimony of Dr. Capelli are denied (without prejudice) as moot. Plaintiff’s unopposed

motion [288] to file supplemental expert report is granted. Defendants’ motion to [348] file

surreply is granted.




8
  The problems discussed above are not the only problems with the proposed class definition. As
defendants point out, the proposed class is overly broad in that it contains individuals who could
not have been injured by the alleged wrongful conduct. “[I]f the [class] definition is so broad
that it sweeps within it persons who could not have been injured by the defendant’s conduct, it is
too broad.” Kohen v. Pacific Inv. Mgt. Co., LLC, 571 F.3d 672, 677 (7th Cir. 2009); Messner,
669 F.3d at 824 (“If, however, a class is defined so broadly as to include a great number of
members who for some reason could not have been harmed by the defendant’s allegedly
unlawful conduct, the class is defined too broadly to permit certification.”). Here, plaintiffs
challenge a hiring restriction that applies only to current employees or employees who have left
in the past six months. It can have no effect on new hires or on employees within the first few
weeks of work. More than 2% of new hires leave within two weeks. More than 11% leave
within a month. More than 20% leave within two months. (Figure 12 of Dr. Murphy Rep. at p.
67). It is clear the proposed class definition was too broad, but the Court need not decide by
what degree.



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     This case is set for status hearing on October 5, 2021 at 9:30 a.m.



SO ORDERED.                                               ENTERED: July 28, 2021



                                                          ______________________
                                                          HON. JORGE ALONSO
                                                          United States District Judge




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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

LEINANI DESLANDES,                     )
                                       )
             Plaintiff,                )
                                       )        No. 17 C 4857
                                       )
      v.                               )
                                       )        Judge Jorge L. Alonso
McDONALD’S USA, LLC,                   )
McDONALD’S CORPORATION, and            )
DOES 1 through 10,                     )
                                       )
             Defendants.               )
______________________________________________________________________________

STEPHANIE TURNER,                                 )
                                                  )
               Plaintiff,                         )
                                                  )          No. 19 C 5524
                                                  )
       v.                                         )
                                                  )          Judge Jorge L. Alonso
McDONALD’S USA, LLC, and                          )
McDONALD’S CORPORATION,                           )
                                                  )
               Defendants.                        )


                            MEMORANDUM OPINION AND ORDER

       After a hiring restriction prevented plaintiff Leinani Deslandes (“Deslandes”) from taking

a better-paying position with a rival McDonald’s outlet, she filed this suit seeking relief under

Section 1 of the Sherman Antitrust Act, 15 U.S.C. § 1. Stephanie Turner (“Turner”) filed a

related suit, 19-cv-5524, which is consolidated with this one. Defendants have filed a motion for

judgment on the pleadings or, in the alternative, for summary judgment. Plaintiffs, too, have




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filed a motion for summary judgment. 1 For the reasons set forth below, plaintiffs’ motion is
                                       0F




denied. Defendants’ motion is granted in part and denied in part.

I.       BACKGROUND

         In 2017, Deslandes filed a three-count amended complaint challenging a no-hire

provision in McDonald’s franchise agreements. In Count I, Deslandes asserted that the no-hire

provision was an unlawful restraint of trade under Section 1 of the Sherman Antitrust Act. 2 In
                                                                                             1F




her amended complaint (familiarity with which is assumed), plaintiff alleged that the two

defendants (McDonald’s Corporation and its wholly-owned subsidiary McDonald’s USA, LLC)

served as the franchisor for the ubiquitous McDonald’s restaurants. (Plaintiffs usually refer to

the two defendants collectively as McDonald’s, and the Court does, as well.)

         Deslandes also alleged that each franchisee signed a franchise agreement that contained a

no-hire restriction, which read:

         Franchisee shall not employ or seek to employ any person who is at the time
         employed by McDonald’s, any of its subsidiaries, or by any person who is at the
         time operating a McDonald’s restaurant or otherwise induce, directly or
         indirectly, such person to leave such employment. This paragraph [] shall not be
         violated if such person has left the employ of any of the foregoing parties for a
         period in excess of six (6) months.

(Am. Complt. ¶ 87). Plaintiff further alleged that, although many McDonald’s restaurants were

owned and operated by franchisees, many other McDonald’s restaurants were owned and

operated by subsidiaries of defendant McDonald’s Corporation. The parties refer to the

restaurants owned by McDonald’s Corporation as McOpCos. Deslandes alleged that the

McOpCos competed directly with restaurants owned by franchisees.



1
 Although the parties intend for the motions to apply to both cases, they are filed on the docket
of the Deslandes case.
2
    The other two counts were previously dismissed with prejudice.

                                                 2




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       In her amended complaint, Deslandes styled her Sherman Act claim as a restraint that is

unlawful either per se or under quick-look analysis. Defendants disagreed and filed a motion to

dismiss. In their motion to dismiss, defendants argued that the restraint was most appropriately

analyzed under the rule of reason, such that plaintiff, in order to state a plausible claim, was

required to include in her complaint allegations of market power in the relevant market.

Deslandes had not included such allegations.

       In ruling on the motion to dismiss, the Court concluded that Deslandes had stated a claim

for a restraint that might be unlawful under quick-look analysis. Deslandes v. McDonald’s USA,

LLC, Case No. 17-cv-4847, 2018 WL 3105955 at *8 (N.D. Ill. June 25, 2018) (“Deslandes I”).

(Familiarity with that decision is assumed.) The Court reasoned that plaintiff, by alleging that

the McOpCos compete directly with the franchisees, had adequately alleged a horizontal

restraint, because the restraint prevented defendants’ competitors (the franchisees) from hiring

defendants’ employees. Deslandes I, 2018 WL 3105955 at *6. The Court further concluded that

the alleged restraint could not be illegal per se, because it was ancillary to an output-enhancing

agreement, namely the franchise agreement itself, which increased output of burgers and fries.

Deslandes I, 2018 WL 3105955 at *7.

       In denying the motion to dismiss and allowing plaintiff’s claim to proceed on the theory

that the alleged restraint might be unlawful under a quick look, the Court gave plaintiff an

explicit but time-limited opportunity to amend her complaint to add allegations that would

support the finding of an unlawful restraint under the rule of reason. Specifically, the Court said:

               Though the Court has concluded that plaintiff has stated a claim for a
       restraint that might be unlawful under quick-look analysis, the evidence at a later
       stage may not support it. As defendants have pointed out, plaintiff has not
       attempted to plead a claim under the rule of reason. This is perhaps unsurprising.
       To state a claim under the rule of reason, a plaintiff must allege market power in a
       relevant market. The relevant market for employees to do the type of work



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       alleged in this case is likely to cover a relatively-small geographic area. Most
       employees who hold low-skill retail or restaurant jobs are looking for a position in
       the geographic area in which they already live and work, not a position requiring
       a long commute or a move. That is not to say that people do not move for other
       reasons and then attempt to find a low-skill job; the point is merely that most
       people do not search long distances for a low-skill job with the idea of then
       moving closer to the job. Plaintiff, though, seeks to represent a nationwide class,
       and allegations of a large number of geographically-small relevant markets might
       cut against class certification. Nonetheless, if plaintiff decides she would like to
       include a claim under the rule of reason, she has leave to amend, but she must do
       so soon, within 28 days.

Deslandes I, 2018 WL 3105955 at *8. (emphasis added). Deslandes chose not to amend.

       The parties proceeded with discovery, and, eventually, plaintiffs Deslandes and Turner

(who had, by that time, filed a similar suit that was consolidated with this one) moved to certify a

nationwide class of persons who were employed by a McDonald’s restaurant during a five-year

period. This Court denied the motion for class certification. Deslandes v. McDonald’s USA,

LLC, Case No. 17 C 4857, 2021 WL 3187668 (N.D. Ill. July 28, 2021) (“Deslandes II”).

(Familiarity with that decision is assumed.)

       The primary reason why the Court denied class certification was its conclusion that

individual issues would predominate. That conclusion stemmed from the conclusion that the

restraint in this case would have to be judged under the rule of reason, which meant each plaintiff

would need to establish that the restraint was anticompetitive in the relevant market in which she

sold her labor. This Court explained in great detail its reasons for concluding that rule-of-reason

analysis would apply. Deslandes II, 2021 WL 3187668 at *7-11. Those reasons included that

the Supreme Court had recently decided, in a unanimous decision, that claims regarding

restraints of trade “presumptively” call for rule-of-reason analysis. Deslandes II, 2021 WL

3187668 at *7 (citing NCAA v. Alston, __ U.S. __, 141 S.Ct. 2141 (2021)). Next, the Court

explained that in many parts of the country (some twenty states), the no-hire agreement was only




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a vertical agreement between franchisor and franchisee, because, in those areas, no McOpCos

competed with franchisee restaurants. Deslandes II, 2021 WL 3187668 at *10. Vertical

agreements are judged under the rule of reason. Leegin Creative Leather Products, Inc. v. PSKS,

Inc., 551 U.S. 877, 907 (2007). Finally, defendants had put forth sufficient evidence of

procompetitive effects to warrant consideration of the restraint under the rule of reason.

Deslandes II, 2021 WL 3187668 at *8-10.

        Because this Court denied class certification, this case is not a class action. What

remains of this case are the individual claims of two plaintiffs, Deslandes and Turner. Each

seeks relief under the Sherman Act for alleged reduced wages resulting from the no-hire

restriction.

        Before the Court is defendants’ motion for judgment on the pleadings, or, in the

alternative, summary judgment. As defendants point out, neither Deslandes nor Turner ever

included in her respective complaint a plausible claim under the rule of reason, which is to say

neither ever alleged a relevant market within which defendants have market power to suppress

wages. Plaintiffs, too, have filed a motion for summary judgment.

        The following facts are undisputed unless otherwise noted. 32F




3
  Local Rule 56.1 outlines the requirements for the introduction of facts parties would like
considered in connection with a motion for summary judgment. The Court enforces Local Rule
56.1 strictly. See FTC v. Bay Area Business Council, Inc., 423 F.3d 627, 633 (7th Cir. 2005)
(“Because of the important function local rules like Rule 56.1 serve in organizing the evidence
and identifying disputed facts, we have consistently upheld the district court’s discretion to
require strict compliance with those rules.”). At the summary judgment stage, a party cannot
rely on allegations; she or it must put forth evidence. Fed.R.Civ.P. 56(c)(1)(A); see also Grant v.
Trustees of Indiana Univ., 870 F.3d 562, 568 (7th Cir. 2017) (“As the ‘put up or shut up’
moment in a lawsuit,’ summary judgment requires a non-moving party to respond to the moving
party’s properly-supported motion by identifying specific, admissible evidence showing that
there is a genuine dispute of material fact for trial.”). Where one party supports a fact with
admissible evidence (i.e., not complaint allegations) and the other party fails to controvert the
fact with citation to admissible evidence (i.e., not complaint allegations), the Court deems the

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        Deslandes, at some point (the parties do not say when) was employed by a franchisee in a

McDonald’s restaurant in Apopka, Florida, near Orlando. Within three miles of Deslandes’s

home were two McDonald’s restaurants and between 42 and 50 other quick-service restaurants.

Within ten miles of Deslandes’s home were 517 quick-service restaurants.

        Turner was employed, at some point (the parties do not say when), by a McOpCo in

Covington, Kentucky. She was also employed, at some point (the parties do not say when), by a

franchisee to work in McDonald’s restaurants located in Florence, Hebron and Erlander,

Kentucky. Within ten miles of Turner’s home were 253 quick-serve restaurants.

II.     STANDARD

        A motion for judgment on the pleadings “is subject to the same standard as a motion to

dismiss under Rule 12(b)(6).” Gill v. City of Milwaukee, 850 F.3d 335, 339 (7th Cir. 2017).

Thus, the question is whether a plaintiff’s complaint states a claim that is plausible on its face,

meaning it “allows the court to draw the reasonable inference that defendant is liable for the

misconduct alleged.” Gill, 850 F.3d at 339 (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009)).

        Summary judgment shall be granted “if the movant shows that there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter of law.” Fed.R.Civ.P.

56(a). When considering a motion for summary judgment, the Court must construe the evidence

and make all reasonable inferences in favor of the non-moving party. Hutchison v. Fitzgerald

Equip. Co., Inc., 910 F.3d 1016, 1021 (7th Cir. 2018). Summary judgment is appropriate when



fact admitted. See Curtis v. Costco Wholesale Corp., 807 F.3d 215, 218-19 (7th Cir. 2015);
Ammons v. Aramark Uniform Servs., Inc., 368 F.3d 809, 817-18 (7th Cir. 2004). This does not,
however, absolve the party putting forth the fact of the duty to support the fact with admissible
evidence. See Keeton v. Morningstar, Inc., 667 F.3d 877, 880 (7th Cir. 2012).



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the non-moving party “fails to make a showing sufficient to establish the existence of an element

essential to the party’s case and on which that party will bear the burden of proof at trial.”

Celotex v. Catrett, 477 U.S. 317, 322 (1986). “A genuine issue of material fact arises only if

sufficient evidence favoring the nonmoving party exists to permit a jury to return a verdict for

that party.” Brummett v. Sinclair Broadcast Group, Inc., 414 F.3d 686, 692 (7th Cir. 2005).

III.     DISCUSSION

         A.     Motion for judgment on the pleadings

         Defendants’ theory as to why they are entitled to judgment on the pleadings is that the

Court has already determined that this case must be analyzed under the rule of reason, and

neither plaintiff included in her respective complaint allegations that plausibly suggest the

restraint would be unlawful under rule-of-reason analysis. Specifically, neither Deslandes nor

Turner alleged in her respective complaint the relevant market in which she sold her labor or that

McDonald’s had market power in that relevant market. Such allegations are necessary to state a

plausible claim that a restraint is unlawful under the rule of reason. Agnew v. National

Collegiate Athletic Ass’n, 683 F.3d 328, 347 (7th Cir. 2012) (affirming dismissal of rule-of-

reason claim where plaintiff failed to allege that defendant had market power within a relevant

market); see also Deslandes II, 2021 WL 3187668 at *11 (describing the importance of defining

a relevant market in vertical and horizontal restraint cases). In Agnew, the Seventh Circuit

explained:

         Under a Rule of Reason analysis, the plaintiff carries the burden of showing that
         an agreement or contract has an anticompetitive effect on a given market within a
         given geographic area. As a threshold matter, a plaintiff must show that the
         defendant has market power—that is, the ability to raise prices significantly
         without going out of business—without which the defendant could not cause
         anticompetitive effects on market pricing.

Agnew, 683 F.3d at 335 (internal citation omitted).



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        When this Court concluded that the restraint at issue must be judged under the rule of

reason, it considered information outside the pleadings. The conclusion, however, is the same

based solely on the pleadings. “[A]ntitrust courts must give wide berth to business judgments

before finding liability.” Alston, 141 S.Ct. at 2163. Deslandes’s and Turner’s claims

“presumptively” call for rule-of-reason analysis. Alston, 141 S.Ct. at 2151 (“Determining

whether a restraint is undue for purposes of the Sherman Act ‘presumptively’ calls for what we

have described as ‘rule of reason analysis.’”).

        In Alston, the Supreme Court explained that a quick look suffices:

        only for restraints at opposite ends of the competitive spectrum. For those sorts of
        restraints—rather than restraints in the great in-between—a quick look is
        sufficient for approval or condemnation.

Alston, 141 S.Ct. at 2155 (emphasis added). On one end of that spectrum, the Supreme Court

explained, are restraints that are “so obviously incapable of harming competition that they

require little scrutiny,” such as joint ventures commanding such a small share of the market (say,

5-6%) that any reduction in output would be made up by the rest of the market. Alston, 141 S.Ct.

at 2155-56. On the opposite end of the spectrum are those “agreements among competitors” that

“so obviously threaten to reduce output and raise prices that they might be condemned” after a

quick look. Alston, 141 S.Ct. at 2156. The Supreme Court said such quick-look condemnations

should be rare, explaining, “we take special care not to deploy these condemnatory tools until we

have amassed ‘considerable experience with the type of restraint at issue’ and ‘can predict with

confidence that it would be invalidated in all or almost all instances.’” Alston, 141 S.Ct. at 2156

(citing Leegin Creative Leather Products, Inc. v. PSKS, Inc., 551 U.S. 877, 886-887 (2007)).

The restraint at issue in this case falls in “the great in-between” of restraints that require rule-of-

reason analysis. This Court cannot say that it has enough experience with no-hire provisions of




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franchise agreements to predict with confidence that they must always be condemned, which

means, under Alston, that the Court must apply rule-of-reason analysis to this case.

        Accordingly, the Court also rejects Turner’s and Deslandes’s argument that the alleged

restraint is unlawful per se. Per se treatment is outside quick-look treatment on either end of the

spectrum and is, thus, even more rare than quick-look analysis. This Court previously rejected,

at the motion-to-dismiss stage, the idea that Deslandes had alleged a restraint that was unlawful

per se. Deslandes I, 2018 WL 3105955 at *7. The alleged restraint was specifically alleged to

be part of a franchise agreement, which is to say it was ancillary to an agreement that was output

enhancing in the market for fast food. Thus, though the restraint as alleged in the plaintiffs’

respective complaints had horizontal elements (in that the franchisees competed with the

franchisor for labor), the restraint is not per se unlawful because it “may contribute to the success

of a cooperative venture that promises greater productivity and output.” Polk Bros., Inc. v.

Forest City Enterprises, Inc., 776 F.2d 185, 189 (7th Cir. 1985). Such restraints are judged

under the rule of reason. Polk Bros., 776 F.2d at 188-89 (“A court must distinguish between

‘naked’ restraints, those in which the restriction on competition is unaccompanied by new

production or products, and ‘ancillary’ restraints, those that are part of a larger endeavor whose

success they promote.”). 4 The restraint plaintiffs allege must be judged under the rule of reason.
                         3F




4
 The restraint alleged by Deslandes and Turner is similar to dual distribution, where a
“manufacturer simultaneously sells to independent dealers and to those who might otherwise be
customers of those dealers.” Phillip E. Areeda & Herbert Hovencamp, Antitrust Law: An
Analysis of Antitrust Principles and Their Application ¶ 1605a (4th and 5th Editions, 2015-
2021). Such arrangements are generally judged under the rule of reason, because the restraints
generally “serve legitimate purposes without harming market competition.” Id. ¶ 1605c (“The
manufacturer’s own presence at the dealer level in no way alters its strategy for profit
maximization. That presence would not induce it to impose restraints that reward dealers with
excess profits, because such profits necessarily reduce its own manufacturer-level profits.”); see
also Krehl v. Baskin-Robbins Ice Cream Co., 664 F.2d 1348, 1357 (9th Cir. 1982) (“dual
distribution systems must be evaluated under the traditional rule of reason standard”).

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       Next, plaintiffs argue that they were not required to amend their complaints to add rule-

of-reason allegations, because they need not plead legal theories. Plaintiffs are correct that

“[f]ederal pleading rules . . . do not countenance dismissal of a complaint for imperfect statement

of the legal theory supporting the claim asserted.” Johnson v. Shelby, 574 U.S. 10, 11 (2014).

That does not, however, absolve either of these plaintiffs of the obligation to “plead facts

sufficient to show that her claim has substantive plausibility.” Johnson, 574 U.S. at 12 (citing

Bell Atlantic Corp. v. Twombly, 550 U.S. 554 (2007); Ashcroft v. Iqbal, 556 U.S. 662 (2009)). In

other words, this Court would not dismiss either plaintiff’s antitrust claim for failing to include

the words “rule of reason” in her respective complaint. The Court can, however, dismiss such a

claim for failure to include allegations of market power in a relevant market, because those are

the facts necessary to render plausible a claim that a restraint is unlawful under rule-of-reason

analysis. Deslandes and Turner failed to include such facts.

       Nor are plaintiffs saved by their suggestion that employment by McDonald’s restaurants

constitutes a market all its own, separate from the market for employment by other quick-serve

restaurants. Plaintiffs could have sold their labor to other customers. As the Seventh Circuit has

explained:

       Suppose that a well-conducted survey shows that vanilla is people’s favorite
       flavor of ice cream, and by a large margin. It would not follow that vanilla ice
       cream is a separate market, because if its price rises any other ice cream producer
       could make more vanilla and less chocolate or pistachio. For a closely related
       reason, [the expert’s] conclusion that at-shelf coupons uniquely appeal to
       ‘impulse shoppers’ (that is, shoppers who do not prepare in advance by clipping
       coupons from the Sunday supplements) does not identify an economic market.
       Attributes of shoppers do not identify markets. An example from United States v.
       Rockford Memorial Corp., 989 F.2d 1278, 1284 (7th Cir. 1990), shows why.
       Suppose that diabetics must drink low-calorie soft drinks, if any at all. Could
       producers of artificially sweetened soft drinks raise prices as a result of those
       ‘locked in’ customers? No, they could not. A price increase not only would drive
       nondiabetic customers to other products but also would induce rivals to switch
       some of their production from standard drinks to artificially sweetened ones. The



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         healthy customers, and the products, combine to protect the diabetic customers.
         Just so with coupons. Careful shoppers and other producers protect the impulse
         buyers (or, to be accurate, protect the manufacturers that want to sell to impulse
         buyers).

Menasha Corp. v. News Am. Mkg. In-Store, Inc., 354 F.3d 661, 665 (7th Cir. 2004) (emphasis

added). The idea that Deslandes and Turner sold their labor in market that was limited to

McDonald’s outlets is implausible. They could have sold their labor to other buyers. As in

Agnew:

         Plaintiffs appear to have made the strategic decision to forgo identifying a specific
         relevant market. Whatever the reasons for the strategic decision, they cannot now
         offer post hoc arguments attempting to illuminate a buried market allegation.

Agnew, 683 F.3d at 347. Neither plaintiff alleged, in her respective complaint, a relevant market

or that defendants had market power in that relevant market.

         In a footnote, plaintiffs request leave to amend. It is far too late for that. On June 25,

2018, this Court explicitly gave plaintiff Deslandes an opportunity to file an amended complaint

in order to add allegations that defendants had market power in the relevant market. [Docket 53

at 16]. The Court set a deadline of July 23, 2018 for the amendment. [Docket 53 at 16].

Deslandes did not file an amended complaint, and, thus, as this Court has mentioned in multiple

orders, plaintiff waived the chance to add those allegations. Plaintiffs argue that plaintiff Turner

was not given a deadline for amending her complaint. The reason the Court did not set an

explicit deadline for Turner was that such a deadline was unnecessary. When Turner asked this

Court to consolidate her case with Deslandes’s, she specifically stated that she was asserting the

same claim as Deslandes. (Docket 146 at 5) (“Ms. Turner’s addition to the case will not

significantly impact the scope of discovery as she will assert the same legal theories as Ms.

Deslandes.”) (emphasis added). It is far too late in this case, after discovery has closed, for

either plaintiff to add allegations of market power in the relevant market. Cf. Chapman v. First



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Index, Inc., 796 F.3d 783, 785 (7th Cir. 2015) (“a district court has discretion to reject an attempt

to remake a suit more than four years after it began”). Plaintiffs have not shown good cause for

this Court to relieve them of a strategy they chose years ago. Their neglect to amend in 2018 is

not excusable.

       Finally, the Court notes that amendment would be futile. As this Court has previously

explained, the relevant geographic market for the type of labor Deslandes and Turner were

selling is a small, local area. This Court explained why, at length, previously. Deslandes, 2021

WL 3187668 at *12-13. It would be futile for either plaintiff to amend. It is undisputed that,

within three miles of Deslandes’s home were two McDonald’s restaurants and between 42 and

50 other quick-serve restaurants. Within ten miles of Deslandes’s home were 517 quick-serve

restaurants. Accordingly, Deslandes cannot plausibly allege that defendants had market power in

the relevant market within which she sold her labor. Within ten miles of Turner’s home were

253 quick-serve restaurants. Accordingly, Turner cannot plausibly allege that defendants had

market power in the relevant market in which Turner sold her labor. Without market power,

defendants could not suppress plaintiffs’ wages; another buyer would step in to pay plaintiffs

more. See Alston, 141 S.Ct. at 2156 (citing Polk Bros, 776 F.2d at 191 (“Unless the firms have

the power to raise price by curtailing output, their agreement is unlikely to harm consumers, and

it makes sense to understand their cooperation as benign.”)). Amendment would be futile.

       Deslandes failed to allege plausibly that the restraint is unlawful under rule-of-reason

analysis. She declined to amend when she had the chance, and now it is too late. Defendants are

entitled to judgment on the pleadings with respect to Count I of Deslandes’s amended complaint.

The same is true with respect to Turner. Defendants are entitled to judgment on the pleadings on

Count I of her complaint.




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        B.     Motions for summary judgment

        Accordingly, the cross motions for summary judgment are denied as moot.

IV.     CONCLUSION

        For these reasons, defendants’ motion [378] for judgment on the pleadings or for

summary judgment is granted in part and denied in part. Plaintiffs’ motion [390, 393] for

summary judgment is denied as moot. Defendants’ motions [409, 411] to exclude experts are

denied as moot. Defendants are granted judgment on the pleadings with respect to Count I of

Deslandes’s amended complaint. Deslandes’s claims against Does 1-10 are dismissed for want

of prosecution.

        Defendants are granted judgment on the pleadings with respect to Count I of Turner’s

complaint. Civil case terminated.



SO ORDERED.                                                ENTERED: June 28, 2022



                                                           ______________________
                                                           HON. JORGE ALONSO
                                                           United States District Judge




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            Case:
ILND 450 (Rev.         1:17-cv-04857
               04/29/2016) Judgment in a CivilDocument
                                              Action   #: 470 Filed: 08/30/22 Page 1 of 1 PageID #:40242

                                  IN THE UNITED STATES DISTRICT COURT
                                                FOR THE
                                     NORTHERN DISTRICT OF ILLINOIS

 Leinani Deslandes

 Plaintiff(s),
                                                               Case No. 1:17-cv-4857
 v.                                                            Judge Jorge L. Alonso

 McDonald's USA, LLC et al,

 Defendant(s).

                                   AMENDED JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                 in favor of plaintiff(s)
                 and against defendant(s)
                 in the amount of $       ,

                          which     includes       pre–judgment interest.
                                    does not include pre–judgment interest.

         Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

         Plaintiff(s) shall recover costs from defendant(s).


                 in favor of defendant(s) McDonald’s USA, LLC, McDonald’s Corporation, Does 1-10
                 and against plaintiff(s) Leinani Deslandes


                 other:


This action was (check one):

      tried by a jury with Judge         presiding, and the jury has rendered a verdict.
      tried by Judge         without a jury and the above decision was reached.
      decided by Judge Jorge L. Alonso on the pleadings.


Date: 8/30/2022                                         Thomas G. Bruton, Clerk of Court

                                                        Lesley Fairley, Deputy Clerk




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ILND 450 (Rev. Case:    1:19-cv-05524
               04/29/2016)                      Document #: 104 Filed: 08/30/22 Page 1 of 1 PageID #:507
                           Judgment in a Civil Action

                                  IN THE UNITED STATES DISTRICT COURT
                                                FOR THE
                                     NORTHERN DISTRICT OF ILLINOIS

 Stephanie Turner

 Plaintiff(s),
                                                               Case No. 1:19-cv-5524
 v.                                                            Judge Jorge L. Alonso

 McDonald's USA, LLC et al,

 Defendant(s).

                                   AMENDED JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                 in favor of plaintiff(s)
                 and against defendant(s)
                 in the amount of $       ,

                          which     includes       pre–judgment interest.
                                    does not include pre–judgment interest.

         Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

         Plaintiff(s) shall recover costs from defendant(s).


                 in favor of defendant(s) McDonald’s USA, LLC, McDonald’s Corporation
                 and against plaintiff(s) Stephanie Turner


                 other:


This action was (check one):

      tried by a jury with Judge         presiding, and the jury has rendered a verdict.
      tried by Judge         without a jury and the above decision was reached.
      decided by Judge Jorge L. Alonso on the pleadings.


Date: 8/30/2022                                         Thomas G. Bruton, Clerk of Court

                                                        Lesley Fairley, Deputy Clerk




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